UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 ----------------------------------------------------- X

Towaki Komatsu,                                                   Case No.: 20-cv-7502

                          Plaintiff,                              FIRST AMENDED
                                                                  COMPLAINT
            -vs-
                                                                  JURY DEMAND
The City of New York, NYPD Detective Raymond Gerola
(shield #: 6577), NYPD Lieutenant Ralph Nieves, NYPD
Detective Nicholas Mason (shield #: 6995), NYPD Officer Cruz
(shield #: 751), NYPD Officer Mitchell (shield #: 5486), NYPD
Officer John Doe1 9/14/17 (shield #: 21250), Rachel Atcheson,
Jessica Ramos, Bill de Blasio, James O’Neill, NYPD John
Doe2 9/14/17, NYPD John Doe3 9/14/17, NYPD John Doe4
9/14/17, NYPD John Doe5 9/14/17, NYPD John Doe6 9/14/17,
NYPD John Doe7 9/14/17, NYPD John Doe8 9/14/17, NYPD
Inspector Howard Redmond, Marco Carrion, Harold Miller,
Dustin Ridener, Jane Doe1 9/14/17, Jane Doe2 9/14/17, John
Doe1 9/14/17, John Doe2 9/14/17,


•   All of the defendants listed above who are people are being
    sued in their individual and official capacities,

                          Defendants.
----------------------------------------------------- X




                                                Page 1 of 171
                                                                               TABLE OF CONTENTS


   I.   Preliminary Remarks ........................................................................................................................................................................... 3

  II.   Jurisdiction ................................................................................................................................................................................................ 12

 III.   Parties............................................................................................................................................................................................................ 12

 IV.    Background Facts ................................................................................................................................................................................ 27

  V.    Legal Standards and Additional Background Facts .................................................................................................. 90

 VI.    Statement of Facts ............................................................................................................................................................................ 121

VII.    Causes of Action ............................................................................................................................................................................... 133

VIII.   Jury Demand......................................................................................................................................................................................... 155

 IX.    Prayer for Relief ................................................................................................................................................................................ 155




                                                                                              Page 2 of 171
       Plaintiff Towaki Komatsu (hereinafter referred to in the first-person as “I”, “me”, and

“my”), proceeding pro se in this action, does hereby state and allege all that follows in this

pleading.

                                    PRELIMINARY REMARKS

1.     The following applies throughout this complaint in the interests of brevity:

       a. Acronyms and aliases in the second column of the following table will be used

            throughout this pleading instead of the entries in the third column to which they

            correspond:

       #      Abbreviation         Corresponds To
       1      CCRB                 New York City Civilian Complaint Review Board
       2      City Council         New York City Council
       3      Defendant City       Defendant City of New York
       4      DOE                  New York City Department of Education
       5      DOI                  New York City Department of Investigation
       6      DOJ                  U.S. Department of Justice
       7      FOIL                 Freedom of Information Law
       8      FRCP                 Federal Rule of Civil Procedure
       9      HRA                  New York City Human Resources Administration
       10     IAB                  The Internal Affairs Bureau of the NYPD
       11     The Mayor            New York City Mayor Bill de Blasio
       12     Mayor’s 4/27/17      The public town hall meeting that members of the public
              town hall            conducted in a collaborative manner with the Mayor, Mr.
                                   Banks, and other government officials as a mostly
                                   traditional public forum on 4/27/17 in Long Island City in
                                   Queens that was subject to New York State’s Open
                                   Meetings Law and was used a campaign event to support
                                   the Mayor’s re-election interests that I was illegally barred
                                   from attending while I had active litigation against HRA.




                                           Page 3 of 171
13   Mayor’s 5/23/17   The public resource fair meeting that members of the public
     resource fair     conducted in a collaborative manner with the Mayor, Mr.
                       Banks, and other government officials as a mostly
                       traditional public forum on 5/23/17 inside of the Veterans
                       Memorial Chamber within the Bronx Supreme Court
                       during the U.S. Navy’s annual “Fleet Week” event in New
                       York City while I continued to be a U.S. Navy veteran and
                       was upholding my military enlistment oath to protect and
                       defend the U.S. Constitution against all enemies. That
                       public forum was also used as a campaign event to support
                       the Mayor’s re-election interests and I was illegally barred
                       from attending it as I continued to have active litigation
                       against HRA.
14   Mayor’s 6/8/17    The public town hall meeting that the Mayor conducted as a
     town hall         public forum on 6/8/17 at 93-29 Queens Boulevard in Rego
                       Park in Queens inside of a building named Lost Battalion
                       Hall Recreation Center
15   Mayor’s 7/25/17   The public stunt that the Mayor illegally conducted on
     publicity stunt   7/25/17 in an area of a subway station located next to a
                       staircase, below Broadway, and by Warren Street in
                       Manhattan in a manner and location that was in violation of
                       the MTA’s Rules as NYPD Inspector Howard Redmond
                       illegally assaulted me in that subway station in front of
                       Defendant Fowler while I was conducting myself lawfully
                       and while that was recorded on video.
16   Mayor’s 8/30/17   The public town hall meeting that the Mayor conducted as a
     town hall         public forum on 8/30/17 at 195 Graham Avenue in
                       Brooklyn.
17   Mayor’s 9/8/17    The public hearing that the Mayor conducted on 9/8/17 at 2
     public hearing    pm in the Blue Room in City Hall that partly concerned
                       proposed legislation about reforming the NYPD as I was
                       illegally prevented from attending that hearing by
                       Defendant Cruz and others
18   Mayor’s 9/14/17   The public town hall meeting that the Mayor conducted as a
     town hall         public forum on 9/14/17 at 2525 Haring Street in Brooklyn
19   Mayor’s CAU       The Mayor’s Community Affairs Unit
20   Mr. Banks         HRA Commissioner Steven Banks
21   My HRA lawsuit    The hybrid lawsuit that I commenced against HRA in
                       January of 2017 that corresponds to Komatsu v. New York
                       City Human Resources Administration, No. 100054/2017
                       (Sup. Ct., New York Cty.) and is pending appeal. I asserted
                       claims in that case that my claims in this case related back
                       to and amplify.




                              Page 4 of 171
       22     My X1 lawsuit        The related case that I commenced against the City of New
                                   York, Defendant Nieves, and others in April of 2018 that
                                   corresponds to the ongoing case of Komatsu v. City of New
                                   York, No. 18-cv-3698 (LGS)(GWG)(S.D.N.Y.) that my
                                   claims in this case relate back to and amplify. The judges in
                                   that case refused to grant me sufficient time to file a further
                                   amended complaint in that case that would have otherwise
                                   enabled me to assert my claims in that case instead of in
                                   this case. In fact, Judge Lorna Schofield explicitly directed
                                   me to instead commence a new civil action for additional
                                   claims that I sought to assert in that case.
       23     My X2 lawsuit        The related case that I commenced against the City of New
                                   York, Mr. Banks, and others on 8/14/20 that corresponds to
                                   the ongoing case of Komatsu v. City of New York, No. 18-
                                   cv-6510(LLS)(S.D.N.Y.) that my claims in this case relate
                                   back to and amplify.
       24     My X3 lawsuit        The related case that I commenced against the City of New
                                   York as well as Defendant Nieves, Redmond, and others on
                                   8/29/20 that corresponds to the ongoing case of Komatsu v.
                                   City of New York, No. 18-cv-7046 (ER)(S.D.N.Y.) that my
                                   claims in this case relate back to and amplify.
       25     My X4 lawsuit        The related case that I commenced against the City of New
                                   York as well as Defendants Gerola, Mason, Nieves, and
                                   others on 9/25/20 that corresponds to the ongoing case of
                                   Komatsu v. City of New York, No. 18-cv-8004(S.D.N.Y.)
                                   that my claims in this case relate back to and amplify.
       26     NTT Data, Inc.       NTT
       27     OCA                  New York State Office of Court Administration
       28     OTDA                 The New York State Office of Temporary and Disability
                                   Assistance
       29     Second Circuit       United States Court of Appeals for the Second Circuit
       30     Urban                Urban Pathways, Inc. It is the slumlord for the building in
                                   which I reside.

2.     Every reference that I make in this pleading that concerns my efforts to have attended the

Mayor’s 9/14/17 town hall concerns those that I made to have lawfully attended it from within

the room in which it was conducted as it was conducted, shortly before it began, and shortly after

it ended.

3.     The Mayor’ office arranged to have the Mayor’s 9/14/17 town hall recorded on video.

That video recording is available on the Internet at



                                           Page 5 of 171
https://www.youtube.com/watch?v=InSIaXIZp44.

4.     . The table shown next contains brief information about as well as links to copies of video

recordings that I recorded with my cell phone on 9/14/17 while I lawfully conducted myself as I

a) stood outside of and in close proximity to the building that hosted the Mayor’s 9/14/17 town

hall shortly before it began and as it was conducted and b) was inside of that building as that

town hall was being conducted while I was being illegally prevented from attending that town

hall from within the room in which it was conducted. The second table that follows this one

includes a description of what appears in those video recordings.

#    Creation     Filename              Link to video
     Time
1    6:15 pm      IMG_1856.mov          https://drive.google.com/file/d/1RXGMjJTw7A2a28jQb
                                        vLZWcTfOpfk05GR/view?usp=sharing
2    6:39 pm      IMG_1857.mov          https://drive.google.com/file/d/1s29c0pnDDz_DvomfB
                                        Exx-cDAmYVakGdo/view?usp=sharing
3    6:40 pm      IMG_1858.mov          https://drive.google.com/file/d/1nKQX5VTtYB-
                                        cBm8lkx6WxilZey631Q9f/view?usp=sharing
4    7:14 pm      IMG_1859.mov          https://drive.google.com/file/d/1k1QqBqeAZv6Qn2gyN
                                        jdPPDJB8s8CFdpo/view?usp=sharing
5    7:42 pm      IMG_1860.mov          https://drive.google.com/file/d/19bQ3il7D1jN5iMdy8Y
                                        kwq3dwHDoDlQ0H/view?usp=sharing
6    7:42 pm      IMG_1861.mov          https://drive.google.com/file/d/16bODYI_S8bR95FkVB
                                        lHvPHbLyR-bTrZz/view?usp=sharing
7    7:46 pm      IMG_1862.mov          https://drive.google.com/file/d/1USG_GGk6pRvLTfJq5
                                        AlaPOw7MHogGEMI/view?usp=sharing
8    8:30 pm      IMG_1866.mov          https://drive.google.com/file/d/1HCteQfaNo90G3Rb0ts
                                        zLzjVdrKKcURdO/view?usp=sharing
9    8:33 pm      IMG_1867.mov          https://drive.google.com/file/d/1AeaV6ooV8M23Xyma
                                        xVTfg4QFjTdntWas/view?usp=sharing
10   8:41 pm      IMG_1868.mov          https://drive.google.com/file/d/1bv7HB6BDKMYulAO
                                        p_3goMOQ8zhqdzK0d/view?usp=sharing
11   8:42 pm      IMG_1869.mov          https://drive.google.com/file/d/1VGJBKn0v0MbsysYe5
                                        1hFMJfd7s88AqHI/view?usp=sharing
12   8:42 pm      IMG_1870.mov          https://drive.google.com/file/d/1ZJ5l2fi7ZvjvF7rhW7B
                                        Q3Tdorev6pMys/view?usp=sharing
13   9:20 pm      IMG_1871.mov          https://drive.google.com/file/d/1JZ_Ktf_pTE4win6LKU
                                        gTCMnEuYbjmzPf/view?usp=sharing
14   9:20 pm      IMG_1872.mov          https://drive.google.com/file/d/1JA19LDEfMgPkz6hEi
                                        H7CRHNNTDqfQRHW/view?usp=sharing


                                          Page 6 of 171
15   9:25 pm   IMG_1874.mov        https://drive.google.com/file/d/15GlkNIdTCDxtyH3b9
                                   OclRd_uyggNYXfs/view?usp=sharing
16   9:42 pm   IMG_1875.mov        https://drive.google.com/file/d/1kHsGIg56bJLp7usdwq
                                   Vp4hJlrZ9njnSo/view?usp=sharing


#    Filename        Description
1    IMG_1856.mov    Defendants Nieves, Mason, Gerola, NYPD Officer John Doe1
                     9/14/17 (shield #: 21250), NYPD John Doe2 9/14/17, NYPD John
                     Doe3 9/14/17, NYPD John Doe4 9/14/17, NYPD John Doe7 9/14/17,
                     and NYPD John Doe5 9/14/17 are shown in this video as I waited in
                     a line with other members of the public next to and near the entrance
                     of the school that hosted the Mayor’s 9/14/17 town hall. That line was
                     for members of the public who would be permitted to attend the
                     Mayor’s 9/14/17 town hall from within the room in that school in
                     which that town hall would be conducted on that date. A separate line
                     that was used to grant members of the public to the overflow room
                     that was used for that town hall meeting is also shown in this video at
                     the elapsed time of 7 seconds.
2    IMG_1857.mov    I recorded this video after I was illegally coerced by members of the
                     NYPD to leave the line that I waited in when I recorded the video that
                     corresponds to the filename of IMG_1856.mov. Defendants Nieves,
                     Mason, Gerola, NYPD Officer John Doe1 9/14/17 (shield #: 21250),
                     NYPD John Doe2 9/14/17, NYPD John Doe3 9/14/17, NYPD John
                     Doe5 9/14/17, NYPD John Doe6 9/14/17, and NYPD John Doe7
                     9/14/17 are shown in this video and were all then aware that I had
                     been illegally coerced to leave the line that I had been in as I was then
                     having my rights pursuant to the First Amendment, Fourth
                     Amendment, Fifth Amendment, and Fourteenth Amendment, and
                     New York State’s Open Meetings Law violated with respect to my
                     efforts to have lawfully attended the Mayor’s 9/14/17 town hall
                     within the room in which it was conducted as it was conducted. No
                     member of the NYPD made an attempt to intervene on my behalf to
                     resolve that in spite of the fact that they had a realistic opportunity to
                     do so.




                                     Page 7 of 171
3   IMG_1858.mov   Defendants Nieves, Mason, Gerola, and NYPD John Doe7 9/14/17
                   are shown in this video and were all then aware that I had been
                   illegally coerced to leave the line that I had been in as I was then
                   having my rights pursuant to the First Amendment, Fourth
                   Amendment, Fifth Amendment, and Fourteenth Amendment, and
                   New York State’s Open Meetings Law violated with respect to my
                   efforts to have lawfully attended the Mayor’s 9/14/17 town hall
                   within the room in which it was conducted as it was conducted. No
                   member of the NYPD made an attempt to intervene on my behalf to
                   resolve that in spite of the fact that they had a realistic opportunity to
                   do so. Members of the public who arrived to the site of that town hall
                   after me on 9/14/17 are shown in that video as they were illegally
                   allowed to enter that school to attend the Mayor’s 9/14/17 town hall
                   within the room in which it was conducted in flagrant violation of my
                   Fourteenth Amendment due process and equal protection rights. I’m
                   heard in that video providing narration about the illegal acts that were
                   then being committed against me.
4   IMG_1859.mov   I recorded this video from within the overflow room that was used for
                   the Mayor’s 9/14/17 town hall as I watched Brooklyn District
                   Attorney Eric Gonzalez and Marco Carrion while they were shown
                   on a television set that was used to show how the Mayor’s 9/14/17
                   town hall was being conducted in a different room in that school.
5   IMG_1860.mov   I recorded this video from within the overflow room that was used for
                   the Mayor’s 9/14/17 town hall as I showed the red admission ticket
                   that I was eventually issued to be able to enter that school to observe
                   how the Mayor’s 9/14/17 town hall would be conducted from inside
                   of the overflow room instead of from within the room in which it was
                   conducted.
6   IMG_1861.mov   I recorded this video from within the overflow room that was used for
                   the Mayor’s 9/14/17 town hall as I showed the red admission ticket
                   that I was eventually issued to be able to enter that school to observe
                   how the Mayor’s 9/14/17 town hall would be conducted from inside
                   of the overflow room instead of from within the room in which it was
                   conducted.
7   IMG_1862.mov   I recorded this video from within the overflow room that was used for
                   the Mayor’s 9/14/17 town hall. Defendant Atcheson is shown as she
                   stood near that room’s exit while she looked at a cell phone or
                   computer tablet.




                                   Page 8 of 171
8    IMG_1866.mov   I recorded this video from within a hallway in the school that hosted
                    the Mayor’s 9/14/17 town hall. It shows Defendants Mason and Cruz
                    as they illegally made no effort to intervene on my behalf to enable
                    me to attend that town hall from within the room in which it was
                    conducted in violation of their affirmative Fourteenth Amendment
                    legal duty while they knew that I was being prevented from doing so
                    and that I sought to attend that town hall from within that room. Other
                    members of the NYPD are also shown in this video and similarly
                    illegally didn’t intervene on my behalf then as other members of the
                    public were able to go from the overflow room into the room in
                    which that town hall was conducted as it was conducted in violation
                    of my Fourteenth Amendment rights.
9    IMG_1867.mov   I recorded this video from within a hallway in the school that hosted
                    the Mayor’s 9/14/17 town hall. It shows Defendants Cruz and NYPD
                    John Doe8 9/14/17 as they illegally made no effort to intervene on
                    my behalf to enable me to attend that town hall from within the room
                    in which it was conducted in violation of their affirmative Fourteenth
                    Amendment legal duty while they knew that I was being prevented
                    from doing so and that I sought to attend that town hall from within
                    that room. I recall having briefly apprised Mr. Cruz while he was in
                    that hallway on that night about my desire to attend the Mayor’s
                    9/14/17 town hall from within the room in which it was conducted.
10   IMG_1868.mov   I recorded this video from within the overflow room that was used for
                    the Mayor’s 9/14/17 town hall. It shows both Mr. Nieves as he
                    slacked off while he was on duty as well as the cover page of
                    whistleblowing literature against the Mayor’s administration and the
                    Mayor’s NYPD security detail of public concern that I distributed to
                    members of the public while I was in that room and outside of that
                    school on that date as I waited to be granted access into that school.
11   IMG_1869.mov   I recorded this video from within the overflow room that was used for
                    the Mayor’s 9/14/17 town hall. It shows Mr. Nieves as he slacked off
                    while he was on duty.
12   IMG_1870.mov   I recorded this video from within the overflow room that was used for
                    the Mayor’s 9/14/17 town hall. It shows Mr. Nieves giving me a
                    thumbs-up sign with his right hand at the elapsed time of 3 seconds as
                    he exited that room as he likely then knew that I was recording that
                    video for litigation purposes.
13   IMG_1871.mov   I recorded this video from within the overflow room that was used for
                    the Mayor’s 9/14/17 town hall as I watched Mr. Banks while he was
                    shown on a television set that was used to show how the Mayor’s
                    9/14/17 town hall was being conducted in a different room in that
                    school. Mr. Banks was then actively participating in how that town
                    hall was being conducted as he talked with one or more members of
                    the audience.




                                   Page 9 of 171
14   IMG_1872.mov         I recorded this video from within the overflow room that was used for
                          the Mayor’s 9/14/17 town hall as I watched Mr. Banks while he was
                          shown on a television set that was used to show how the Mayor’s
                          9/14/17 town hall was being conducted in a different room in that
                          school. Mr. Banks was then actively participating in how that town
                          hall was being conducted as he talked with one or more members of
                          the audience.
15   IMG_1874.mov         I recorded this video of Defendant Gerola after I exited the school
                          that hosted the Mayor’s 9/14/17 town hall and stood near its entrance.
                          Mr. Gerola told me after I exited that school that I wouldn’t be
                          allowed back inside. I had exited that school by then mainly because I
                          had sufficient evidence to confirm that he and others had violated my
                          constitutional rights to have attended that town hall from within the
                          room in which it was conducted.
16   IMG_1875.mov         I recorded this video of Defendant Nieves as he walked next to Mr.
                          Redmond into the school that hosted the Mayor’s 9/14/17 town hall.


5.     References to HRA, DHS, and DSS will be used interchangeably in this pleading for

simplicity.

6.     The illegal acts and omissions that were committed against me on 9/14/17 at the site of

the Mayor’s 9/14/17 town hall were a microcosm of a much larger, pervasive, systemic, and

longstanding campaign and pattern of illegal customs, practices, and policies that included

flagrant violations of my First Amendment and Fourteenth Amendment rights that were jointly

devised, coordinated, implemented, executed, and covered-up by senior decision-making

members of the NYPD and members of the Mayor’s staff against me in relation to my efforts to

lawfully attend public town hall, public resource fair, and public hearings in accordance with my

constitutional rights that members of the public conducted in a collaborative manner with the

Mayor, Mr. Banks, and other City of New York and State of New York personnel. The Mayor,

Defendant O’Neill, and other City of New York, State of New York, and federal government

personnel that include members of the City Council tacitly condoned those illegal acts and

omissions against me. Those illegal acts and omissions were committed against me on 9/14/17 in

relation to my efforts to have exercised my legal right to have done the following:


                                         Page 10 of 171
       a. Attended the Mayor’s 9/14/17 town hall from within the room in which it was

           conducted shortly before it began, as it was conducted, and shortly after it ended.

       b. Exercised the full extent of my rights while attending that town hall partly by

           engaging in protected whistleblowing about a broad array of matters of public

           concern and private matters.

7.     This is a civil rights action to vindicate my rights in response to illegal acts and omissions

that were committed against me on 9/14/17 at the site of the Mayor’s 9/14/17 town hall in

relation to my efforts to have lawfully attended that town hall while Mr. Redmond was then the

primary defendant in Sherrard v. City of New York, No. 15-cv-7318 (MB) (S.D.N.Y. Jun. 13,

2018) and I was aware of his status in that case for months prior to 9/14/17. Those who

committed such illegal acts and omissions against me on 9/14/17 did so as part of a conspiracy in

retaliation that was mainly for protected whistleblowing and litigation activities that I continued

to be engaged in against Mr. Redmond, themselves, members of the Mayor’s staff, HRA, HRA’s

business partners, and Mr. Banks.

8.     While committing such illegal acts and omissions against me on 9/14/17 in relation to my

efforts to have lawfully attended the Mayor’s 9/14/17 town hall, that was done to extend a

campaign of harassment, retaliation, and unequal and discriminatory acts against me at public

forums dating back to 4/27/17 that the Mayor and other government officials conducted with

members of the public in a collaborative manner as the Mayor and such other government

officials were running for re-election and using those public forums to try to improve their re-

election prospects partly by trying to attract publicity.

9.     The illegal acts and omissions that were committed against me on 9/14/17 at the site of

the Mayor’s 9/14/17 town hall were voter suppression, voter fraud, whistleblower retaliation, a




                                           Page 11 of 171
malicious and naked abuse of process, illegal selective-enforcement, standardless discretion,

viewpoint discrimination in violation of the Hatch Act, my constitutional rights, federal and New

York State criminal statutes, New York State’s Open Meetings Law, and other applicable laws.


                                  JURISDICTION AND VENUE

1.       This Court has subject matter jurisdiction over federal claims pursuant to 28 U.S.C.

§§1331 and 1343. This action is brought pursuant to 42 U.S.C. §§1983, 1985, 1988 and the First,

Fourth, Fifth, and Fourteenth Amendments of the U.S. Constitution.

2.       My claims for declaratory and injunctive relief are authorized by 28 U.S.C. §§2201 and

2202, FRCP Rules 57 and 65, and the general legal and equitable powers of this Court.

3.       Venue is proper pursuant to 28 U.S.C. § 1391(b) because I reside in the Bronx and New

York City Hall’s principal place of business is in Manhattan.

4.       An award of costs and attorneys' fees is authorized pursuant to 42 U.S.C. §1988.

5.       Consistent with the requirements of New York General Municipal Law § 50-e, I filed a

timely Notice of Claim with the New York City Comptroller within 90 days of the accrual of my

claims under New York law. This Court therefore has supplemental jurisdiction over my claims

under New York law because they are so related to the within federal claims that they form part

of the same case or controversy pursuant to 28 U.S.C. § 1367(a).

6.       My claims have not been adjusted by the New York City Comptroller's Office.

                                              PARTIES

1.       I am, and was at all times relevant to this action, a resident of Bronx County in the State

of New York. I am also a U.S. Navy veteran, who swore to defend the U.S. Constitution against

all of its enemies indefinitely and without exceptions. I have honored that oath and continue to

do so.



                                           Page 12 of 171
2.     Bill de Blasio is the Mayor of the City of New York.

3.     At all relevant times herein, Defendant James O’Neill was the commissioner of the

NYPD. In that capacity, he was among others who were responsible for how the NYPD

operated, how the NYPD’s personnel were trained, how they were supervised, and how they

were disciplined.

4.     Defendant City of New York is a municipal corporation duly incorporated and authorized

under the laws of the State of New York pursuant to §431 of its Charter. The City of New York

is authorized under the laws of the State of New York to maintain a police department, the

NYPD, which is supposed to act as its agent in the area of law-enforcement and for which it and

the Mayor are ultimately responsible. The City and the Mayor both assume the risks incidental to

the maintenance of a police force and the employment of police officers. On 11/30/17, Bill de

Blasio conducted a town hall meeting in Queens with New York City Councilman Rory

Lancman as the moderator for at meeting. That meeting was recorded on video as a result of

arrangements that the New York City Mayor’s office made. That video is available on the

Internet at https://www.youtube.com/watch?v=CRV0IKbg5tQ. At the elapsed time of 1 hour, 39

minutes, and 10 seconds in that video, Mr. de Blasio is shown and heard in it as his back faced

the video camera that recorded that video as he clearly made the following significant remark in

an unequivocal and unambiguous manner:

           "If you have a problem with policing, I am ultimately responsible.”

5.     Defendants NYPD Inspector Howard Redmond, NYPD Lieutenant Ralph Nieves, NYPD

Detective Raymond Gerola (shield No. 6577), NYPD Detective Nicholas Mason (shield No. #

6995), NYPD Officer Cruz (shield #: 751), NYPD Officer Mitchell (shield #: 5486), NYPD

Officer John Doe1 9/14/17 (shield #: 21250), James O’Neill, NYPD John Doe2 9/14/17, NYPD




                                         Page 13 of 171
John Doe3 9/14/17, NYPD John Doe4 9/14/17, NYPD John Doe5 9/14/17, NYPD John Doe6

9/14/17, NYPD John Doe7 9/14/17, and NYPD John Doe8 9/14/17 were at all times relevant

herein officers, employees, and agents of the NYPD and the City of New York.

6.     Both Defendants NYPD Lieutenant Ralph Nieves and James O’Neill have retired from

the NYPD.

7.     The following shows the terms of New York City Charter Section 435(a) that address the

legal duties that all members of the NYPD have and underscores the fact that the defendants in

this action who were members of the NYPD between 9/26/17 and 9/28/17 committed illegal acts

and omissions against me in relation to my claims in this case by flagrantly violating and

disregarding their legal duties as members of the NYPD:

       “The police department and force shall have the power and it shall be their duty to
       preserve the public peace, prevent crime, detect and arrest offenders, suppress riots,
       mobs and insurrections, disperse unlawful or dangerous assemblages and
       assemblages which obstruct the free passage of public streets, sidewalks, parks and
       places; protect the rights of persons and property, guard the public health, preserve
       order at elections and all public meetings and assemblages; subject to the provisions of
       law and the rules and regulations of the commissioner of traffic,* regulate, direct, control
       and restrict the movement of vehicular and pedestrian traffic for the facilitation of traffic
       and the convenience of the public as well as the proper protection of human life and
       health; remove all nuisances in the public streets, parks and places; arrest all street
       mendicants and beggars; provide proper police attendance at fires; inspect and observe all
       places of public amusement, all places of business having excise or other licenses to carry
       on any business; enforce and prevent the violation of all laws and ordinances in force
       in the city; and for these purposes to arrest all persons guilty of violating any law or
       ordinance for the suppression or punishment of crimes or offenses.

       (boldface formatting added for emphasis)

8.     The defendants in this action who are people violated the oath that they were required to

take upon becoming personnel of the City of New York that required them to swear or affirm

that they would uphold the U.S. and New York State Constitution in carrying out their work as

such personnel and perform their duties as such personnel to the best of their abilities. They




                                          Page 14 of 171
clearly violated that oath through the illegal acts and omissions that they committed against me

in relation to my efforts to have lawfully attended the Mayor’s 9/14/17 town hall from within the

room in which it was conducted. In doing so, they violated NYPL §195.00 and New York City

Charter §1116. New York City Charter §1116 can lead to the firings of those who violate as

personnel of the City of New York and a permanent ban on them from working for the City of

New York again.

9.      New York State Civil Service Law §62 confirms that personnel of the City of New York

are required upon working for the City of New York to take and file an oath or affirmation in

which they pledge and declare that they will support the U.S. and New York State Constitution

and faithfully discharge the duties of their jobs with the City of New York to the best of their

abilities.

10.     The next screenshot shows an excerpt from that transcript that reflects how those new

members of the NYPD pledged to uphold the U.S. and New York Constitution and to faithfully

discharge their duties as members of the NYPD to the best of their abilities after the defendant in

this action who are members of the NYPD most likely did the same before they committed

illegal acts and omissions against me that this action concerns. Hindsight therefore confirms that

they lied in the oaths that they took upon joining the NYPD to become part of a criminal mob as

liars and con artists instead of joining the ranks of actual law-enforcement.




                                          Page 15 of 171
11.    The defendants in this action who I identify with John Doe in their name were members

of the NYPD on 9/14/17 whose real names I don’t know and are shown in the video recordings

that I recorded on 9/14/17 that are referenced in the following table at the elapsed time shown:


       #      Defendant                Video                     Elapsed Time
       1      NYPD Officer John        IMG_1856.MOV              3 seconds
              Doe1 9/14/17 (shield
              #: 21250)
       2      NYPD John Doe2           IMG_1856.MOV              3 seconds
              9/14/17
       3      NYPD John Doe3           IMG_1856.MOV              3 seconds
              9/14/17
       4      NYPD John Doe4           IMG_1856.MOV              12 seconds
              9/14/17
       5      NYPD John Doe5           IMG_1857.MOV              6 seconds
              9/14/17
       6      NYPD John Doe6           IMG_1857.MOV              4 seconds
              9/14/17


                                         Page 16 of 171
        7      NYPD John Doe7          IMG_1858.MOV             22 seconds
               9/14/17
        8      NYPD John Doe8          IMG_1867.mov             1 second
               9/14/17
        9      Jane Doe1 9/14/17       IMG_1856.MOV             12 seconds
        10     Jane Doe2 9/14/17       IMG_1856.MOV             13 seconds
        11     Joh Doe1 9/14/17        IMG_1856.MOV             16 seconds
        12     Joh Doe2 9/14/17        IMG_1856.MOV             17 seconds

12.     The faces of the defendants in this action who I identify with John Doe and Jane Doe in

their name are shown in the following table at the elapsed times in the video recordings to which

I just referred:

#     Defendant Image
1     NYPD
      Officer
      John Doe1
      9/14/17
      (shield #:
      21250)




2     NYPD
      John Doe2
      9/14/17




                                         Page 17 of 171
3   NYPD
    John Doe3
    9/14/17




4   NYPD
    John Doe4
    9/14/17




                Page 18 of 171
5   NYPD
    John Doe5
    9/14/17




6   NYPD
    John Doe6
    9/14/17




                Page 19 of 171
7   NYPD
    John Doe7
    9/14/17




8   NYPD
    John Doe8
    9/14/17




                Page 20 of 171
9   Jane Doe1                    She appears next to
    9/14/17                      Defendant Gerola as
                                 they talked while I
                                 stood near the
                                 entrance to the
                                 school that hosted
                                 the Mayor’s 9/14/17
                                 town hall.




10 Jane Doe2
   9/14/17




                Page 21 of 171
11 John Doe1
   9/14/17




12 John Doe2
   9/14/17




13.    Defendants Redmond, Nieves, Gerola, and Mason were at all times relevant herein

members of the NYPD security detail for New York City Mayor Bill de Blasio.

14.    Defendant Redmond helps to direct how the Mayor’s NYPD security detail operates.

15.    On 9/14/17, both Defendant Bill de Blasio and Defendant James O’Neill were

responsible for how the NYPD operated. Prior to that date, I had face-to-face conversations with

Mr. O’Neill on 6/26/17 and with the Mayor on both 7/16/17 and 7/18/17. My 6/26/17



                                        Page 22 of 171
conversation with Mr. O’Neill was recorded on audio and witnessed by whistleblower news

censors in journalism. My 7/16/17 and 7/18/17 conversations with the Mayor also were

witnessed by whistleblower news censors in journalism that included Michael Garland and

Gloria Pazmino. My 7/18/17 conversation with the Mayor was recorded on video My

conversations with Mr. O’Neill and the Mayor on 6/26/17, 7/16/17, and 7/18/17 partly concerned

illegal acts and omissions that Mr. Redmond and other members of the NYPD committed against

me since 4/27/17 at public forums that the Mayor and other governed officials conducted. Mr. de

Blasio also stood within roughly 20 feet from me as Mr. Redmond was recorded on video on

7/25/17 as he illegally assaulted me in front of many whistleblower news censors in journalism

and NYPD Officer Christopher Fowler of the Mayor’s NYPD security detail inside of a subway

station below Broadway by Murray Street in Manhattan as Mr. Redmond continued to flagrantly

violate my constitutional rights at a time and in a location in which the Mayor was illegally

conducting a publicity stunt in violation of the MTA’s rules that authorized me to have

conducted myself in the manner in which I did so at the time that Mr. Redmond began assaulting

me and violating my constitutional rights then.

16.    At all times relevant herein, Defendants Harold Miller and Rachel Atcheson worked for

the Mayor’s CAU. Mr. Miller’s LinkedIn profile that reflects his career is available on the

Internet at https://www.linkedin.com/in/harold-miller-305502171/ and indicates that he worked

as a Deputy Commissioner of the Mayor’s office between February of 2014 and July of 2020.

Upon information and belief, as a Deputy Commissioner, Defendant Miller was partly

responsible for providing proper training and supervision of others who worked for the Mayor’s

CAU and those who worked with it that include the NYPD to ensure that they a) performed their

jobs with the Mayor’s CAU and the City of New York in accordance with all applicable laws




                                          Page 23 of 171
and b) otherwise didn’t engage in illegal acts and omissions that prevented members of the

public from lawfully attending public town hall meetings and public resource fair meetings that

the Mayor’s CAU organized. He was also responsible for performing his job in accordance with

all applicable laws.

17.    At all times relevant herein, Defendant Carrion has been the Commissioner of the

Mayor’s CAU. Upon information and belief, as the Commissioner of the Mayor’s CAU,

Defendant Carrion was partly responsible for providing proper training and supervision of others

who worked for the Mayor’s CAU and those who worked with it that include the NYPD to

ensure that they a) performed their jobs with the Mayor’s CAU and the City of New York in

accordance with all applicable laws and b) otherwise didn’t engage in illegal acts and omissions

that prevented members of the public from lawfully attending public town hall meetings and

public resource fair meetings that the Mayor’s CAU organized. He was also responsible for

performing his job in accordance with all applicable laws.

18.    The negligent failures by both Defendant Carrion and Miller in properly supervising

those who worked for the Mayor’s CAU were a contributing factor that proximately enabled me

to have been illegally a) prevented from attending the Mayor’s 9/14/17 town hall from within the

room in which it was conducted, b) not issued an admission ticket for that town hall for the room

in which it was conducted, c) not had my name appear in a list that was shown on the computer

tablet that Defendant Atcheson used to check registrations for the Mayor’s 9/14/17 town hall as

she stood next to people who waited in line to attend that town hall from within the room in

which it was conducted after I had registered in advance to attend that town hall, and d) coerced

to wait in an overflow line to enter the school in which it was conducted.

19.    At all times relevant herein, Jessica Ramos worked for the Mayor’s office.




                                         Page 24 of 171
20.    Jane Doe1 9/14/17, Jane Doe2 9/14/17, John Doe1 9/14/17, and John Doe2 9/14/17 are

additional individuals whose actual identities I do not know and were present on 9/14/17 in the

immediate area where I was being illegally prevented from attending the Mayor’s 9/14/17 town

hall and made no effort to intervene on my behalf. I believe that they were then personnel of the

City of New York who worked for the Mayor’s office in some capacity.

21.    At all times relevant herein, Dustin Ridener has been a member of the Mayor’s staff. His

LinkedIn profile that reflects his career is available on the Internet at

https://www.linkedin.com/in/dustinridener/. He was present on 9/14/17 in the immediate vicinity

of where I was near the entrance to the school that hosted the Mayor’s 9/14/17 town hall while I

was being illegally a) coerced to leave the line of people in violation of my First Amendment

and Fourteenth Amendment rights in which I lawfully waited to be granted access to the school

that hosted that town hall to be able to attend that public forum within the room in which it was

conducted, b) not issued an admission ticket to attend that town hall from within the room in

which it would be conducted in violation of my First Amendment and Fourteenth Amendment

rights, and c) otherwise prevented from attending that town hall from within that room in

violation of my First Amendment, Fourth Amendment, and Fourteenth Amendment rights. Mr.

Ridener made no effort on 9/14/17 to try to enable me to attend the Mayor’s 9/14/17 town hall

from within the room in which it was conducted, cause me to be issued an admission ticket to

attend that town hall from within that room, and enable me to remain in the original line in which

I waited to be granted access to that room to attend that town hall. All of this is true before he

intervened on my behalf on 10/24/18 to enable me to attend the public town hall meeting that the

Mayor conducted then in Far Rockaway in Queens in response to the fact that a member of the

Mayor’s staff yet again deliberately refused to issue me an admission ticket to attend that town




                                           Page 25 of 171
hall in spite of the fact that I was conducting myself in an entirely lawful manner in contrast to

that person as I waited in line with other members of the public next to the building that hosted

that town hall to be granted access to it to attend that town hall. I had a Fourteenth Amendment

due process and equal protection right on 9/14/17 to have had him, members of the Mayor’s

NYPD security detail, other members of the NYPD, members of the Mayor’s CAU, and other

members of the Mayor’s staff to have immediately and decisively intervened on my behalf to

enable me to attend the Mayor’s 9/14/17 town hall from within the room in which it was

conducted, to be issued an admission ticket for that purpose, and to remain in the line in which I

originally waited on 9/14/17 for that purpose.

22.     The individual defendants are being sued herein in their individual and official capacities.

23.     At all times relevant herein, the individual defendants were acting under color of state

law in the course and scope of their duties and functions as agents, servants, employees and

officers of the NYPD and City of New York. They were acting for and on behalf of the NYPD

and Mayor at all times relevant herein. While doing so, the defendants in this action who are

members of the NYPD did so with the power and authority vested in them as officers, agents and

employees of the NYPD and incidental to the lawful pursuit of their duties as officers, employees

and agents of the NYPD.

24.     The individual defendants' acts hereafter complained of were carried out intentionally,

recklessly, and oppressively with malice and egregious, callous, and wanton disregard of

plaintiff's rights.

25.     At all relevant times, the individual defendants were engaged in joint ventures, assisting

each other in performing the various actions described herein and lending their physical presence

and support and the authority of their offices to one another.




                                          Page 26 of 171
                                  BACKGROUND FACTS

1.     On 6/26/17, I talked with Defendant O’Neill at the New York City Bar Association in the

presence of various whistleblower news censors in journalism during a meeting in which he was

the primary speaker. Information about that meeting is available from the New York City Bar

Association’s web site at http://www.nycbar.org/media-listing/media/detail/a-conversation-with-

new-york-city-police-commissioner-james-p-oneill. The audio recording of that meeting that the

New York City Bar Association arranged to be recorded is available on the Internet at

http://dts.podtrac.com/redirect.mp3/www2.nycbar.org/mp3/Podcasts/media/police_commissione

r_audio_2017-06-26.mp3.

2.     The next screenshot is from a video recording that I recorded on 6/26/17 at 8:35 am at the

New York City Bar Association that shows Defendant O’Neill in it as he stood at a podium with

microphones that had the names of various New York City news outlets on them.




3.     The fact that no one reported anything in the news about what I discussed with Mr.

O’Neill on 6/26/17 confirms that journalism and freedom of the press in New York City just


                                        Page 27 of 171
doesn’t exist and claims to the contrary are utter lies. That video that I recorded during that

meeting confirms that the following so-called news outlets had some of their personnel present at

that 6/26/17 meeting:

       PIX11News, 1010 WINS, NBC, CBS New York, WCBS 880, and ABC News

4.     The video recording that I recorded of Mr. O’Neill during that meeting that I just

discussed is available on the Internet at the following address:

       https://drive.google.com/file/d/1sofOzQmsQy_1_lkIglBTn9iZiGNwGNpL/view?usp=sha
       ring

5.     During that meeting on 6/26/17, I had two face-to-face conversations with Mr. O’Neill.

My first conversation with him during that it extends from the elapsed time of a) 32 minutes and

38 seconds from the beginning of the audio recording that the New York City Bar Association

recorded of that meeting to b) 33 minutes and 36 seconds in that recording. My second

conversation with him during that meeting extends from the elapsed time of a) 47 minutes and 4

seconds from the beginning of that recording to b) 49 minutes and 14 seconds.

6.     The following is entirely true and accurate about what Mr. O’Neill and I discussed during

that meeting:

       a. I told him that I was a military veteran and reminded him that he used the comment of

           “a free and open society” in a speech that he gave during that meeting. I then

           pointedly asked him why members of the NYPD who were inside of the Bronx

           Supreme Court on 5/23/17 illegally directed court officers assigned to that courthouse

           to prevent me from attending the public resource fair meeting that the Mayor

           conducted in that courthouse on that date inside of the Veteran’s Memorial Hall

           chamber within it and while members of the NYPD have no jurisdiction in

           courthouses because jurisdiction for law-enforcement in New York State courthouses



                                           Page 28 of 171
   belongs to New York State court officers instead of the NYPD. When he responded

   to that by claiming that he wasn’t aware of that situation, I told him that I had a video

   recording that confirmed what I had just apprised him about had occurred and that I

   was willing to share that video recording with him if he so desired.

b. I asked him when members of the NYPD would stop violating civil rights by shoving

   military veterans as such veterans stood legally on empty public sidewalks while Mr.

   Redmond illegally discriminated against them by preventing them from attending

   public town hall meetings that the Mayor held. While asking him that question, I was

   referring to myself as such a military veteran who was illegally shoved and

   discriminated against as I referred to the public town hall meeting that the Mayor held

   on 4/27/17 in Long Island City in Queens. In response, Mr. O’Neill was blatantly

   evasive and deceitful by claiming that different issues applied to that question. When

   he asked what I was talking about in particular in regards to my question, I told him

   that I was talking about public meetings, New York State’s Open Meetings Law, the

   U.S. Supreme Court decision that was issued in Wood v. Moss, 134 S. Ct. 2056, 572

   U.S., 188 L. Ed. 2d 1039 (2014) that concerns viewpoint discrimination, and what

   was then Mr. Redmond’s ongoing status as the primary defendant in Sherrard v. City

   of New York, No. 15-cv-7318 (MB)(S.D.N.Y. Jun. 13, 2018).

c. I also asked Mr. O’Neill about why Mr. Redmond was still being allowed to be a

   member of the NYPD since he was violating my civil rights after he had violated Mr.

   Sherrard’s civil rights. Sherrard v. City of New York concerns an incident that

   occurred on 9/17/12 in which Mr. Redmond flagrantly violated Mr. Sherrard’s

   constitutional rights on video before Mr. Redmond blatantly lied about that during a




                                  Page 29 of 171
           deposition on 5/19/17 and as he testified in that case in June of 2018. When Mr.

           O’Neill told me during that meeting that he would need to talk with Mr. Redmond

           about what I discussed with him (Mr. O’Neill) during it and that he wasn’t aware of

           Sherrard v. City of New York, as he left that meeting, I offered to give him a printout

           that I had with me and that contained information shown on its docket sheet that

           listed the case number for Sherrard v. City of New York and other information about

           that case. I believe that I handed that information instead to NYPD Detective James

           Byrne as he escorted Mr. O’Neill out of that meeting and gave me his business card

           then that appears as follows:




7.     A critically significant point about my conversation with Mr. O’Neill on 6/26/17 is that I

clearly put him on notice then that members of the Mayor’s NYPD security detail were violating

my civil rights at public forums that the Mayor had been conducting and that Mr. O’Neill told

me in response that he would need to talk with Mr. Redmond about what I then discussed with

him about Mr. Redmond. As the NYPD’s Commissioner, he certainly had the authority to issue a

standing order to Mr. Redmond to make certain that he and the rest of the Mayor’s NYPD


                                           Page 30 of 171
security detail immediately stop violating the civil rights of New Yorkers at public forums.

Hindsight clearly confirms that Mr. O’Neill either didn’t issue such an order or that such an

order was violated at my expense repeatedly and flagrantly thereafter by Mr. Redmond and other

members of the Mayor’s NYPD security detail and others. On 4/27/17, Mr. Redmond told me at

the site of the Mayor’s town hall then that he reported to Mr. O’Neill. The preceding discussion

is sufficient to establish that this Court’s determinations about claims that I am asserting against

Mr. O’Neill in this pleading for supervisory liability must be in my favor because additional

illegal acts and omissions were committed against me in violation of my civil rights by Mr.

Redmond and other members of the Mayor’s NYPD security detail after 6/26/17 at public

forums that Mr. O’Neill certainly had a realistic opportunity to prevent from occurring.

8.     The following relevant facts apply to what I discussed with Mr. O’Neill during that

meeting:

       a. I later discovered from a written transcript and video recording that the New York

           City Law Department provided to me that concerned Sherrard v. City of New York,

           No. 15-cv-7318 (MB)(S.D.N.Y. Jun. 13, 2018) that Mr. Redmond committed perjury

           on 5/19/17 during a sworn deposition that he gave as he lied about a critically

           significant fact. The next screenshot shows the questions that were asked and the

           responses to them that were given that appear between lines 11 and 17 that appear on

           page 20 within the written transcript that was prepared from the deposition that Mr.

           Redmond gave on 5/19/17 in connection with Sherrard v. City of New York, No. 15-

           cv-7318 (MB)(S.D.N.Y. Jun. 13, 2018). That transcript was provided to me by the

           New York City Law Department in response to a FOIL demand that I submitted to it

           and is available on the Internet at




                                          Page 31 of 171
   https://drive.google.com/open?id=12ATFhN0RVkrvlTjpINTPet57K1D4poiz. The

   answers shown on lines 13, 14, and 17 in that screenshot were answers that Mr.

   Redmond gave to the questions that are shown in it.




b. The New York City Law Department also provided me a critically significant video

   recording that is available on the Internet at

   https://drive.google.com/open?id=13dteIym5B27WAHrR2b_vrb68X8IDT_Ye in

   response to a FOIL demand that I submitted to it that was recorded on 9/17/12 in

   Manhattan on Lafayette Street by Leonard Street as Mr. Redmond recklessly drove a

   black car with just one hand on its steering wheel in the middle of the roadway in the

   direction of New York City Hall by the New York City Civil Court and New York

   City Family Court. That video recording was presumably recorded by a member of

   the NYPD who joined Mr. Redmond and other members of the NYPD in stalking

   Kalan Sherrard and other bicyclists on 9/17/12. Kalan Sherrard was the plaintiff in

   Sherrard v. City of New York, No. 15-cv-7318 (MB)(S.D.N.Y. Jun. 13, 2018). The

   next screenshot corresponds to what appears in the video that I just discussed at the

   elapsed time of 10 seconds and confirms that a) Mr. Redmond was reckless driving a

   black car with left hand off of its steering wheel in the middle of a roadway and b)


                                  Page 32 of 171
   Mr. Sherrard was lawfully riding a bicycle on the far-left side of that roadway ahead

   of 4 other bicyclists shown on the left as he appears in the top-left corner in that

   screenshot. At that point, the distance between Mr. Redmond’s car and the back of

   Mr. Sherrard’s bicycle clearly exceeded the lengths of 2 cars that appear on the right

   side of that road as Mr. Sherrard rode his bike directly next to the right of an area in

   which construction or renovation work was being done and may have endangered his

   safety as a bicyclists because of debris that may have possibly been in a bicycle lane

   that he was not required by law to use then. The fact that the sidewalk next to that

   bicycle lane was closed then because of construction or renovation work suggests that

   Mr. Sherrard was being courteous to pedestrians by letting them use that bicycle lane

   to offset the closure of that sidewalk.




c. The next screenshot is from that same video and corresponds to the elapsed time of

   18 seconds. The following is shown in it:




                                  Page 33 of 171
           i.   Mr. Redmond is shown in the lower-right area as he exited his car with a radio

                in his left hand.

          ii.   Mr. Sherrard is shown sitting on his bicycle while illegally stopped by 2

                members of the NYPD on scooters or motorcycles in violation of his

                constitutional rights. The tires on those scooters or motorcycles were clearly

                wider than the tires on Mr. Sherrard’s bicycle. This is relevant because thin

                tires on bicycles don’t withstand coming in contact with debris on roadways

                as well as wider and thicker tires. One of the members of the NYPD who

                illegally stopped Mr. Sherrard drove through the bicycle lane on wide and

                thick tires to reach him. Also, this screenshot more clearly confirms by the

                existence of orange netting and barriers next to that bicycle lane that

                construction or renovation work was then taking place near it.




9.   On 6/21/17, Defendant Nieves was recorded on video as he stood in front of the building




                                       Page 34 of 171
that hosted the town hall meeting that the Mayor conducted in Chinatown in Manhattan and

illegally harassed an Asian woman as she was trying to lawfully attend that town hall with

literature that she had. That video recording clearly shows Defendant Nieves illegally

confiscating literature from her in violation of her First Amendment and Fifth Amendment

rights. That video is available on the Internet at https://www.youtube.com/watch?v=KRur-

_QvbC0. What follows are a few screenshots from it. The next screenshot shows Mr. Nieves

giving that woman a hand signal to have her step toward him at the elapsed time of 32 seconds.




10.    The next screenshot shows that Asian woman standing near Mr. Nieves at the elapsed

time of 35 seconds as what clearly appears to be a press credential hung from her neck.




                                         Page 35 of 171
11.    The next screenshot shows that Asian woman standing near Mr. Nieves at the elapsed

time of 1 minute and 6 seconds as she held papers that she had been carrying prior to meeting

Mr. Nieves as he also then had his hands on those papers after she met him. She is shown

standing next to Jane Meyer of the Mayor’s office who was then looking at those papers.




12.    The next screenshot shows Mr. Nieves at the elapsed time of 1 minute and 9 seconds as

he carried that Asian woman’s papers after she left his wretched company



                                        Page 36 of 171
13.    On 6/23/17, a news organization named DNAInfo published a news article on the Internet

at https://www.dnainfo.com/new-york/20170623/lower-east-side/mayor-de-blasio-town-

hallmargaret- chin-aaron-foldenauer that is entitled “Security Swiped Political Pamphlets at

Mayor's Town Hall, Attendees Say” and was written by a journalist named Allegra Hobbs. That

article addressed the fact that multiple people who tried to attend the town hall meeting that the

Mayor conducted on 6/21/17 in Chinatown in Manhattan had literature illegally confiscated by

members of the NYPD as they underwent a security screening process to enter the building that

hosted that town hall.

14.    On 7/18/17, I was recorded on video during the public resource fair meeting that the

Mayor conducted in Kew Gardens in Queens with other government officials as I talked with the

Mayor face-to-face. That conversation occurred as I stood near Mr. Banks, Jessica Ramos, and in

front of a whistleblower news censor in journalism named Gloria Pazmino as well as Mr.

Gartland. Although the Mayor’s office arranged to have a video recording to be recorded of that

public resource fair and that video recording certainly is a public record, the Mayor’s office has



                                          Page 37 of 171
illegally concealed that video recording. It was only because I submitted a FOIL demand to the

Mayor’s office that it provided me a link to that video recording on the Internet prior to illegally

removing that video recording from the Internet or otherwise disabling access to it. Prior to doing

so, I downloaded a short clip from that video. The following is a link to that video clip on the

Internet:

       https://drive.google.com/open?id=1-ZUN22r8q4qARLEbMk8FVg4KuLqfTtcc

15.    Everything that I talked with the Mayor and Mr. Banks during that meeting were matters

about which I intended to engage in protected whistleblowing against them and others about

during the Mayor’s 9/14/17 town hall. The next screenshot is from the elapsed time of 1 minute

and 31 seconds in that video and pertains to a discussion that I had with the Mayor that was

about having him cancel the City of New York’s business that taxpayers pay for that is with a

company named NTT Data, Inc. that still subjects me to illegal wage-theft, fraud, and retaliatory

employment blacklisting that dates back to 2012. Instead of cancelling that business, the Mayor’s

administration has unconscionably opted to extend it that keeps too much money in the wrong

hands as people are now mightily struggling to make ends meet in New York City due to the

Coronavirus pandemic and shouldn’t have to support businesses that commit wage-theft. HRA

has contracts with NTT.




                                          Page 38 of 171
16.    The next screenshot from that video corresponds to the elapsed time of 1 minute and 4

seconds in it as I asked the Mayor a question in a poorly phrased way as I meant to ask him if her

could direct Mr. Banks to resolve my litigation against HRA in some way that was fair. The

Mayor instead stonewalled me as he told me that his administration has a lot of litigation and

“that is how we do things”. That answer confirmed to me that he and his administration needed

to be fired immediately.




                                         Page 39 of 171
17.    The next screenshot from that video corresponds to the elapsed time of 1 minute and 57

seconds in it as I apprised the Mayor that Mr. Redmond illegally prevented me from attending

his 4/27/17 town hall meeting and that he was also then defending a federal civil rights lawsuit.

In response, he claimed that he didn’t’ know anything about that and that he wouldn’t talk with

me further about lawsuits. That response further confirmed to me that he and his administration

needed to be fired immediately. I was then referring to Sherrard v. City of New York.




                                         Page 40 of 171
18.    The next screenshot from that video corresponds to the elapsed time of 2 minute and 10

seconds and clearly shows both the Mayor and an unknown Black male member of his NYPD

security detail harassing me and subjecting me to what is known as “simple assault” under

applicable law. It shows this as a result of it showing that the Mayor tried to illegally reach over

toward me and touch me near my right shoulder as the Black male member of his NYPD security

detail put his right hand on my backpack before illegally pushing me away. That push was

assault. Neither of them gave me a reasonable opportunity to first leave their wretched company

without being illegally coerced by them to do so. The Mayor’s illegal acts against me then

confirmed that he supports and condones illegal acts by the NYPD. During that meeting, I also



                                          Page 41 of 171
handed him a report again that I previously handed to him on 7/16/17 in Clement Clarke Moore

Park in the Chelsea district in Manhattan in front of Mr. Gartland and other whistleblower news

censors in journalism. That report contained screenshots from video recordings that summarized

illegal acts and omissions that were committed against me partly by members of his NYPD

security detail since 4/27/17 at public forums that he conducted. The Mayor lied to my face on

7/16/17 in that park by fraudulently telling me that he supports civil rights and military veterans

in response to questions that I then asked him about that to put him on the spot in front of

whistleblower news censors in journalism.




19.    The following is a link to the video recording on the Internet that the Mayor’s office

arranged to be recorded of the Mayor’s 7/25/17 publicity stunt publicity stunt that the Mayor

illegally conducted next to a staircase on 7/25/17 inside of the MTA subway station located in

Manhattan below Broadway near City Hall by Warren Street:

https://www.youtube.com/watch?v=Hq2Q4tPrN2A


                                          Page 42 of 171
20.    On 7/25/17, Mr. Redmond flagrantly and illegally violated my rights pursuant to the First

Amendment, Fourth Amendment, Fifth Amendment, and Fourteenth Amendment in retaliation

for my having lawfully engaged in protected whistleblowing activity in the immediate vicinity of

a large group of whistleblower news censors in journalists, the Mayor, members of the Mayor’s

staff, and members of the public inside of the subway station that I have discussed above.

21.    The next screenshot was created from what is shown at the elapsed time of 10 minutes

and 18 seconds in the video that I just discussed.




22.    The preceding screenshot shows Mr. Redmond flagrantly assaulting me behind a metal

partition near the Mayor and Eric Phillips while Mr. Phillips worked a mouthpiece for the

Mayor. Mr. Redmond assaulted me then by illegally grabbing my left arm and dragging me by it

along the subway platform where I had been standing as I was lawfully conducting myself while

engaging in whistleblowing near and against the Mayor, his administration, and its business


                                          Page 43 of 171
partners. I did so then within earshot of many whistleblower news censors in journalism that

quite fittingly were assembled together like rats and snakes. Mr. Redmond’s assault against me

then occurred behind the vertical metal partition shown in that screenshot. By deliberately

making physical contact with me and dragging me in that subway station on 7/25/17, Mr.

Redmond violated 18 U.S.C. 245(b)(5), NYPL §240.26, NYPL §240.20, and NYPL §195.00 in

the process of causing irreparable harm to my rights pursuant to the First Amendment, Fourth

Amendment, Fifth Amendment, Fourteenth Amendment, and the MTA’s Rules of Conduct to

continue to lawfully engage in protected whistleblowing near the Mayor from where I had been

standing on that subway platform. The MTA’s Rules clearly prohibited the Mayor from

conducting his publicity stunt in that subway station because it was conducted next to a staircase,

involved the use of a microphone, and impeded the movements of those in that subway station.

Those same MTA Rules authorize public speaking in subway stations however and that is

exactly what I was doing when Mr. Redmond illegally seized my left arm and criminally

assaulted me by doing so. By doing so then and so publicly, he caused me enormous

embarrassment and justifiable rage. Upon leaving that subway station, I received an unexpected

telephone call from a civil rights attorney named Norman Siegel. He immediately told me during

that call that I had a legal right to scream and shout in that subway station. In response, I told him

that I hadn’t done so and had instead merely projected my voice with my lungs in that subway

station. I did so then to compete against the Mayor’s use of a microphone during his illegal

publicity stunt and noise from subway trains.

23.    Along with other information, what I discussed above confirms that I was engaged in

protected activity against Defendant Redmond and other members of the Mayor’s NYPD

security detail prior to the Mayor’s 9/14/17 town hall. The information discussed next further




                                           Page 44 of 171
confirms that I continued to engage in protected activity against them leading up to the Mayor’s

9/14/17 town hall and that such protected activity was broader that just the Mayor’s NYPD

security detail.

24.     Leading up to 9/14/17, I actively participated in all the following types of protected

conduct and otherwise tried to do so as I was illegally prevented from doing so on both 8/30/17

and 9/8/17 by members of the NYPD at the Mayor’s 8/30/17 town hall and the Mayor’s 9/8/17

public hearing:

        a. Commencing Article 78 proceedings and attending public meetings and hearings.

        b. Circulating a petition.

        c. Testifying to a government body while engaging in a free discussion of governmental

            affairs that was partly about the manner in which government should be operated

            instead of how it was being operated.

        d. Appealing a decision by a city agency.

        e. Petitioning for government reforms.

        f. Appealing the denial of public assistance benefits.

25.     I engaged in protected whistleblowing against Defendant and other members of the

Mayor’s NYPD security detail during discussions that I had with a whistleblower news censor in

journalism named Michael Gartland on 5/23/17 inside of the Bronx Supreme Court while that

was recorded on video and on 7/16/17 after he and other whistleblower news censors in

journalism witnessed a conversation that I had with the Mayor in a small park named Clement

Clarke Moore Park in the Chelsea District of Manhattan that another whistleblower news censor

in journalism named Grace Rauh was also then in.

26.     I engaged in protected whistleblowing against the Mayor’s NYPD security detail and




                                          Page 45 of 171
New York State Court officers who illegally prevented me from attending the Mayor’s 4/27/17

town hall and 5/23/17 resource fair on 5/23/17. I did so by promptly telling Jumaane Williams

and Brad Lander during a meeting that was conducted in lower Manhattan near 200 West Street

that I was illegally prevented from attending the Mayor’s 5/23/17 resource fair by members of

the Mayor’s NYPD security detail. Back then, Mr. Williams was a member of the City Council.

He is now the New York City Public Advocate and I have no reason to believe that he took any

appropriate action in response to my complaints against members of the Mayor’s NYPD security

detail.

27.       I engaged in protected whistleblowing against the Mayor’s NYPD security detail and

New York State Court officers who illegally prevented me from attending the Mayor’s 4/27/17

town hall and 5/23/17 resource fair on 5/24/17 during a meeting that Eric Schneiderman

conducted with New York State Assemblywoman Liz Krueger that was conducted at the CUNY

Graduate Center that is located at the intersection of Fifth Avenue and 34th Street in Manhattan.

Mr. Schneiderman was then the New York State Attorney General. I did so then by writing

questions about that on a comment card I was given during that meeting that I handed back to see

if Mr. Schneiderman would address my questions on that card. While serving as the moderator

for that meeting, Ms. Krueger didn’t ask him anything about what was written on the comments

card that I submitted. Prior to submitting that comments card, I recorded the questions that I

wrote on that card in a Microsoft Word file largely because I presciently anticipated that either

Mr. Schneiderman would prove to be too spineless to answer my questions during that meeting

or Ms. Krueger would be too spineless to ask them during it.

28.       I reported entirely valid complaints to the DOJ on 6/5/17 against Mr. Redmond, Mr.

Gerola, Mr. Nieves, and other members of the NYPD before I received letter dated 8/28/17 from




                                          Page 46 of 171
Lara Eshkenazi in her capacity as the co-chief of the DOJ’s civil rights unit for the U.S.

Attorney’s Office for the Southern District of New York in which she lied by claiming that the

complaints that I reported to the DOJ didn’t appear to implicate a violation of federal civil rights

laws over which her office had jurisdiction. Contrary to that lie, her office had jurisdiction over

aspects of my complaints that corresponded to violations of 42 USC §242, 42 USC §1985 and 42

USC §1986. This is further confirmed by 34 U.S.C. §12601. Also, the criminal division of the

U.S. Attorney’s Office for the Southern District of New York had jurisdiction over aspects of my

complaints that corresponded to violations of 18 USC §245(b)(5), 18 USC §241, and other

applicable laws. I thereafter reported new and entirely valid complaints to the DOJ on 9/1/17

against Defendants Redmond, Nieves, and other members of the NYPD after they illegally

caused me to be ejected from the Mayor’s 8/30/17 town hall.

29.     I engaged in protected whistleblowing against Mr. Gerola and members of the Mayor’s

staff on 6/8/17 as I talked with New York State Assemblyman Andrew Hevesi directly in front of

the building that hosted the town hall meeting that the Mayor conducted on that date in Rego

Park in Queens before that town hall began and shortly after it ended. A whistleblower news

censor in journalism named Jon Cronin witnessed my conversation with Mr. Hevesi after that

town hall ended. Mr. Gerola was personally involved with others on 6/8/17 in having illegally

prevented me from attending that town hall from within the room in which it was conducted in

spite of the fact that I conducted myself in an entirely lawful manner throughout the entire time

that I was at the site of that town hall on that date.

30.     I testified against Mr. Gerola and other members of the Mayor’s NYPD security detail on

6/14/17 during the public hearing that the City Council’s Committee on Public Safety conducted

that was recorded on video and transcribed in writing. The video recording of that hearing is




                                            Page 47 of 171
available on the Internet at https://councilnyc.viebit.com/player.php?hash=YXl0VS6f0vsZ. My

testimony in that video begins at the elapsed time of 2 hours, 54 minutes, and 42 seconds and

lasted less than 4 minutes.

31.    I engaged in protected whistleblowing against Defendant Redmond and other members of

the Mayor’s NYPD security detail during conversations that I had with whistleblower news

censors in journalism named Marcia Kramer and Juliet Papa on 6/15/17 during a town hall

meeting that CBS New York conducted in Corona in Queens that another whistleblower news

censor in journalism named Erin Durkin attended while that town hall was recorded on video.

32.    I engaged in protected whistleblowing against Mr. Redmond, Mr. Gerola, and Mr. Nieves

in communications that I had with a whistleblower news censor in journalism named Graham

Rayman between 6/28/17 and 7/4/17 that were largely by e-mail.

33.    Prior to 9/14/17, I reported entirely valid complaints to the CCRB against Mr. Redmond,

Mr. Gerola, Mr. Nieves, and other members of the NYPD on 4/27/17, 6/1/17, 6/9/17, 6/24/17,

9/1/17, and 9/13/17.

34.    I reported entirely valid complaints to DOI and IAB on 5/25/17 against Mr. Redmond,

Mr. Gerola, Mr. Nieves, and other members of the NYPD.

35.    I engaged in protected whistleblowing on 6/6/17 against the Mayor’s NYPD security

detail in an e-mail message that I sent to former New York City Councilwoman Melissa Mark-

Viverito who moderated the Mayor’s 9/28/17 town hall, Lourdes Rosado while she headed the

NYAG’s civil rights division, and the New York City Public Advocate’s office.

36.    I engaged in protected whistleblowing on 9/1/17 against the Mayor’s NYPD security

detail in e-mail messages that I sent to Brooklyn District Attorney Eric Gonzalez and Jumanne

Williams that concerned my having been illegally ejected from the Mayor’s 8/30/17 town hall.




                                         Page 48 of 171
37.    I engaged in protected whistleblowing on 9/1/17 and 9/9/17 against the Mayor’s NYPD

security detail in e-mail messages that I sent to Lourdes Rosado.

38.    Defendant Nieves and Mr. Redmond were personally involved with other members of the

NYPD in having caused me to be illegally ejected from the gym on 8/30/18 in which the

Mayor’s 8/30/17 town hall was conducted shortly thereafter in retaliation for protected speech

and expressive association that I lawfully engaged in while talking with other members of the

public near me that was largely against Mr. Redmond and Mr. Nieves. Back then, I recall telling

female members of the public who were seated near me that Defendant Redmond was then the

defendant in Sherrard v. City of New York, No. 15-cv-7318 (MB)(S.D.N.Y. Jun. 13, 2018) as I

briefly provided them a summary of what that lawsuit was about. I also recall having then told

them about how members of the public illegally had literature that they sought to bring with

them into the public town hall meeting that the Mayor conducted on 6/21/17 in Chinatown in

Manhattan confiscated by members of the NYPD as members of the public tried to enter the

building that hosted that town hall. That referred to the discussion that I presented earlier in this

complaint about the illegal acts that Defendant Nieves was recorded on video having committed

at the Mayor’s 6/21/17 town hall.

39.    My illegal ejection from the gym that hosted the Mayor’s 8/30/17 town hall occurred as I

lawfully sat in a seat in it. In response to my having lawfully exercised my First Amendment

right to try to embarrass Mr. Redmond as he happened to walk by where I was then seated in that

gym by pointedly asking him while I was seated about how well Sherrard v. City of New York

was progressing against him, he promptly, illegally, and deliberately initiated physical contact

with my body with neither my consent nor any legal justification whatsoever as I immediately,

lawfully, and angrily voiced my objections to him about making physical contact with my body




                                           Page 49 of 171
without any justification. I immediately then ordered him to get away from me, continue to go

about his business elsewhere, and to leave me alone. A short time after he eventually walked

away, Defendant Nieves approached where I continued to lawfully sit as I was continuing to

lawfully conduct myself as I continued to engage in protected whistleblowing against Mr.

Redmond and others. Defendant Nieves then illegally coerced me to leave that gym by illegally

making physical contact with my body and illegally seizing my backpack. Prior to doing so, Mr.

Nieves told me that he wanted to have a talk with me about something outside. In response, I told

him that he and I could instead have that conversation where he and I then were while I was then

seated in front of other members of the public who could thereafter serve as eyewitnesses about

how he and I interacted. At that time, I expected that he and other members of the NYPD were

about to yet again violate my constitutional rights and other applicable laws in relation to my

constitutional right to attend that public forum. That is precisely why I then opted to lawfully

remain in my seat and give Mr. Nieves and other members of the NYPD to prove my expectation

about that criminal mob to be right as he and they quickly and illegally coerced me to leave that

gym while I was conducting myself in an entirely lawful manner in stark contrast to that Nazi

mob. As members of that mob coerced me to leave that gym, they did so by illegally pushing me

from behind towards an exit that was entirely unnecessary. In hindsight, I genuinely regret

having not exercised my legal right to self-defense by immediately physically disabling Mr.

Nieves and other members of that criminal mob in front of the members in that gym. Hindsight

confirms that I certainly should have done precisely that and without any hesitation. Findings in

Wright v. Musanti, No. 14-cv-8976 (KBF)(S.D.N.Y. Jan. 20, 2017) confirm that the physical

contact that was made with my body by members of the NYPD while I was in that gym on

8/30/17 constituted assault against me because I regarded that contact as offensive. It’s




                                          Page 50 of 171
objectively reasonable to believe that one of the reasons why I was illegally prevented by

Defendant Nieves and others from being able to attend the Mayor’s 9/14/17 town hall from

within the room in which it was conducted was because Defendant Nieves didn’t want me to

have the opportunity to engage in protected whistleblowing against him and other members of

the NYPD about my having been illegally ejected from the gym that hosted the Mayor’s 8/30/17

town hall shortly before that town hall was conducted in it.

40.    Defendant Cruz was personally involved in having illegally prevented me from walking

past him on 9/8/17 to enter City Hall to attend and testify against the NYPD and Mayor during

the Mayor’s 9/8/17 public hearing at 2 pm in the Blue Room in City Hall. Mr. Cruz did so then

while he was assigned to the NYPD guardhouse that is located just inside of the entrance to City

Hall by Park Row. The NYPD thereafter illegally didn’t provide me video recordings from its

video security cameras in that area in response to a timely FOIL demand that I submitted for

those public records. Instead, the NYPD illegally destroyed that evidence. While I was being

illegally prevented from attending the Mayor’s 2 pm public hearing on 9/8/17, Defendant Nieves

approached me as I thereafter waited by the Broadway entrance to City Hall. At that time, he

asked to see literature that I had with me that contained protected whistleblowing information

against him, other members of the NYPD, and others that I brought with me to distribute and

testify about during that 2 pm public hearing and continue to distribute inside of and otherwise

within the immediate vicinity of City Hall thereafter to members of the press and others. While I

was being illegally prevented from attending that 2 pm public hearing, I recorded a video

recording of Defendant Nieves with my cell phone at 2:14 pm on 9/8/17 with my cell phone of

Defendant Nieves as he looked in my direction while he wore a suit, tie, and eyeglasses and

appeared to then be using a cell phone as he stood in an area of City Hall’s compound where




                                         Page 51 of 171
people park their cars. The next screenshot is from that video that shows him in it on the right as

he stood behind a door to the NYPD guardhouse that is located just inside of the Broadway

entrance to City Hall. It’s objectively reasonable to believe that one of the reasons why I was

illegally prevented by Defendant Nieves and others from being able to attend the Mayor’s

9/14/17 town hall from within the room in which it was conducted was because Defendant

Nieves didn’t want me to have the opportunity to engage in protected whistleblowing against

him and other members of the NYPD about having been illegally been barred from attending the

Mayor’s 9/8/17 2 pm public hearing. That hearing was partly about proposed legislation that

concerned reforming the NYPD. I intended to testify during that hearing about that specific

proposed legislation.




41.    Prior to trying to attend the Mayor’s 9/14/17 town hall, I was actively involved in

litigation activity against the City of New York and the defendants. On 9/5/17, New York State


                                          Page 52 of 171
Supreme Court Judge Alexander Tisch issued an order in my HRA lawsuit in which he flagrantly

violated my First Amendment and Fourteenth Amendment rights to then be able to effectively

petition for redress, have access to the courts, and be accorded proper due process by him in a

manner would be in full accordance with Goldberg v. Kelly, 397 U.S. 254, 90 S. Ct. 1011, 25 L.

Ed. 2d 287 (1970) clearly expressed is required of due process. Goldberg v. Kelly requires due

process to be granted at a meaningful time in a meaningful way that is tailored to an individual’s

circumstances and capacity to be heard. The order that Judge Tisch issued on 9/5/17 in my HRA

lawsuit was in response to an order to show cause application that I submitted in that case while

New York State Supreme Court Judge Nancy Bannon was on vacation and could not hear that

application then for that reason. He also issued that order while Judge Bannon was then running

for re-election as a judge and after she behaved in the following ways while she was assigned to

my HRA lawsuit:

       a. She illegally granted an illegal ex-parte adjournment application that an attorney for

           HRA named Jeffrey Mosczyc caused to be faxed to her chambers on 4/5/17 in which

           he asked her to adjourn the oral arguments hearing that she set on 1/26/17 to be

           conducted on 4/12/17 in my HRA lawsuit. She illegally granted that in spite of the

           fact that I was never given any notice of that application before she illegally granted

           it. I certainly had a First Amendment and Fourteenth Amendment right to have

           submitted opposition in response to that illegal ex-parte adjournment application and

           to have my opposition fully and properly considered by her prior to her making a

           decision about Mr. Mosczyc’s illegal ex-parte adjournment application. Instead,

           Judge Bannon’s court clerk left me a voicemail message at 9:56 am on 4/11/17 in

           which he apprised me of the fact that Judge Bannon illegally granted Mr. Mosczyc’s




                                         Page 53 of 171
illegal 4/5/17 ex-parte adjournment application. I instantly knew that Mr. Mosczyc

had engaged in illegal gamesmanship by submitting his illegal 4/5/17 adjournment

application in an ex-parte manner that is explicitly prohibited by the New York State

Court System’s regulations, Judge Bannon’s written rules of practice, and my First

Amendment and Fourteenth Amendment rights. I immediately knew all of that

largely because my HRA lawsuit was then parallel litigation with respect to related

litigation that I was engaged in against HRA about identical claims that was assigned

to OTDA. On 4/11/17, OTDA conducted a fair hearing between HRA and I by

telephone that both OTDA and I recorded on audio. My audio recording of that

hearing was among the exhibits that I stored on the USB thumb drive that I submitted

in my HRA lawsuit in conjunction with my 5/19/17 order to show cause application.

The sum and substance of what is heard in that audio recording confirms that Judge

Bannon in her 8/10/17 decision by claiming that I hadn’t exhausted my administrative

remedies for claims that I asserted against HRA as she then referred to OTDA as the

New York State administrative appellate forum for claims asserted against HRA. An

attorney for HRA named Marin Gerber both lied about material matters during that

4/11/17 OTDA fair hearing and flagrantly violated res judicata for matters that were

already decided in my favor against HRA in relation to the fair hearing decision that

OTDA issued in my favor against HRA on 9/15/16 that OTDA illegally thereafter

refused to fully enforce and HRA refused to fully comply with. Also, the OTDA

administrative law judge who presided over my 4/11/17 fair hearing with HRA

confirmed that she wouldn’t allow that hearing to address additional claims that I

asserted against HRA that Jackie Donovan of OTDA’s compliance division had




                              Page 54 of 171
   added to the agenda for that 4/11/17 fair hearing. I’m referring to additional claims

   that I apprised OTDA about in a 62-page fax that I faxed to OTDA on 2/9/17 in order

   for it to perform its legal duty to have fair hearings conducted within 30 days

   thereafter to address those claims against HRA. OTDA instead illegally never

   conducted a fair hearing about those additional claims and continued to illegally bar

   me from its offices located at 14 Boerum Place in Brooklyn where it conducts fair

   hearings in flagrant violation of my constitutional rights while never granting me any

   due process to allow me to challenge the lack of validity for that ban and

   discrimination. OTDA has been illegally barring me from that office ever since an

   OTDA administrative law judge illegally terminated a fair hearing that I participated

   in at that office on 7/5/16 while OTDA recorded it on audio. That audio recording

   confirms that administrative law judge illegally terminated that fair hearing while I

   was in the middle of trying to lawfully answer a question that I was asked during it.

b. She illegally ignored material and admissible evidence that I submitted in that case on

   5/19/17 in conjunction with an order to show cause application. That evidence was

   stored on a USB thumb drive and mostly consisted of relevant audio and video

   recordings.

c. She ignored an application that I made in my 5/19/17 order to show cause application

   to have my HRA lawsuit unsealed, the City of New York ordered to enable me to

   attend public meetings that the Mayor and Mr. Banks would thereafter continue to

   conduct, and the City of New York ordered to preserve video recording evidence that

   was recorded on 4/27/17 at the site of the Mayor’s 4/27/17 town hall at which I was

   illegally prevented from attending the Mayor’s 4/27/17 town hall. My HRA lawsuit




                                 Page 55 of 171
   was sealed in January of 2017 at my request and I sought for it to be unsealed on

   5/19/17 largely to be able to be able to better publicize Judge Bannon’s misconduct in

   my HRA lawsuit and the illegal acts and omissions that members of the Mayor’s

   NYPD security detail, other members of the NYPD, and members of the Mayor’s

   staff had been committing against me since the Mayor’s 4/27/17 town hall. In short, I

   sought to lawfully use the sum and substance of my HRA lawsuit as a weapon to

   engage in large-scale character assassinations to ruin the re-election hopes of the

   Mayor, Judge Bannon, members of the City Council, and other government officials

   in 2017 largely by engaging in word-of-mouth advertising about its entirety while

   attending public forums that members of the public conducted in a collaborative

   manner with the Mayor, Mr. Banks, other government officials, and journalists in the

   rooms in which they were conducted as they were conducted, shortly before they

   began, and shortly after they ended while they were recorded on video that was

   broadcast over the Internet.

d. She lied in the decision that she issued on 8/10/17 in that case. In that decision, she

   lied partly by suggesting that I had claimed that HRA stole wages of mine in spite of

   the fact that I never claimed that and I never worked for HRA. She also severed

   claims that I asserted in that case from her jurisdiction through that decision that

   caused those matters to be reassigned to Judge Tisch, who then arbitrarily,

   capriciously, and illegally refused to begin dealing with those severed and transferred

   claims until after 9/1/18 in flagrant violation of my First Amendment and Fourteenth

   Amendment rights. Judge Tisch instead illegally referred those transferred back to

   Judge Bannon through his 9/5/17 order while essentially treating them like the




                                  Page 56 of 171
           Coronavirus and a hot potato that he wanted to have absolutely nothing to do with.

       e. She a) lied in her 1/31/18 decision in my HRA lawsuit by fraudulently claiming that

           there wasn’t anything that she overlooked and misapprehended in issuing her 8/10/17

           decision and b) illegally disposed of my HRA lawsuit in its entirety in spite of the

           fact that I continued to have claims that were pending to be addressed in it by virtue

           of the fact that she previously severed them from her jurisdiction in her 8/10/17

           decision. Judge Tisch thereafter illegally waited until 9/17/18 to issue an order that

           reinstated my HRA lawsuit. He thereafter illegally did nothing to adjudicate my

           claims in my HRA lawsuit that Judge Bannon caused to be assigned to him.

42.    The next screenshot is from the last page of Judge Bannon’s 8/10/17 decision in my HRA

lawsuit. The remarks that she expressed in it refer to my having been illegally prevented from

attending the Mayor’s 4/27/17 town hall and the Mayor’s 5/23/17 resource fair meeting partly by

Defendants Nieves, Gerola, and Atcheson while I was conducting myself lawfully.




                                          Page 57 of 171
43.    If garbage in New York City’s fake news industry that included the following people and

many more in 2017 had opted to responsibly stop wrongfully subjecting me to whistleblower

news censorship as they instead served as dutiful and subservient accomplices of the Mayor’s

administration and the NYPD to rig the outcomes of the 2017 New York City government

elections for the benefit of the Mayor’s administration, City Council, other government officials,

and NYPD by engaging in behavior that is tantamount to voter suppression, voter fraud,

viewpoint discrimination, and whistleblower retaliation, then I wouldn’t have needed to try to

attend public forums that the Mayor and other government officials conducted in 2017 after

3/15/17 as much to try to overcome and equitably expose their censorship that proximately

enabled widespread terrorism by the NYPD across New York City since May of this year:

       Grace Rauh, Gloria Pazmino, Michael Gartland, Graham Rayman, Erin Durkin, Jillian
       Jorgensen, Errol Louis, Courtney Gross, Mara Gay, David Goodman, Matthew Chayes,
       Ben Max, Julia Marsh, Madina Toure, Yoav Gonen, Jeff C. Mays, Gwynne Hogan,



                                         Page 58 of 171
       Jessica Layton

44.    I recall Julia Marsh having told me during a telephone call that she threw away a copy of

my 5/19/17 order to show cause application in my HRA lawsuit after I asked her if I could get it

back from her after she informed me that the New York Post wouldn’t pursue any reporting

about my HRA lawsuit. That occurred after I was recorded on video on 5/23/17 as I talked with

Mr. Gartland on 5/23/17 face-to-face inside of the Bronx Supreme Court as I was being illegally

prevented from attending the Mayor’s 5/23/17 resource fair as I clearly told him then that I was

illegally prevented from attending the Mayor’s 4/27/17 town hall as well and that I was a

whistleblower against the Mayor’s administration and the NYPD as I also then had an ongoing

lawsuit against HRA. During that meeting, I showed him a copy of my 5/19/17 order to show

cause application that I brought with me to discuss with Mr. Banks, the Mayor, journalists, and

members of the public while attending the Mayor’s 5/23/17 resource fair. I also wrote down the

index number of my HRA lawsuit and my contact information on a notepad that he handed to me

as we sat next to one another on a bench in that courthouse on 5/23/17 to enable him to follow-

up with me about my HRA lawsuit. The next 2 screenshots are from a video recording that was

recorded on 5/23/17 by a video security camera that OCA controls that was then installed above

the entrance to Room 105 on the first floor of the Bronx Supreme Court. OCA provided me that

video recording in response to a FOIL demand that I submitted to it. Those screenshots

correspond to parts of that video that were recorded between 9:30 am and 10 am on 5/23/17 as

the Mayor’s 5/23/17 resource fair was conducted in the Veterans’ Memorial Hall chamber

located in that courthouse during the U.S. Navy’s annual “Fleet Week” event in New York City,

and while I continued to be a Navy veteran that the Mayor’s administration and NYPD were

stabbing in the back by flagrantly violating my constitutional rights at public forums to steal the




                                          Page 59 of 171
2017 New York City government elections by doing their utmost to illegally silence and prevent

valid criticism against the Mayor’s administration, its business partners, and members of the

NYPD at public forums that the Mayor, Mr. Banks, members of the City Council, and other

government officials jointly conducted with the public, journalists, and whistleblower news

censors in journalism. These screenshots show me as I a) took a notepad from Mr. Gartland for

the purpose that I discussed above and b) showed him the copy of my 5/19/17 order to show

cause application in my HRA lawsuit that was in a large white bag of mine.




45.    On 2/19/20, a leader and trailblazer named David Rem lawfully and awesomely

performed a key civic duty by standing up during the public town hall meeting that the Mayor

conducted in Forest Hills in Queens as he told the Mayor that he was New York City’s worst

Mayor ever while that town hall meeting was recorded on video as a result of arrangements that

the Mayor’s office made. That video is available on the Internet at


                                         Page 60 of 171
https://www.youtube.com/watch?v=5le6DCaxiG8. Mr. Rem is shown in that video at the elapsed

time of 1 hour, 37 minutes, and 55 seconds as he told the Mayor that he was New York City’s

worst Mayor ever. In response to that criticism, Mr. Rem received cheers and applause from

members of that town hall’s audience as one of those people rose from his seat to applaud Mr.

Rem and pay proper respect to him for his leadership and outspokenness while taking the gloves

off so to speak at the Mayor’s expense in such a refreshing way during that public forum. This

proves that the finding in Cohen v. California, 403 U.S. 15, 91 S. Ct. 1780, 29 L. Ed. 2d 284

(1971) that states that “it is nevertheless often true that one man's vulgarity is another's lyric” is

true during public forums that the Mayor conducts. This discussion also confirms that I had a

First Amendment and Fourteenth Amendment right to beat Mr. Rem to the punch on 9/14/17 by

attending the Mayor’s 9/14/17 town hall within the room in which it was conducted and similarly

criticizing the Mayor, Mr. Banks, members of the Mayor’s NYPD security detail, members of

the Mayor’s staff, and many others while doing so. It’s worth pointing out that Mr. Rem was

illegally retaliated against in violation of his First Amendment rights on 2/19/20 as the Mayor

used a hand signal to illegally direct Mr. Redmond and others to coerce Mr. Rem to abruptly

leave that town hall.

46.     Just 2 weeks after I was illegally prevented from attending the Mayor’s 9/14/17 town hall

from within the room in which it was conducted, Defendants Gerola and Mason were personally

involved on 9/28/17 with other members of the NYPD and members of the Mayor’s staff in

illegally preventing me from attending the Mayor’s 9/28/17 town hall that was conducted in

Harlem while I was conducting myself in an entirely lawful manner throughout the entire time

that I was at the site of that town hall on that date. That occurred after I recorded Defendant

Gerola on video on 9/26/17 at the site of the town hall that the Mayor conducted on that date as




                                            Page 61 of 171
Mr. Gerola told me by the entrance to the school that hosted that town hall that he was definitely

not letting me attend that town hall while I yet again was then conducting myself in an entirely

lawful manner in stark contrast to him. That occurred as Defendants Mason, Nieves, and others

were also personally involved in illegally preventing me from attending that town hall. Mr.

Gerola and other members of the NYPD then illegally prevented me from attending the Mayor’s

9/27/17 public resource fair meeting in Manhattan while I again conducted myself in an entirely

lawfully manner in contrast to those criminals.

47.      By having illegally prevented from attending the Mayor’s 9/28/17 town hall, Defendants

Gerola, Mason, and others illegally prevented me from lawfully exercising my First Amendment

and Fourteenth Amendment right to thank members of the public who loudly criticized the

Mayor during that town hall that caused the to be illegally ejected from it by Defendants Gerola,

Redmond, and other members of the NYPD.

48.      The discussion that follows about illegal acts that Defendants Gerola, Redmond, and

other members of the NYPD committed against members of the public who attended the

Mayor’s 9/28/17 town hall is being presented here mainly to showcase their apparent addiction

to domestic terrorism by committing crimes partly against the First Amendment, Fourteenth

Amendment, and federal Hatch at public forums that the Mayor conducts with others.

49. The Mayor’ office arranged to have the Mayor’s 9/28/17 town hall recorded on video. That

      video recording is available on the Internet at

      https://www.youtube.com/watch?v=4s9fYZNLK8o.

50. The next screenshot is from the elapsed time of 1 hour, 50 minutes, and 37 seconds in the

      video that the Mayor’s office arranged to be recorded of the Mayor’s 9/28/17 town hall. That

      screenshot shows a fantastic woman as she stood up and assertively addressed the Mayor




                                            Page 62 of 171
   while lawfully criticizing his rezoning and affordable housing policies as other members of

   that audience certainly supported her. At that time, she was a teacher and was schooling the

   Mayor about his lack of honesty, transparency, accountability, and leadership. I would have

   loved to have witnessed her addressing the Mayor as she did then firsthand by having been

   permitted to exercise my constituonal right to have attended that town hall from within the

   room in which it was conducted and seen her face that is not shown in that video recording.

   If I had been able to attend that town hall within that room, I would have tried to lawfully

   thank her for her criticism of the Mayor and recorded a video of her as she delivered her

   remarks to the Mayor then. I had a First Amendment and Fourteenth Amendment right to

   have recorded her conversation with the Mayor on video in a way that showed her face and

   the defendants in this action.




51. The next screenshot is from the elapsed time of 1 minute, 51 minutes, and 58 seconds in that

   same video as it shows an unknown bald male as he looked in the direction of the video

   camera that recorded that video and stood near the woman who had just schooled the Mayor




                                         Page 63 of 171
   about his rezoning policies. That bald man whio is shown wearing a pink shirt and dark

   colored sportscoat was recorded on video as he was present on 4/27/17 at the site of the

   Mayor’s 4/27/17 town hall near its entrance as I was being illegally prevented from attending

   it by members of the NYPD as well as Defendant Miller and Pinny Ringel of the Mayor’s

   CAU. That bald man who wore the pink shirt during the Mayor’s 9/28/17 town hall illegally

   didn’t make any effort on 4/27/17 to allow me to attend the Mayor’s 4/27/17 town hall as he

   was aware that I was being prevented from attending it. The totality of the circumstances on

   9/28/17 strongly suggests that he was then in the middle of harassing that woman in response

   to her remarks to the Mayor then in spite of the fact that her remarks to the Mayor then had

   been protected speech about matters of public concern.




52. The next screenshot is from the elapsed time of 1 minute, 52 minutes, and 19 seconds in that

   same video as it shows an unknown Black woman harassing the teacher who schooled the

   Mayor about his rezoning policies. In this screenshot, that teacher was continuing to lawfully

   engage in protected conduct against both the Mayor and Melissa Mark-Viverito about the

   Mayor’s rezoning policies that Ms. Mark-Viverito approved of. That teacher’s behavior then

   was entirely in accordance with findings from Piesco v. City of New York, Dept. of



                                         Page 64 of 171
   Personnel, 933 F.2d 1149 (2d Cir. 1991) that appear in the Legal Standards section in this

   complaint. That court decision explicitly confirms that a discussion about “the manner in

   which government is operated or should be operated” is protected speech. The totality of the

   circumstances strongly suggests that that teacher was then being harassed by the Black

   woman who leaned over to her and stood to her right in response to the fact that that teacher

   felt that she hadn’t received a suitable response to questions and remarks to the Mayor during

   that town hall as she lawfully then petitioned the Mayor for appropriate redress in accordance

   with her First Amendment rights.




53. The next screenshot is from the elapsed time of 1 minute, 52 minutes, and 7 seconds in that

   same video as it shows an unknown Black woman harassing the teacher who schooled the

   Mayor about his rezoning policies. The bald man who was then wearing a pink shirt and dark

   colored sportscoat that I just discussed also appears in that screenshot as he also appeared to

   then be harassing that teacher. Another reason why what appears in this screenshot is

   signfiicant is because it confirms that Ms. Mark-Viverito then made remarks to that teacher

   that hindsight confirms were patently disingenuous in regards to the First Amendment right



                                         Page 65 of 171
   that people had to lawfully attend and express themselves during that town hall from within

   the room in which it was conducted. This stems from the fact that she was then recorded on

   video as she claimed that everyone had the right to express their point of view during that

   town hall before I had a conversation as she left that building af the end of that town hall

   during which I apprised her of the fact that I had been illegally prevented from attending it in

   flagrant violation of my First Amendment rights. Ms. Mark-Viverito was also recorded on

   video during that 9/28/17 town hall around that same time as she acknowledged that

   everyone had the right to express themselves during that town hall as well as the right to

   disagree with others during it.




54. A very short time later, that teacher and other members of the public who attended that town

   hall were illegally ejected by Defendant Gerola and other members of the Mayor’s NYPD

   security detail from that town hall in violation of their constitutional rights, 18 U.S.C.

   §245(b)(5), 18 U.S.C. §241, 42 USC §1985, 42 USC §1986, NYPL §240.20, NYPL §240.26,

   NYPL §120.45, 5 U.S.C. §1502(a)(1) and other applicable laws in retaliation for their

   protected First Amendment expression during that town hall as it didn’t appear that any



                                          Page 66 of 171
   member of the public who attended that town hall voiced an objection about how the people

   who were then illegally ejected from that town hall had conducted themselves in it. They

   were illegally coerced to leave that town hall in response to an order that Defendant

   Redmond appears to have verbally issued to cause that to occur as he was recorded on video

   as he engaged in behavior that made it appear that he then issued that order.

55. The next screenshot is from the elapsed time of 1 minute, 52 minutes, and 53 seconds in that

   same video and shows Defendant Redmond as he appeared to make remarks in a radio

   communications device that he then had installed near his left wrist to cause that teacher and

   other members of the public near her to be illegally ejected from that town hall by other

   members of the Mayor’s NYPD security detail that included Defendant Gerola.




                                         Page 67 of 171
56. The next screenshot is from the elapsed time of 1 minute, 53 minutes, and 26 seconds in that

   same video and shows Defendant Gerola as he and other members of the NYPD acted in

   concert with Defendant Redmond, Jeff Lynch of the Mayor’s office, Ms. Mark-Viverito, and

   the Mayor in illegally causing and otherwise condoning the fact that the teacher who

   schooled the Mayor about his rezoning policies during that town hall and lack of honesty and

   transparency during it was ejected from that town hall with other members of the public who

   supported her viewpoints. That screenshot shows numerous empty blue seats in that town

   hall that I then had a First Amendment, Fifth Amendment, and Fourteenth Amendment right

   to lawfully sit in to attend that town hall. However, no reasonable accommodation was

   offered to me to then attend that town hall from within that room.




57. After the Mayor’s 9/28/17 town hall ended, the New York Post published a news article on

   the Internet at https://nypost.com/2017/09/28/residents-tossed-out-of-de-blasio-town-hall-

   over-zoning-spat/ that is entitled “Residents Tossed from De Blasio Town Hall over ‘Racist’

   Zoning Feud” and was written by Rich Calder. In short, that news article reported that the

   teacher who schooled the Mayor during that 9/28/17 and her fans were coerced by security

   personnel to leave that town hall in retaliation for their criticism against the Mayor during



                                         Page 68 of 171
   that town hall.

58. On a related note, Spectrum News published a news report entitled “East Harlem Residents

   Get Rowdy at Mayor's Rezoning Town Hall” on the Internet on 9/29/17 at

   https://www.ny1.com/nyc/all-boroughs/news/2017/09/30/east-harlem-residents-get-rowdy-

   at-mayor-s-rezoning-town-hall that one of its reporters named Bobby Cuza prepared. Like

   many others in New York City’s journalism business, Mr. Cuza is a whistleblower news

   censor in that business as far as I’m concerned. I first met him on 4/27/17 at the site of the

   Mayor’s 4/27/17 town hall meeting and apprised him of the fact that I was illegally prevented

   from attending that public forum. He and Spectrum News thereafter never reported any

   information about that as they cemented their credentials as garbage in journalism by not

   doing so that facilitated the abilities that the Mayor’s NYPD security detail and members of

   the Mayor’s staff had to continue to commit crimes against my constitutional rights and those

   of other New Yorkers at public forums that the Mayor continued to conduct thereafter with

   other government officials as the Mayor’s NYPD security detail and members of the Mayor’s

   staff continued to do so to steal the 2017 New York City government elections for the mutual

   benefit of the Mayor, members of the City Council, and themselves partly to safeguard their

   collective job security that is now belatedly threatened by consequences of the ongoing

   coronavirus COVID-19 pandemic that they may best be able to equitably come to grips with

   simply by taking a deep breath to instill New York values. The news report that he prepared

   about the Mayor’s 9/28/17 town hall contains a video recording that is comprised of clips

   from video recordings that were recorded on 9/28/17 during the Mayor’s 9/28/17 town hall

   that show how it was conducted within the room in which it was conducted. The next

   screenshot is from the elapsed time of 1 minute and 57 seconds in the video recording in that




                                          Page 69 of 171
news report that shows Defendant Gerola as he was personally involved with Defendant

Redmond and at least one other member of the Mayor’s NYPD security detail in illegally

violating 18 USC §245(b)(5), 18 USC §241, 42 USC §1985, 42 USC §1986, 5 U.S.C.

§1502(a)(1), NYPL §240.20, NYPL §240.26, and the First Amendment, Fifth Amendment,

and Fourteenth Amendment rights of the teacher who schooled the Mayor about his rezoning

policies during that town hall and her fans as they lawfully attended that town hall from

within the room in which it was conducted as it was conducted by coercing them to leave that

town hall in retaliation for lawful First Amendment expression that I discussed above and

would have loved to have witnessed firsthand in accordance with my First Amendment and

Fourteenth Amendment rights to have then lawfully done so. This screenshot shows an

unknown bald male member of the Mayor’s NYPD security detail on the far-left side as he

illegally and deliberately made physical contact with his right hand on the back of someone

he was illegally coercing to leave that town hall. Through their illegal acts against those

demonstrators then, Defendants Gerola, Redmond, and the unknown bald male member of

the Mayor’s NYPD security detail also violated my First Amendment rights, those who

attended that town hall, and others who watched video recordings of how it was conducted

with respect to our rights to have continued to hear what those demonstrators may have

otherwise continued to have had to lawfully say and otherwise express during that town hall

by having been able to continue to lawfully attend it from within the room in which it was

conducted. This is true because the First Amendment also includes the right to receive

information and to engage in expressive association.




                                      Page 70 of 171
59. The next screenshot is from the elapsed time of 1 hour, 26 minutes, and 6 seconds in the

   video that the Mayor’s office arranged to be recorded of the town hall meeting that the

   Mayor conducted on 9/28/17 as a fantastic unknown Black woman whose first name may be

   Krista expressed her First Amendment right to speak and take the floor in the process in the

   center of the room in which that town hall was being conducted in a collaborative manner

   with the Mayor. She did so then after other government officials who attended that town hall

   had earlier urged that town hall’s audience while those officials were in that room as it was

   being conducted to be outspoken during that public forum. This is confirmed by remarks that

   New York City Councilman Bill Perkins stated at the elapsed time of 5 minutes and 32

   seconds as he was recorded on video by the video recording that the Mayor’s office arranged

   to be recorded of the Mayor’s 9/28/17 town hall. Mr. Perkins then explicitly told the

   audience of that town hall that he and others who attended it didn’t want the members of that

   audience to be restrained in their remarks during that town hall. The following is a screenshot

   from the video recording that the Mayor’s office arranged to be recorded of the Mayor’s



                                         Page 71 of 171
   9/28/17 town hall that shows Mr. Perkins as he stood in front of the Mayor as he made those

   remarks as I played back that video with the closed-captioning feature active:




60. The next screenshot is from that same video that shows Mr. Perkins as he clearly continued

   to urge that town hall’s audience not to be shy with their questions and remarks during that

   public forum. That screenshot corresponds to the elapsed time of 5 minutes and 35 seconds in

   that video.




                                        Page 72 of 171
61. The next screenshot is from that same video that shows Mr. Perkins as he urges that town

   hall’s audience not to shout out what was on their minds during that town hall in relation to

   questions that they would ask and remarks that they would make to the Mayor and other

   governent officials during that town hall. That screenshot corresponds to the elapsed time of

   5 minutes and 38 seconds in that video.




62. The woman to whom I just referred above and whose first name may be Krista. then made it

   abundantly clear through her remarks that she was very critical of the Mayor’s

   administration. The manner in which that woman conducted herself during that town hall and

   the extent to which she was outspoken during it as the Mayor, Defendant Redmond, and

   other members of the NYPD and other government personnel were tolerant of that instead of

   promptly ejected her from that town hall sufficinetly confirms that I had a Fourteenth

   Amendment due process and equal protection right as well as a First Amendment right to

   have attended both the Mayor’s 9/14/17 town hall and the Mayor’s 9/28/17 town hall

   meetings from within the rooms in which they were conducted as they were conducted and to

   behave exactly as she behaved while she attended the Mayor’s 9/28/17 town hall instead of


                                         Page 73 of 171
having been illegally barred from attending them from within the rooms in which they were

conducted as they were conducted and totally barred from attending the Mayor’s 9/28/17

town hall . The woman to whom I just referred is Black and is shown standing on the right in

that screenshot as she wore what appeared to be a blue denim jacket while she had a bag over

her stomach and had her mouth open. Defendant Redmond appears in the upper-left area in

that screenshot. The Mayor was then objecting to the fact that she stole the stage from him

during that public forum as no member of the public who attended that town hall appeared to

have also objected to that. The Mayor, his NYPD security detail, and those who otherwise

worked for the Mayor were all then estopped from being able to object to that woman’s

behavior on account of the fact that I was then being illegally prevented from attending that

town hall by members of the Mayor’s NYPD security and members of his staff. The bald

man who is shown wearing a pink shirt and a dark colored sportscoat on the far-left in that

screenshot is the same person who I discussed a short time ago in this complaint. Christopher

Fowler of the Mayor’s NYPD security detail appears on the far-right in that screenshot as the

back of his head faced the video camera that recorded that video. In addition to what I

discussed about him earlier in this complaint that concerns 7/25/17 and a subway station, he

was among members of the Mayor’s NYPD security detail who illegally ejected me from the

Mayor’s 8/30/17 town hall while I was conducting myself in a lawful manner.




                                      Page 74 of 171
63. The next screenshot is from the elapsed time of 1 hour, 59 minutes, and 49 seconds in that

   same video as I played it back with the closed-captioning feature active and yet not vey

   accurate about what was being stated during that town hall. That screenshot shows the same

   fantastic unknown Black woman whose first name may be Krista that I just discussed above

   resumed expressing her First Amendment right to speak while attending that town hall

   meeting from within the room in which it was conducted as it was conducted as she then

   addressed the Mayor in her remarks that were highly charged in nature that I certainly would

   have loved to have witnessed firsthand by having been permitted to exercise my

   constitutional right to have attended that town hall from within that room then. Her remarks

   then were also very critical of the Mayor and his administration. In response to how

   boisterous she was then, Defendant Redmond and other members of the NYPD illegally

   coerced her to leave that town hall in violation of her constitutional rights, New York State’s

   Open Meetings Law, other applicable law, and the findings in a) Matal v. Tam, 137 S. Ct.

   1744, 582 U.S., 198 L. Ed. 2d 366 (2017) and b) McCutcheon v. Federal Election Com'n,

   134 S. Ct. 1434, 572 U.S. 185, 188 L. Ed. 2d 468 (2014) that concern viewpoint



                                         Page 75 of 171
      discrimination that appear in the Legal Standards section in this complaint.




64. The next screenshot is from the preceding one and shows an enlarged version of the area in it

      where that unknown Black woman appeared next to Defendant Redmond as she addressed

      the Mayor as she and Defendant Redmond stood on the far-let side of that room. Mr.

      Redmond’s back then faced the video camera that recorded that video as he then wore a dark

      colored suit.




65.      In this complaint’s Legal Standards section, I include an excerpt from Ragbir v. Homan,



                                            Page 76 of 171
923 F.3d 53 (2d Cir. 2019) that addresses retaliation that an activist named Ravidath Ragbir

experienced in retaliation for his efforts to receive news coverage about matters of public

concern.

66.    The retaliation that Mr. Ragbir experienced in retaliation for his efforts to receive news

coverage is comparable to illegal acts and omissions that were committed against me on 9/14/17

by the defendants that prevented me from attending the Mayor’s 9/14/17 town hall in the room in

which it was conducted. I believe that those acts and omissions were partly driven by efforts that

I undertook to attract news coverage partly about a) my HRA lawsuit and b) illegal acts and

omissions that members of the Mayor’s NYPD security detail, other members of the NYPD,

members of the Mayor’s staff, the Mayor, Defendant O’Neill had been committing against me

since 4/27/17 in relation to my efforts to lawfully attend public forums that members of the

public conducted in a collaborative manner with the Mayor, Mr. Banks, other government

personnel, whistleblower news censors in journalism, and journalists within the rooms in which

they were conducted as they were conducted.

67.    Concerning what I just discussed, I received a 374-page PDF file from the Mayor’s office

on 2/15/19 in response to a FOIL demand that I submitted to it. That PDF file includes e-mail

messages that senior members of the Mayor’s staff, Mr. Redmond, and others sent about me in

2017 about illegal acts and omissions that were committed against me by themselves, Mr.

Redmond, and others in relation to my efforts to lawfully attend public forums that consisted of

public town hall meetings and public resource fair meetings in the rooms in which they were

conducted as they were conducted that were conducted on 4/11/17, 4/27/17, 5/23/17, 6/8/17 by

members of the public in a collaborative manner with the Mayor, Mr. Banks, members of the

City Council, other government officials, whistleblower news censors in journalism, and




                                          Page 77 of 171
members of the press. Redactions were applied to the many of the e-mail messages shown in that

PDF file before I received it. That PDF file includes e-mail messages that were sent on 6/28/17

and 6/29/17 about me between a) Erin Durkin while she then worked for the New York Daily

News and b) Defendant Ramos and the Mayor’s former mouthpiece, Eric Phillips. E-mail

messages in that PDF file also confirm that the following members of the Mayor’s administration

communicated updates on 4/10/17 and 6/28/17 to other members of the Mayor’s administration

about the status of my HRA lawsuit and related litigation that was assigned to OTDA that I

pursued against HRA before Defendant Ramos blatantly lied to Ms. Durkin about that on

6/28/17 at 5:42 pm as she committed defamation against me in the process:

       a.     Raquel Lucas of HRA on 4/10/17 at 5:24 pm. That e-mail message served to help

              those who received it to engage in damage-control and intense screening against

              me partly in preparation for my planned attendance on 4/11/17 at the Mayor’s

              public resource fair meeting that he would conduct in Staten Island then. That e-

              mail message was sent after Jeffrey Mosczyc of HRA submitted an illegal ex-

              parte adjournment application on 4/5/17 in my HRA lawsuit through which he

              and Judge Bannon used a fraudulent pretext to flagrantly commit obstruction of

              justice and witness tampering against me as they criminally stole my First

              Amendment and Fourteenth Amendment right to testify as originally scheduled in

              the oral arguments hearing on 4/12/17 in my HRA lawsuit. That damage-control

              and screening was also about a) my fair hearing with OTDA against HRA on

              4/11/17 and b) whistleblowing that I engaged in as I talked with the Mayor on

              3/15/17 during the town hall meeting he conducted and in an e-mail message that

              I sent to Shauna Stribula of the Mayor’s CAU on 3/16/17 at 10:54 pm after I met




                                         Page 78 of 171
her during that 3/15/17 town hall that both Mr. Gartland and Mr. Redmond

attended as well before Mr. Gartland nor any other whistleblower news censor in

journalism reported anything about what I talked with the Mayor about during

that town hall. That e-mail message from Ms. Lucas on 4/10/17 appears on pages

211 and 212 within that PDF file and has redactions applied to it in numerous

areas. Ms. Lucas then worked as a special assistant for Mr. Banks. The subject

line of that e-mail message is: “Staten Island Resource Fair 4/11 Re: Towaki

Komatsu”. The next screenshot from that e-mail message confirms that Ms. Lucas

apprised the recipients of that e-mail message of confidential litigation matters

that were between HRA and I that concerned my 4/11/17 OTDA fair hearing in

violation of applicable privacy laws that include New York State Social Services

Law §136(2) and 18 NYCRR §357:




Also, the fact that e-mail message was sent by Ms. Lucas to the following people

naturally raises a question about what were the specific, credible, legitimate, and

justifiable reasons why 6 senior members of the Mayor’s administration that

included a Harvard Law School graduate paid such special attention to me a) one

day before I would engage in litigation against HRA that was assigned to OTDA,

b) 2 days before I was then scheduled to engage in related litigation against HRA

while presenting oral arguments publicly against HRA in my HRA lawsuit while

the scope of my claims in it were far more extensive and damaging to the Mayor’s

administration and its business partners, and c) one day before I would attend the



                           Page 79 of 171
     Mayor’s 4/11/17 public resource fair meeting outside of which Mr. Banks yet

     again flat-out lied to my face about my efforts to obtain pro-bono legal

     representation or legal assistance from HRA’s legal services partners through

     referrals that I received to them by HRA as he refused to talk with me if I

     recorded that conversation on video:

        i.   Mr. Banks.

       ii.   Marco Carrion, who was then and remains the commissioner of the

             Mayor’s Community Affairs Unit that Defendant Atcheson then worked

             for.

      iii.   Rachel Lauter. According to her career profile on the LinkedIn web site

             that is available on the Internet at https://www.linkedin.com/in/rachel-

             lauter/, she then worked for the Mayor’s office as a Deputy Chief of Staff

             and graduated from Harvard Law School.

      iv.    Kayla Arslanian. She was then the Deputy Director of Intergovernmental

             Affairs within the Mayor’s office.

       v.    Jaclyn Rothenberg. She appears to have been a spokeswoman for the

             Mayor between April of 2017 and May of 2017.

      vi.    Jennifer Yeaw. According to her career profile on the LinkedIn web site

             that is available on the Internet at https://www.linkedin.com/in/jennifer-

             yeaw/, she then worked for the New York City Department of Social

             Services as its Chief of Staff.

b.   Jaclyn Rothenberg on 6/28/17 at 5:18 pm. That e-mail message appears on page

     365 in the 374-page PDF file. Ms. Rothenberg then worked as a spokeswoman for




                                Page 80 of 171
              the Mayor or in a very similar role. The next screenshot is of that e-mail message

              and confirms that it was sent to Defendant Ramos, Mr. Redmond after he illegally

              prevented me from attending the Mayor’s 4/27/17 town hall, Emma Wolfe (the

              Mayor’s Chief of Staff), Marco Carrion, and other senior members of the Mayor’s

              administration. Ms. Rothenberg’s remarks in that e-mail message refer to the oral

              arguments hearing that was conducted on 6/7/17 in my HRA lawsuit to make up

              for the 4/12/17 oral arguments hearing that Judge Bannon and Mr. Mosczyc’s

              criminally stole from me. Ms. Rothenberg also referred to an order to show cause

              application that I served upon HRA on 6/6/17 at its office located at 150

              Greenwich Street in Manhattan. That address is also known as 4 World Trade and

              “4WTC”.




68.    After sending that e-mail message at 5:18 pm on 6/28/17 about me, Ms. Rothenberg sent

another e-mail message on 6/29/17 at 9:43 am that appears on pages 361 and 362 in the 374-page

PDF file, is heavily redacted, and was also about me and town halls as confirmed by the subject

line in both of those e-mail messages. That 6/29/17 9:43 am e-mail message was sent to the

following people:



                                        Page 81 of 171
       Defendant Ramos, Mr. Carrion, Ricky Da Costa, Andrea Hagelgans, Eric Phillips, Mr.
       Redmond, Michael Casca, Kayla Arslanian, Emma Wolfe, Jeff Lynch, and Shauna
       Stribula

69.    I recorded Ms. Stribula on 4/27/17 in the immediate area of where I was near the entrance

to the school that hosted the Mayor’s 4/27/17 town hall as I was being illegally prevented from

entering that school to have to resort to watching how that town hall was conducted on a

television screen in an overflow room instead of within the room in which it was conducted after

I was issued an admission ticket to access that overflow room by a female member of the

Mayor’s staff on 4/27/17 at that site. I recorded Ms. Stribula then largely because I observed her

behaving in a manner that suggested that she was part of a criminal conspiracy that then existed

between Mr. Redmond and Andrew Berkowitz of the Mayor’s NYPD security detail as well as

Harold Miller and Pinny Ringel of the Mayor’s CAU to illegally prevent me from attending that

town hall in violation of a) 18 U.S.C. §245(b)(5), 18 U.S.C. §241, NYPL §240.20, NYPL

§240.26, NYPL §175.25, 5 U.S.C. §1502(a)(1), b) my constitutional rights, and c) other

applicable laws.

70.    On 6/24/17, an eyewitness of mine sent an e-mail message at 4:26 pm to a whistleblower

news censor in journalism named Graham Rayman who works for the New York Daily News

about what that witness and I experienced on 6/8/17 as we tried to lawfully attend the Mayor’s

6/8/17 town hall from within the room in which it was conducted as it was conducted. What

follows shows a) the header section from that e-mail message without the sender’s information

and b) 2 excerpts from the body of that e-mail message. Since I previously agreed to respect that

witness’ privacy, I’m not disclosing the identity nor gender of that witness who then worked for

the New York State Attorney General’s office and I had just met by chance for the first time on

6/8/7. In that e-mail message, “the guard” refers to Defendant Gerola and the “Mayor’s staff




                                         Page 82 of 171
member” refers to Ms. Stribula.

       Subject: Re: Information about police misconduct on 6/8 at Mayor's public town hall
       meeting in Rego Park
       Date: June 24, 2017 at 4:26:20 PM EDT
       To: Towaki Komatsu <towaki_komatsu@yahoo.com>
       Cc: "Rayman, Graham" <grayman@nydailynews.com>

       a.      “I would just like to add that I was allowed to write my question on a card, after
               which the guard told me they would allow me in to ask the question after they
               reviewed it and people emptied the room. As the room emptied, they did not let
               me in saying that the room was full even though we saw empty seats in the TV
               screens. When I asked a Mayor's staff member why they wouldn't let me in, she
               explained it was because I was associated with Towaki and he was a "harasser",
               but did not explain anything else to me.”

       b.      “I just met him that day. I also think maybe they did not let me in because they
               did not like my question which was about police accountability, but I'm not sure
               about that since I know someone else in the room was allowed to ask a question
               about broken windows policing. Also, please keep my name anonymous.
               Thanks.”


71.    Contrary to a fraudulent remark that Ms. Stribula expressed to that witness that appears I

that e-mail message by claiming that I was a “harasser”, I was certainly a whistleblower against

the Mayor’s administration, the NYPD, HRA, Mr. Banks, and HRA’s business partners then

after I had been criminally harassed by members of the Mayor’s NYPD security detail, other

members of the NYPD, members of the Mayor’s staff, HRA, and HRA’s business partners

leading up to that date at public forums and in other ways that enabled me to be viciously

assaulted on 7/2/16. T hat 7/2/16 assault involved me having been brutally punched on my head

near my left temple more than 15 times by my former roommate (Ronald Sullivan) in the living

room of where I reside. That caused me to sustain a concussion that in turn cost me my ability to

perform well during a job interview that I had on 8/18/16 for a job that offered to pay $450 daily.

That assault was enabled by HRA having criminally and jointly subjected me to a bait-and-

switch fraud and forgery with Urban that concerned the binding and fully-enforceable apartment



                                         Page 83 of 171
lease agreement that I signed on 2/16/16 in HRA’s offices located at 33 Beaver Street in

Manhattan with Lisa Lombardi of Urban. I signed that agreement in front of witnesses to be

issued sole possession of apartment 4C in the building in which I reside with no roommate and in

a fully-furnished condition shortly thereafter

72.     Records that HRA has maintained about me and provided to me confirm that HRA

illegally altered that lease agreement within 2 days after I signed it. Urban’s personnel thereafter

issued me a patently invalid and fraudulent lease on or about 3/7/16 that included a photocopy of

the signature page that was from the actual lease that I signed on 2/16/16. While doing so on or

about 3/7/16, Urban’s personnel issued me shared possession of apartment 4B within the

building in which I reside that included a time bomb named Ronald Sullivan as a roommate.

HRA’s records also confirm that I reported that illegal bait-and-switch fraud and forgery to HRA

on 3/16/16 prior to realizing that HRA illegally altered my lease within 2 days after I signed it. I

also met with HRA’s ombudsman’s staff on 3/10/16 in its offices located at 33 Beaver Street

during which I reported that illegal bait-and-switch fraud and forgery. However, HRA illegally

failed to remedy that that illegal bait-and-switch fraud and forgery that it criminally perpetrated

against me.

73.    Prior to assaulting me on 7/2/16 in the living room of our shared apartment, Mr. Sullivan

tried to do precisely that on 5/12/16 in that living room while we were in the immediate presence

of one of Urban’s personnel named Thomas Fair. However, Mr. Fair physically restrained him as

he suddenly rushed toward me to assault me. He tried that right after he had been making verbal

threats to do so in Mr. Fair’s presence. Although I promptly sent cell phone text messages on

5/12/16 to someone Molly McCracken to have her function as an intermediary between Urban

and I to convey my demands to Urban for it to immediately evict Mr. Sullivan because he just




                                          Page 84 of 171
proved that he was a clear threat to my safety where I resided, Ms. McCracken informed me that

my demands were rejected. Ms. McCracken then worked for an organization named Services for

the Services, Inc. (“SUS”) that is a business partner of HRA. On 5/19/16, I had telephone

conversations with Ms. Lombardi and Ronald Abad of Urban to try to persuade them to

immediately evict Mr. Sullivan. They refused. Urban’s personnel were required by applicable

law to immediately notify both HRA and OTDA in response to Mr. Sullivan’s attempted assault

against me on 5/12/16 and his actual assault against me on 7/2/16. His 7/2/16 assault against me

was both foreseeable and preventable by them and Urban. Also, though 18 NYCRR §491.9(c)

prohibited Mr. Sullivan from residing in the building in which I reside without OTDA’s approval

because of the threat that he posed to my comfort and safety in it, he was able to do so even after

he viciously assaulted me on 7/2/16 until I was finally issued an order of protection against him

on or about 10/6/6 by the Bronx District Attorney’s office. In fact, the NYPD unconscionably

released Mr. Sullivan on 7/11/16 after arresting him then for having assaulted me on 7/2/16

where I reside.

74.    To wrap up this discussion of Mr. Sullivan, the Bronx District Attorney’s office engaged

in prosecutorial misconduct as it prosecuted Mr. Sullivan for assaulting me on 7/2/16. It did so

by not presenting any witness other than me in that case in spite of the fact that Mr. Sullivan

made incriminating remarks to another tenant on 7/2/16 in the building I which I reside as Mr.

Sullivan fled from the building in which I reside. Mr. Sullivan told that witness that he had just

assaulted me in our apartment and described how he did so. The Bronx District Attorney’s office

also engaged in misconduct by not pursuing an appeal as far as it could have of the arbitrary and

capricious ruling that Bronx Criminal Court Judge Cori Weston issued in the criminal case

against Mr. Sullivan for assaulting me on 7/2/16. That ruling suppressed information from an




                                          Page 85 of 171
admissible security log that was maintained by Urban’s personnel who worked inside of the

building in which I reside. Information in that log included remarks by Urban’s personnel on

7/2/16 about the fact that they observed Mr. Sullivan appearing angry as he fled from the

building in which he had just assaulted me. The Mayor appointed Cori Weston as a judge. Due to

what I just discussed, Mr. Sullivan was fraudulently found not guilty by Judge Weston in

February of 2017. Johnson v. NYC HEALTH & HOSPS, 246 A.D.2d 88, 676 N.Y.S.2d 38, 676

N.Y.S. 38 (App. Div. 1998) established a precedent that confirmed that security logs are

admissible evidence in criminal cases.

75.    What follows shows e-mail messages that I sent to and received from Graham Rayman

on 6/28/17 that concerned a news article that he claimed he was working on that would be about

my having been illegally prevented from attending public town hall and public resource fair

meetings that the Mayor conducted with others since 4/27/17. Nothing was ever reported about

that by him nor anyone else who then worked for the New York Daily News in spite of the fact

that an eyewitness confirmed to him that it had occurred on 6/8/17 and Jessica Ramos confirmed

to Ms. Durkin on 6/28/17 that it had occurred as she lied to Ms. Durkin about why it occurred.

Mr. Rayman was then working with Ms. Durkin about that possible news article. Also, nothing

was ever reported about that in spite of the fact that a photojournalist for the New York Daily

News named Jefferson Siegel took photographs of me in front of the NYPD’s headquarters for

the news article that Mr. Rayman expressed to me that he was working on.

       From: "Rayman, Graham" <grayman@nydailynews.com>
       Subject: Re: My RSVP for 5/23 Bronx Resource Fair!
       Date: June 28, 2017 at 6:16:01 PM EDT
       To: Towaki_Komatsu <towaki_komatsu@yahoo.com>


       Ok thanks. Will continue working on it tomorrow.



                                         Page 86 of 171
       Sent from my iPhone

       On Jun 28, 2017, at 6:09 PM, Towaki_Komatsu <towaki_komatsu@yahoo.com> wrote:

       By the way, I've got a video of NYPD Officer Gerola telling me on 4/27 after 10 pm that
       it was the Mayor's staff that was responsible for having kept me out of that event.
       Unfortunately, my phone was pointed at the ground as I accidentally recorded that video.
       Also, I then talked with both Nic Gulotta and Harold Miller of his staff to try to get an
       explanation about why I had been discriminated against by Redmond on 4/27. I met
       Harold Miller on 4/11 in Staten Island's Borough Hall after Mr. Banks lied to me outside
       that building.

       On Jun 28, 2017, at 5:41 PM, Rayman, Graham <grayman@nydailynews.com> wrote:


       Was it the resource fair you were barred from, or the mayor's Bronx town hall? Those
       were two separate events.


76.    Similarly, what follows shows an e-mail message that I received from Mr. Gartland on

7/16/17 at 3:31 pm as well as an e-mail message that I sent to him on that date at 3:26 pm. Mr.

Gartland clearly expressed to me then that the New York Post was planning to issue a news

report about my having been illegally barred from public forums since 4/27/17 that the Mayor

and others had been conducting. However, neither he nor anyone else who then worked for the

New York Post ever reported anything about that and wasted my time instead while proving to

be useless.

       From: Michael Gartland <mgartland@nypost.com>
       Subject: Re: 4-27-17 audio clip of NYPD Officer Gerola (badge #: 6577) proving Jessica
       Ramos lied to Jill Jorgensen
       Date: July 16, 2017 at 3:31:27 PM EDT
       To: Towaki_Komatsu <towaki_komatsu@yahoo.com>

       We're planning a story for tomorrow. Pls keep your cell handy.


       On Jul 16, 2017, at 3:26 PM, Towaki_Komatsu <towaki_komatsu@yahoo.com> wrote:

       Hi Michael,


                                         Page 87 of 171
       As discussed, attached is a video recording I accidentally recorded on 4-27-17 while
       talking with NYPD Officer Gerola at about 10:20 pm right outside of the school in Long
       Island City that hosted the Mayor’s town hall on that date.



       Although Mr. Gerola isn’t seen in the video (except for his shoes and leg) because I
       didn’t mean to be recording, he can be heard in it clearly expressing that the Mayor’s
       staff controls who is allowed to attend his town halls. That remark directly contradicts
       Jessica Ramos’ remark in Jill Jorgensen’s article I shared with you.

       Also, the video clip is part of a longer recording I made shortly after I was shoved 3 times
       in the chest by NYPD Officer Beato (badge #: 13326) of the 108th Precinct. Prior to
       shoving me, he illegally ordered me to move from where I legally stood on the sidewalk
       adjacent to that school in order to ask the Mayor from a sufficient distance away what he
       was willing to do about the fact that the head of his security detail (Howard Redmond)
       illegally subjected me to viewpoint discrimination by not letting me attend that town hall.

       Since I was standing roughly 45 feet away from where the Mayor later left that building
       to ask him this question before Mr. Beato shoved me and Mr. Gerola let me stand within
       roughly 15 feet of him on April 11th in Staten Island, it was entirely clear I had a legal
       right to remain where I stood on the sidewalk to ask the Mayor my question.

       People who witnessed Mr. Beato shoving me were Lieutenant Nieves, a 2nd ordinary
       NYPD officer, and Mr. Gerola.

       Regards,

       Towaki

       Tel: 201-315-5484


77.    What I have discussed above about whistleblowing and litigation I engaged in were

among other things that I intended to engage in protected whistleblowing and political speech

and expression about that were of public concern while attending the Mayor’s 9/14/17 town hall

partly to try to prevent others from suffering similar hardships largely by trying to have those

responsible for them to be immediately fired and criminally prosecuted.

78. Defendant Ramos communicated fraudulent pretexts to Ms. Durkin about why I was illegally




                                          Page 88 of 171
      barred partly by members of the Mayor’s NYPD security detail from attending public forums

      that the Mayor conducted with others since 4/27/17 as she pointed out to Ms. Durkin in an e-

      mail message that she sent to her on 6/28/17 at 3:27 pm that appears on pages 369 and 370 in

      the 374-page PDF file that I would continue to be illegally barred from attending public town

      hall meetings that the Mayor conducted with others with respect to my ability to attend them

      from within the rooms in which they would be conducted as they were conducted. A relevant

      excerpt from that e-mail message in which Ms. Ramos stupidly and blatantly lied by

      claiming that I never registered (“RSVP’d) to attend a town hall that the Mayor conducted

      appears next. That practice indisputably was illegal “pre-emptive censorship” and a prior

      restraint against my constitutional rights.




79.      The use of such fraudulent pretexts by despicable criminals that include Defendant

Ramos, members of the NYPD, and others to violate the constitutional rights of members of the

public that include members of the press relates to why the decisions that were issued in Karem

v. Trump, No. 19 Civ. 2514 (D.D.C. Sep. 3, 2019), Cable News Network, Inc. v. Trump, No. 18



                                             Page 89 of 171
Civ. 2610 (D.D.C. Nov. 16, 2018), and Nicholas v. Bratton, No. 15-CV-9592 (JPO) (S.D.N.Y.

May 23, 2019). Those court decisions concerned fraudulent pretexts that were employed by the

White House and NYPD to violate the First Amendment, Fifth Amendment, and Fourteenth

Amendment rights of journalists named Brian Karem, Jim Acosta, and Jason Nicholas in regards

to their ability to use press credentials partly to gain access to meetings conducted by despicable

government officials who a) disavow civil rights, b) benefit from voter fraud and voter

suppression and c) are devoid of values and integrity. Ultimately, Donald Trump, the White

House, and the NYPD lost and otherwise relented in response to those lawsuits by returning

press credentials to Mr. Karem, Mr. Acosta, and Mr. Nicholas. Press credentials are functionally

equivalent to admission tickets that are issued to members of the public that grant them access to

town hall meetings that the Mayor conducts within the rooms in which they’re conducted. In

particular, findings in Nicholas v. Bratton, No. 15-CV-9592 (JPO) (S.D.N.Y. Feb. 27, 2017) is

quite pertinent because it discusses both a fraudulent pretext that the NYPD used against Mr.

Nicholas and his contention that that practice amounted to “pre-emptive censorship” against him.


            LEGAL STANDARDS AND ADDITIONAL BACKGROUND FACTS

1. I incorporate by reference the statements that I made in all of the preceding paragraphs as

     though fully set forth herein.

2.      The following excerpts from Brown v. Board of Regents of University of Nebraska, 640

F. Supp. 674 (D. Neb. 1986) and Nichols v. Hager, No. 3: 04-CV-0559-LRH-LRL (D. Nev. Aug.

1, 2012) confirm that I had a First Amendment right to have attended the Mayor’s 9/14/17 town

hall from within the room in which it was conducted shortly before it began, as it was conducted,

and shortly after it ended:

        Brown v. Board of Regents of University of Nebraska:



                                          Page 90 of 171
       “The First Amendment not only safeguards free speech and press, but public places for
       purposes of expressive activity. A constitutional right of access to a public forum is
       guaranteed to all.”

       Nichols v. Hager, No. 3: 04-CV-0559-LRH-LRL (D. Nev. Aug. 1, 2012):

       “Nichols has thus shown sufficient evidence that her constitutional right to attend a
       public meeting was violated.”

3.     To honor Ruth Bader Ginsburg’s legacy in the wake of her having recently passed away,

I’ll next discuss remarks that she and former fellow U.S. Supreme Court Justice Antonin Scalia

made on 4/17/14 about what the First Amendment stands for as both of them were being

interviewed by a journalist. Their remarks during that interview are shown and heard in a video

recording on C-Span’s web site in a report that is entitled, “Justices Scalia and Ginsburg on the

First Amendment and Freedom”. That report and video recording is available on the Internet at

https://www.c-span.org/video/?318884-1/conversation-justices-scalia-ginsburg-2014. At the

elapsed time of 9 minutes and 57 seconds in that video, Justice Ginsburg made the following

remarks about the First Amendment:

       “This says, “Congress shall make no law abridging the freedom of speech or of the press”
       so it’s…it’s directed to government and it says, “Government, hands off. These rights
       already exist and you must not touch them.””

4.     The next screenshot is from that video and shows Justice Ginsburg as she made the

preceding remarks:




                                          Page 91 of 171
5.    At the elapsed time of 19 minutes and 6 seconds in that video, Justice Scalia made the

following remarks about the First Amendment:

      “I think if you had to pick…and you probably shouldn’t have to….but if you had to pick
      one freedom that was…that is the most essential to the, uh…functioning of a democracy,
      it has to be freedom of speech because democracy means persuading one another and
      uh…and then ultimately voting and the majority…the majority rules. You can’t run such
      a system if uh…if if …there is uh…muzzling of uh…one point of view. So, it’s a
      fundamental freedom in a democracy…much more necessary in a democracy than in any
      other system of government. I guess you could run an effective monarchy without
      freedom of speech. I don’t think you could run an effective democracy without it.”


6.    The next screenshot is from that video and shows Justice Scalia as he made the preceding

remarks:




                                       Page 92 of 171
7.     The discussion that follows addresses critically significant remarks that former Second

Circuit Judge Christopher Droney stated on 3/26/19 during the oral arguments hearing that was

conducted in Knight First Amendment Inst. Columbia v. Trump, 928 F.3d 226 (2d Cir. 2019) as

he was recorded on video while making them. Athough the findings that were expressed in the

written decisions that were issued in Knight First Amendment Inst. Columbia v. Trump, 928 F.3d

226 (2d Cir. 2019) and Knight First Amendment Institute v. Trump, 302 F. Supp. 3d 541

(S.D.N.Y. 2018) focused on public forums that exist through the use of Twitter, much of what

was discussed during the oral arguments hearings in those cases addressed public forums that are

conducted in the physical world that include town hall meetings that are conducted inside of

schools. In fact, Knight First Amendment Inst. Columbia v. Trump, 928 F.3d 226 (2d Cir. 2020)

confirmed that people have and have had a legal right to attend public forums that occur in the

real world apart from Twitter and other social media platforms. The following are a pair of

relevant excerpts from that decision:



                                         Page 93 of 171
        a. "A simple analogy to physical public fora makes it clear that the distinction between a
           tweet and its interactive space is appropriate: at a town hall meeting held by public
           officials, statements made by the officials are protected government speech. If,
           however, public comment is allowed at the gathering—as it is on any tweet
           posted to the Account—the officials may not preclude persons from
           participating in the debate based on their viewpoints. Significantly, that
           discrimination is impermissible even when the public forum is limited and is “of [the
           State’s] own creation.” Rosenberger v. Rector and Visitors of University of Virginia,
           515 U.S. 819, 829 (1995); see also Perry Educ. Ass’n v. Perry Local Educators’
           Ass’n, 460 U.S. 37, 45 (1983) (“The Constitution forbids a state to enforce certain
           exclusions from a forum generally open to the public even if it was not required to
           create the forum in the first place”)."

                       (boldface formatting added for emphasis)

        b. "Excluding people from an otherwise public forum such as this by blocking those
           who express views critical of a public official is, we concluded, unconstitutional
           viewpoint discrimination."

8.      The Second Circuit’s decision in Knight First Amendment Inst. Columbia v. Trump, 928

F.3d 226 (2d Cir. 2020) was based upon the earlier decision that it issued in it as well as the

decision that U.S. District Judge Norma Reice Buchwald issued in it at the district court level.

The term “town hall” appears no less than 11 times in the written transcript that was prepared

from the oral hearing that Judge Buchwald conducted on 3/8/18 in Knight First Amendment

Institute v. Trump, 302 F. Supp. 3d 541 (S.D.N.Y. 2018) before she issued her 5/23/18 decision

in that case.

9.      The discussion that follows addresses the oral arguments hearing that the Second Circuit

conducted on 3/26/19 in Knight First Amendment Inst. Columbia v. Trump, 928 F.3d 226 (2d

Cir. 2019) as C-Span recorded that hearing on video. That video recording has accurate closed-

captioning available for its playback and is available on the Internet at https://www.c-

span.org/video/?459092-1/circuit-hears-oral-argument-presidents-twitter-account-case. The

following remark that former Second Circuit Judge Christopher Droney made about First

Amendment rights in public forums that exist in such places as streets, sidewalks, and parks



                                          Page 94 of 171
instead of the Internet during that oral arguments hearing was recorded at the elapsed time of 13

minutes and 2 seconds in that video:

       “For the First Amendment, it doesn’t really have to be much more burdensome. If it’s
       more burdensome at all, if you have to move down the street, that violates the First
       Amendment.”

10.    What follows are 4 screenshots from that video as I played it back with closed-captioning

turned on that show Judge Droney as he made the remarks that correspond to the preceding

excerpt and is otherwise heard making them as the video camera that recorded that hearing

turned away from him as he made those remarks. Those screenshots and Judge Droney’s

statements during that hearing that apply to them, the First Amendment, public forums, and

being coerced to move down the street in regards to efforts that are taken to lawfully attend

public forums from within the rooms in which they are conducted as they are conducted confirm

that defendants in this action illegally prevented me from attending the Mayor’s 9/14/17 town

hall as they subjected me to illegal segregation and discrimination in violation of my rights

pursuant to the First Amendment, Fourth Amendment, Fifth Amendment, Fourteenth

Amendment, New York State’s Open Meetings Law, and other applicable laws in relation to my

efforts to lawfully attend the Mayor’s 9/14/17 town hall. One of the ways that they did so was by

having illegally coerced me to move away from where I was lawfully waiting in a line with other

members of the public on 9/14/17 to be granted access to the public school that hosted the

Mayor’s 9/14/17 town hall to attend that town hall from within the room in which it was

conducted. I recall having arrived to the site of that town hall on 9/14/17 sufficiently early and

prior to 6:15 pm that enabled me to wait near the front of that line for that purpose before that

town hall began.




                                          Page 95 of 171
Page 96 of 171
11.    Prior to becoming a judge of the Second Circuit, Denny Chin was the U.S. District Judge

who issued the decision in Million Youth March, Inc. v. Safir, 63 F. Supp. 2d 381 (S.D.N.Y.

1999) that was commenced in response to decisions that were made by the Mayor’s CAU in

relation to demonstrators who sought to exercise their First Amendment rights in a public forum

in New York City. Judge Chin addressed standard discretion to violate First Amendment rights

and viewpoint discrimination in that decision. That decision was issued more than 20 years

before members of the Mayor’s CAU that is comprised of both members of the NYPD and

members of the Mayor’s office resumed committing flagrantly illegal acts and omissions as they


                                        Page 97 of 171
did so against me on and after long after 4/27/17 that violated my constitutional rights and other

applicable laws in relation to my efforts to lawfully attend public town hall and public resource

fair meetings within the rooms in which they were conducted as they were conducted that

members of the public conducted in a collaborative manner with the Mayor, Mr. Banks, and

other City of New York and State of New York personnel as public forums. The following is a

relevant excerpt from that decision about illegal prior restraints that were imposed on those

demonstrators that led to them being granted an injunction against the NYPD to allow them to

exercise their constitutional rights in a public forum:

       “The right to free speech, however, applies not only to politically correct statements but
       also to statements that we may disagree with and that, indeed, we may abhor. At least as
       frightening as the rhetoric of Mr. Muhammad is the possibility of a society where
       freedom of speech is not respected, and where the right to speak publicly can be denied
       on the basis of administrative whim, personal dislike, or disapproval of anticipated
       content.”

       MYM's motion for a preliminary injunction is granted to the extent ordered by the
       Second Circuit last year in Million Youth March, Inc. v. Safir, 155 F.3d 124, 126 (2d
       Cir.1998).”

12.    The following is a relevant excerpt from the related decision that the Second Circuit

issued in Million Youth March, Inc. v. Safir, 155 F.3d 124 (2d Cir. 1998) in which it also briefly

addressed standardless discretion to violate First Amendment rights.

           In granting the injunction, the District Court properly recognized that "any permit
           scheme controlling the time, place, and manner of speech must not be based on the
           content of the message, must be narrowly tailored to serve a significant governmental
           interest, and must leave open ample alternatives for communication." Forsyth County
           v. Nationalist Movement, 505 U.S. 123, 130, 112 S.Ct. 2395, 120 L.Ed.2d 101 (1992).
           The District Court found as a fact that the City denied the plaintiff's application in the
           exercise of authority pursuant either to the so-called "Activity Rules" of the Street
           Activity Permit Office of the Community Affairs Unit of the Office of the Mayor or a
           combination of the Activity Rules and the parade permit rules of Section 10-110 of
           the New York City Administrative Code. The Court also concluded that the Activity
           Rules accorded administrators unfettered discretion contrary to well established First
           Amendment limitations. See Shuttlesworth v. City of Birmingham, 394 U.S. 147, 89
           S.Ct. 935, 22 L.Ed.2d 162 (1969). Since the City's denial was issued by the



                                           Page 98 of 171
           Community Affairs Unit, without any reference to Section 10-110, the record plainly
           supports the finding that the Activity Rules were either the exclusive authority
           invoked for the denial of the application or at least a substantial part of such authority.
           At this stage of the litigation, we have no basis to question the Court's conclusion that
           the standardless nature of the Activity Rules rendered the denial a violation of the
           First Amendment.

13.    Kittay v. Giuliani, 112 F. Supp. 2d 342 (S.D.N.Y. 2000) explicitly states “that individuals

have a right to communicate directly to government officials”. Acts and omissions that are

committed by government personnel that prevent people from attending public forums by being

in the same room as government officials with whom they then seek to exercise their rights

pursuant to the First Amendment and Fourteenth Amendment to “communicate directly to

government officials” directly violates this finding from Kittay v. Giuliani because such illegal

prior restraints on First Amendment rights of peaceable assembly, expressive association, speech

and other forms of expression, petitioning for redress, and receiving information illegally block

direct communication with government officials by those who are barred from such rooms.

14.    Citizens United v. Schneiderman, 203 F. Supp. 3d 397 (S.D.N.Y. 2016) addressed illegal

prior restraints on First Amendment rights as follows:

       “A prior restraint on speech violates the First Amendment if it places "unbridled
       discretion in the hands of a government official or agency." City of Lakewood v. Plain
       Dealer Pub. Co., 486 U.S. 750, 757, 108 S.Ct. 2138, 100 L.Ed.2d 771 (1988).”

15.    In Elrod v. Burns, 427 U.S. 347, 96 S. Ct. 2673, 49 L. Ed. 2d 547 (1976), the U.S.

Supreme Court stated that the "loss of First Amendment freedoms, for even minimal periods of

time, unquestionably constitutes irreparable injury”.

16.    The following excerpt from Hartman v. Moore, 547 U.S. 250, 126 S. Ct. 1695, 164 L.

Ed. 2d 441 (2006) confirms that government personnel are prohibited from subjecting people to

reprisals in response to protected conduct:

           “Official reprisal for protected speech "offends the Constitution [because] it threatens



                                          Page 99 of 171
            to inhibit exercise of the protected right," Crawford-El v. Britton, 523 U. S. 574, 588,
            n. 10 (1998), and the law is settled that as a general matter the First Amendment
            prohibits government officials from subjecting an individual to retaliatory actions,
            including criminal prosecutions, for speaking out, id., at 592; see also Perry v.
            Sindermann, 408 U. S. 593, 597 (1972) (noting that the government may not punish a
            person or deprive him of a benefit on the basis of his "constitutionally protected
            speech"). Some official actions adverse to such a speaker might well be
            unexceptionable if taken on other grounds, but when nonretaliatory grounds are in
            fact insufficient to provoke the adverse consequences, we have held that retaliation is
            subject to recovery as the but-for cause of official action offending the Constitution.
            See Crawford-El, supra, at 593; Mt. Healthy City Bd. of Ed. v. Doyle, 429 U. S. 274,
            283-284 (1977)”

17.    Findings in Piesco v. City of New York, Dept. of Personnel, 933 F.2d 1149 (2d Cir. 1991)

and Hampton Bays Connections, Inc. v. Duffy, 127 F. Supp. 2d 364 (E.D.N.Y. 2001) explicitly

confirm that all of the following are constitutionally protected activities:

       a.      Commencing Article 78 proceedings and attending public meetings and hearings.

       b.      Circulating a petition.

       c.      Testifying to a government body while engaging in a free discussion of

               governmental affairs that was partly about the manner in which government

               should be operated instead of how it was being operated.

       d.      Appealing a decision by a city agency.

       e.      Petitioning for government reforms.

       f.      Appealing the denial of public assistance benefits.

18.    The following excerpt from Reno v. American Civil Liberties Union, 521 U.S. 844, 117

S. Ct. 2329, 138 L. Ed. 2d 874 (1997) relates to how protected speech of public concern that I

engaged in and sought to continue to engage in against the Mayor, Mr. Banks, HRA, HRA’s

business partners that include Urban and NTT, the Mayor’s NYPD security detail, other

members of the NYPD, other government personnel, whistleblower news censors in journalism,

OTDA, Judge Bannon and other judges, New York State court officers could be amplified by



                                          Page 100 of 171
having me attend public forums that the Mayor and other government officials conducted on and

after 3/15/17 while they were recorded on video that was broadcast over the Internet, attended by

members of the public who took photographs and recorded video recordings while doing so and

otherwise reported about what was discussed during them, and attended by members of the press

who reported about matters that were discussed during them:

      “Through the use of chat rooms, any person with a phone line can become a town crier with a
      voice that resonates farther than it could from any soapbox. Through the use of Web pages,
      mail exploders, and newsgroups, the same individual can become a pamphleteer. As the
      District Court found, "the content on the Internet is as diverse as human thought." 929 F.
      Supp., at 842 (finding 74). We agree with its conclusion that our cases provide no basis for
      qualifying the level of First Amendment scrutiny that should be applied to this medium.”

19.      The following are relevant excerpts from Piesco v. City of New York, Dept. of Personnel

that underscore what I have discussed above:

         a.      A statement that is made about the competency of a police officer “clearly is a
                 matter of public concern” because “the police officer represents the most basic
                 unit of government, one which arguably most affects the day-to-day lives of the
                 citizenry”.

         b.      "Whatever differences may exist about interpretations of the First Amendment,
                 there is practically universal agreement that a major purpose of that Amendment
                 was to protect the free discussion of governmental affairs. This of course includes
                 discussions of candidates, structures and forms of government, the manner in
                 which government is operated or should be operated, and all such matters relating
                 to political processes."

         c.      “The Supreme Court has recognized that one of the critical purposes of the first
                 amendment is to provide society with a basis to make informed decisions about
                 the government.”

         d.      The “first amendment guarantees that debate on public issues is "`uninhibited,
                 robust, and wide open'".

         e.      Speech "on matters of public concern is that speech which lies `at the heart of the
                 First Amendment's protection'".

         f.      “A court is required to accept as true a plaintiff’s allegation that retaliatory actions
                 by the City of New York were precipitated by prior testimony he or she gave to a
                 committee.”



                                            Page 101 of 171
          g.      "Without a searching inquiry into these motives, those intent on punishing the
                  exercise of constitutional rights could easily mask their behavior behind a
                  complex web of post hoc rationalizations."

          h.      Summary “judgment is inappropriate when `questions of motive predominate in
                  the inquiry about how big a role” “protected behavior played in” causing an
                  adverse action to occur.

20.       The following excerpt from McCutcheon v. Federal Election Com'n, 134 S. Ct. 1434, 572

U.S. 185, 188 L. Ed. 2d 468 (2014) also addresses illegal prior restraints on First Amendment

rights:

          a.      “The First Amendment "is designed and intended to remove governmental
                  restraints from the arena of public discussion, putting the decision as to what
                  views shall be voiced largely into the hands of each of us, ... in the belief that no
                  other approach would comport with the premise of individual dignity and choice
                  upon which our political system rests." Cohen v. California, 403 U.S. 15, 24, 91
                  S.Ct. 1780, 29 L.Ed.2d 284 (1971). As relevant here, the First Amendment
                  safeguards an individual's right to participate in the public debate through political
                  expression and political association. See Buckley, 424 U.S., at 15, 96 S.Ct. 612.”

          b.      “First Amendment rights are important regardless whether the individual is, on
                  the one hand, a "lone pamphleteer[] or street corner orator[] in the Tom Paine
                  mold," or is, on the other, someone who spends "substantial amounts of money in
                  order to communicate [his] political ideas through sophisticated" means. National
                  Conservative Political Action Comm., 470 U.S., at 493, 105 S.Ct. 1459. Either
                  way, he is participating in an electoral debate that we have recognized is "integral
                  to the operation of the system of government established by our
                  Constitution." Buckley, supra, at 14, 96 S.Ct. 612.”

21.       The following excerpt from New York Times Co. v. United States, 403 U.S. 713, 91 S. Ct.

2140, 29 L. Ed. 2d 822 (1971) addresses illegal prior restraints on First Amendment rights:

               "Any system of prior restraints of expression comes to this Court bearing a heavy
               presumption against its constitutional validity." Bantam Books, Inc. v. Sullivan, 372
               U. S. 58, 70 (1963); see also Near v. Minnesota, 283 U. S. 697 (1931). The
               Government "thus carries a heavy burden of showing justification for the imposition
               of such a restraint." Organization for a Better Austin v. Keefe, 402 U. S. 415, 419
               (1971). The District Court for the Southern District of New York in the New York
               Times case and the District Court for the District of Columbia and the Court of
               Appeals for the District of Columbia Circuit in the Washington Post case held that the
               Government had not met that burden. We agree.”



                                            Page 102 of 171
22.    The following is a relevant excerpt from Doe v. City of New York, No. 18-cv-670

(ARR)(JO) (E.D.N.Y. Jan. 9, 2020) that confirms that I had a First Amendment right to criticize

all government personnel who were at the site of the Mayor’s 9/14/17 town hall without being

retaliated against for doing so:

       ""[t]he right to criticize public officials is at the heart of the First Amendment's right of
       free speech." Kaluczky v. City of White Plains, 57 F.3d 202, 210 (2d Cir. 1995) (citing
       N.Y. Times Co. v. Sullivan, 376 U.S. 254, 282 (1964)). Indeed, the "right to criticize the
       police without reprisal" is "clearly" an "interest protected by the First Amendment,"
       Kerman v. City of New York, 261 F.3d 229, 241-42 (2d Cir. 2001), as "[t]he First
       Amendment protects a significant amount of verbal criticism and challenge directed at
       police officers[,]" id. at 242 (quoting City of Houston v. Hill, 482 U.S. 451, 461 (1987)).
       Thus, on summary judgment, the Second Circuit has held that a plaintiff established a
       First Amendment retaliation claim when he proffered facts showing that police officers
       retaliated against him for making derogatory comments to the officers and for threatening
       to sue them. Kerman, 261 F.3d at 241-42.[3]"”

23.    The following excerpt from Puckett v. City of Glen Cove, 631 F. Supp. 2d 226 (E.D.N.Y.

2009) reinforces the preceding findings from Doe v. City of New York:

           “Plaintiff must first allege that she engaged in protected activity to state a First
           Amendment claim of retaliation. The First Amendment protects the right of access to
           the courts, and an individual's right to complain to public officials. Lewis v. Casey,
           518 U.S. 343, 350, 116 S.Ct. 2174, 135 L.Ed.2d 606 (1996) (right of access); Monsky
           v. Moraghan, 127 F.3d 243, 246 (2d Cir.1997) (right of access); Patriots Way, LLC v.
           Marconi, 2007 WL 988712 *4 (D.Conn.2007); see Colondres v. Scoppetta, 290
           F.Supp.2d 376, 381 (E.D.N.Y.2003) (right of access is "bound up" with the First
           Amendment right to petition the government); Gagliardi, 18 F.3d at 194-95 (right to
           complain to public officials protected by First Amendment). These First Amendment
           rights include the right to be free from retaliation for their exercise. Colondres, 290
           F.Supp.2d at 382; see Patriots Way, 2007 WL 988712 *6.”

24.    Hershey v. Kansas City Kansas Community College, No. 2: 16-cv-2251-JTM (D. Kan.

Feb. 17, 2017) includes the following findings about standardless discretion that is used to

violate constitutional rights at public forums and confirms that those who are denied access to a

public forum in violation of their constitutional rights as a result of standardless discretion aren’t

required to establish that he or she was discriminated against in that way because of the content



                                          Page 103 of 171
of his or her expression with respect to the First Amendment:

       “Because plaintiff has alleged that access to the public forum is based on "standardless
       discretion" of College officials, he need not show that he was discriminated against based
       on the content of his materials. "A government regulation that allows arbitrary
       application is `inherently inconsistent with a valid time, place, and manner
       regulation because such discretion has the potential for becoming a means of
       suppressing a particular point of view.'" Forsyth Cty., Ga. v. Nationalist
       Movement, 505 U.S. 123, 130 (1992)”

       (boldface formatting added for emphasis)

25.    Hopper v. City of Pasco, 241 F.3d 1067 (9th Cir. 2001) also addresses standardless

discretion as follows:

       “Courts have also been reluctant to accept policies based on subjective or overly general
       criteria. "`[S]tandards for inclusion and exclusion' in a limited public forum `must be
       unambiguous and definite' if the `concept of a designated public forum is to retain any
       vitality whatever.'" Christ's Bride, 148 F.3d at 251 (quoting Gregoire v. Centennial Sch.
       Distr., 907 F.2d 1366, 1375 (3d Cir.1990)). Absent objective standards, government
       officials may use their discretion to interpret the policy as a pretext for censorship.
       See Board of Educ. v. Mergens, 496 U.S. 226, 244-45, 110 S.Ct. 2356, 110 L.Ed.2d 191
       (1990) (generalized definition of permissible content poses risk of arbitrary
       application); Putnam Pit, Inc. v. City of Cookeville, 221 F.3d 834, 845-46 (6th Cir.2000)
       ("broad discretion [given] to city officials [raises] possibility of discriminatory
       application of the policy based on viewpoint"); Cinevision Corp. v. City of Burbank, 745
       F.2d at 560 (9th Cir.1984) (vague standard has "potential for abuse"); Gregoire, 907 F.2d
       at 1374-75 ("virtually unlimited discretion" granted to city officials raises danger of
       arbitrary application); see also City of Lakewood v. Plain Dealer Publ. Co., 486 U.S. 750,
       758-59, 108 S.Ct. 2138, 100 L.Ed.2d 771 (1988) (absence of express standards in
       licensing context raises dual threat of biased administration of policy and self-censorship
       by licensees). Therefore, "the more subjective the standard used, the more likely that the
       category will not meet the requirements of the first amendment." Cinevision, 745 F.2d at
       575; see also Christ's Bride, 148 F.3d at 251 (suppression of speech under defective
       standard requires closer scrutiny).”

26.    In Matal v. Tam, 137 S. Ct. 1744, 582 U.S., 198 L. Ed. 2d 366 (2017), the U.S. Supreme

Court stated the following about viewpoint discrimination:

       “Giving offense is a viewpoint. The "public expression of ideas may not be prohibited
       merely because the ideas are themselves offensive to some of their hearers." Street v.
       New York, 394 U.S. 576, 592, 89 S.Ct. 1354, 22 L.Ed.2d 572. Pp. 1761-1764.

27.    On a related note, the following findings that the Second Circuit issued in Ragbir v.



                                        Page 104 of 171
Homan, 923 F.3d 53 (2d Cir. 2019) address viewpoint discrimination and acts committed by

government personnel against a leading activist named Ravidath Ragbir in retaliation for efforts

that he undertook to try to attract news coverage against ICE:

               “"It is a fundamental principle of the First Amendment that the government may
               not punish or suppress speech based on disapproval of the ideas or perspectives
               the speech conveys." Matal v. Tam, ___ U.S. ___, 137 S.Ct. 1744, 1765, 198
               L.Ed.2d 366 (2017). "Such discriminat[ion] based on viewpoint is an `egregious
               form of content discrimination,' which is `presumptively unconstitutional.'"[24]
               Id. at 1766 (quoting Rosenberger v. Rector & Visitors of Univ. of Va., 515 U.S.
               819, 829-30, 115 S.Ct. 2510, 132 L.Ed.2d 700 (1995)). The Supreme Court has
               further described viewpoint discrimination as a "blatant" "violation of the First
               Amendment." Rosenberger, 515 U.S. at 829, 115 S.Ct. 2510.

               Ragbir's plausible allegations and evidence, which we must accept as true at this
               juncture, support that the Government singled him out for deportation based not
               only on the viewpoint of his political speech, but on the public attention it
               received. In a declaration by Micah Bucey, a New York City minister, Bucey
               asserts that ICE's New York City Field Office Director, Scott Mechkowski, stated
               that Ragbir and Jean Montrevil were ICE's two most prominent cases in New
               York City and complained that the activists' protests and comments to the press
               negatively portrayed ICE to the public and to others in the Government.
               According to Bucey, Mechkowski stated: "Nobody gets beat up in the news more
               than we do, every single day. It's all over the place, ... how we're the Nazi squad,
               we have no compassion." App'x 252. Mechkowski then stated that he had heard
               Ragbir's New Sanctuary cofounder Montrevil (whom ICE had also just detained)
               "ma[ke] some very harsh statements. I'm like, `Jean, from me to you... you don't
               want to make matters worse by saying things." App'x 252 (emphasis added).
               Mechkowski then turned to Ragbir specifically, stating that it "bother[ed]" him
               that "there isn't anybody in this entire building that doesn't ... know about Ravi."
               App'x 253. "Everybody knows this case," Mechkowski stated, "[n]o matter where
               you go." App'x 253. Ragbir's counsel Alina Das also submitted a declaration
               stating that she spoke with Mechkowski, who expressed "resentment" about the
               events of the March 9, 2017 check-in and disapprovingly mentioned that he had
               heard Ragbir's statements to the press. App'x 55-56, 123.

               A plausible, clear inference is drawn that Ragbir's public expression of his
               criticism, and its prominence, played a significant role in the recent attempts to
               remove him.”

28.    The following are a pair of excerpts from Elrod v Burns, 427 US 347 (1976) about First

       Amendment rights that include the right to lawfully assemble in a public forum that




                                         Page 105 of 171
        include town hall meetings, public resource fair meetings, and public hearings:

        a.     “The loss of First Amendment freedoms, for even minimal periods of time,
               unquestionably constitutes irreparable injury.”

        b.     “The timeliness of political speech is particularly important. See Carroll v.
               Princess Anne, 393 U. S. 175, 182 (1968); Wood v. Georgia, 370 U. S. 375, 391-
               392 (1962).”

29.     The following is a relevant excerpt from Walsh v. Enge, 154 F. Supp. 3d 1113 (D. Or.

2015) that makes it clear that the judge who issued it refused to accept the practice of

prospectively barring someone from public forums without due process being accorded:

        “This case requires the Court to decide whether the First Amendment allows a Mayor or
        his or her designee, acting pursuant to a city ordinance, to exclude a person, potentially
        indefinitely, from attending future City Council meetings to which the public is otherwise
        invited to attend and present their opinions simply because the person has been disruptive
        at previous meetings. The First Amendment protects, among other things, "freedom of
        speech" and "petitioning for a governmental redress of grievances." U.S. Const. amend. I.
        The First Amendment is incorporated into the Fourteenth Amendment and thus applies to
        the states and local governmental bodies. Gitlow v. New York, 268 U.S. 652, 666, 45
        S.Ct. 625, 69 L.Ed. 1138 (1925). No appellate opinion of which this Court is aware has
        ever held that the First Amendment permits prospective exclusion orders from otherwise
        public city council meetings. A presiding officer may remove a disruptive individual
        from any particular meeting, and a sufficiently disruptive person may even be prosecuted
        for such conduct if public law permits. But no matter how many meetings of a city
        council a person disrupts, he or she does not forfeit or lose the future ability to exercise
        constitutional rights and may not be prospectively barred from attending future meetings.
        Our democratic republic is not so fragile, and our First Amendment is not so weak.”

30.     The following is a pertinent excerpt from In re Kaiser, 722 F.2d 1574 (2d Cir. 1983)

about mendacity that is particularly applicable to my claims in this pleading and lies that Ms.

Ramos expressed to Ms. Durkin about me in e-mail messages that appear in the 374-page PDF

file:

        “the cumulative effect of all the falsehoods together evidences a pattern of reckless and
        cavalier disregard for the truth serious enough to supply the necessary fraudulent intent
        required”

31.     The following excerpt from St. Mary's Honor Center v. Hicks, 509 U.S. 502, 113 S. Ct.




                                         Page 106 of 171
2742, 125 L. Ed. 2d 407 (1993) further discusses mendacity in the context of discriminatory

intent:

          “The factfinder's disbelief of the reasons put forward by the defendant (particularly if
          disbelief is accompanied by a suspicion of mendacity) may, together with the elements of
          the prima facie case, suffice to show intentional discrimination. Thus, rejection of the
          defendant's proffered reasons will permit the trier of fact to infer the ultimate fact of
          intentional discrimination,[4] and the Court of Appeals was correct when it noted that,
          upon such rejection, "[n]o additional proof of discrimination is required, " 970 F. 2d, at
          493 (emphasis added). But the Court of Appeals' holding that rejection of the defendant's
          proffered reasons compels judgment for the plaintiff disregards the fundamental principle
          of Rule 301 that a presumption does not shift the burden of proof, and ignores our
          repeated admonition that the Title VII plaintiff at all times bears the "ultimate burden of
          persuasion."”

32.       The following is a pertinent excerpt from Regional Economic Community v. City of

Middletown, 294 F.3d 35 (2d Cir. 2002) that concerns discriminatory intent and how it may be

inferred:

          “Discriminatory intent may be inferred from the totality of the circumstances, including
          ... the historical background of the decision ...; the specific sequence of events leading up
          to the challenged decision ...; [and] contemporary statements by members of the decision-
          making body...." LeBlanc, 67 F.3d at 425 (citations and internal quotation marks
          omitted).”

33.       Nicholas v. Bratton, No. 15-CV-9592 (JPO) (S.D.N.Y. Mar. 26, 2019) includes the

following finding that concerns the right to engage in discovery by obtaining non-redacted

copies of e-mail messages in order to uncover discriminatory intent and fraudulent pretexts:

          “The Court previously ordered that portions of the email chain at Docket Number 188-24,
          referred to by the Parties as "Exhibit 27," be redacted and filed under seal. (See Dkt. Nos.
          189, 192.) "Because of the importance of th[is] sealed material to [the] disposition of this
          matter, [the Court] order[s] that [this email chain now] be unsealed." Cox v. Onondaga
          Cty. Sheriff's Dep't, 760 F.3d 139, 150 (2d Cir. 2014).


34.       In Trump v. Vance, 591 S. Ct. (U.S. 2020), the U.S. Supreme Court stated the following

about discovery:

          “In our judicial system, “the public has a right to everyman’s evidence.””



                                            Page 107 of 171
35.      Va. Pharmacy Bd. v. Va. Consumer Council, 425 U.S. 748, 96 S. Ct. 1817, 48 L. Ed. 2d

346 (1976) includes the following relevant findings about the mutual right to communicate and

receive information from speakers that applies to the Mayor’s 9/14/17 town hall in relation to my

efforts to have attended it within the room in which it was conducted and communicated quietly

in a non-disruptive manner with those who would have otherwise been seated near me and been

willing to do so with me before that town hall began, as it was conducted, and shortly after it

ended as well as my right to have talked with government officials in that room shortly after that

town hall ended:

         a.      “we acknowledged that this Court has referred to a First Amendment right to
                 "receive information and ideas," and that freedom of speech " `necessarily
                 protects the right to receive.'”

         b.      “Freedom of speech presupposes a willing speaker. But where a speaker exists, as
                 is the case here,[14] the protection afforded is to the communication, to its source
                 and to its recipients both. This is clear from the decided cases.”

36.      Schneider v. State (Town of Irvington), 308 U.S. 147, 60 S. Ct. 146, 84 L. Ed. 155 (1939)

confirms that people have a First Amendment to peaceably assemble and distribute literature in a

public forum when and where they choose to do so in the absence of a government restriction

that is objectively valid in stark contrast to a self-serving and fraudulent pretext manufactured by

the NYPD and Mayor’s office to prevent and otherwise minimize criticism for the sake of optics.

37. The following is an excerpt from Karem v. Trump, No. 19-CV-5255 (D.C. Cir. June 5, 2020)

      that addressed what is required of due process in the context of a denial of access to

      government officials through the revocation of a press credential:

              “A fundamental principle in our legal system,” the Supreme Court observed in FCC
              v. Fox Television Stations, Inc., 567 U.S. 239 (2012), “is that laws which regulate
              persons or entities must give fair notice of conduct that is forbidden or required.” Id.
              at 253. Such “[e]lementary notions of fairness,” the Court explained in BMW of North
              America, Inc. v. Gore, 517 U.S. 559 (1996), “dictate that a person receive fair notice
              not only of the conduct that will subject him to punishment, but also of the severity of



                                            Page 108 of 171
          the penalty that [the government] may impose.” Id. at 574. “This requirement of
          clarity[,] . . . essential to the protections provided by the Due Process Clause of the
          Fifth Amendment,” Fox Television, 567 U.S. at 253, “is implicated” whenever the
          government imposes “civil penalties,” Gore, 517 U.S. at 574 n.22 (emphasis
          omitted). Where such penalties “threaten[] to inhibit the exercise of constitutionally
          protected rights[,] . . . a more stringent vagueness [and fair-notice] test should apply.”
          Village of Hoffman Estates v. Flipside, Hoffman Estates, Inc., 455 U.S. 489, 498–99
          (1982).

          That “essential . . . protection[]” of fair notice applies here. Fox Television, 567 U.S.
          at 253. As we explained in Sherrill, “the interest of a bona fide Washington
          correspondent in obtaining a White House press pass . . . undoubtedly qualifies as [a]
          liberty [interest] which may not be denied without due process of law under the fifth
          amendment.” 569 F.2d at 130–131. And because “any deprivation” of a protected
          liberty interest must “be effected pursuant to constitutionally adequate procedures,”
          Brandon v. District of Columbia Board of Parole, 823 F.2d 644, 648 (D.C. Cir.
          1987), a duly issued hard pass may not be suspended without due process.
          Accordingly, “[e]lementary notions of fairness” required that Karem “receive fair
          notice not only of the conduct that [would] subject him to punishment, but also of the
          . . . magnitude of the sanction that [the White House] might impose.” Gore, 517 U.S.
          at 574. Furthermore, because the suspension of a hard pass, like the denial of a hard
          pass, “implicate[s]” “important first amendment rights,” Sherrill, 569 F.2d at 130, we
          evaluate Karem’s suspension under a particularly “stringent vagueness [and fair-
          notice] test,” Village of Hoffman Estates, 455 U.S. at 498–99.

                 Applying that test, we think Karem’s due process claim is likely to succeed
          because, on this record, nothing put him on notice of “the magnitude of the
          sanction”—a month-long loss of his White House access, an eon in today’s news
          business—that the White House “might impose” for his purportedly unprofessional
          conduct at the non-press-conference event. Gore, 517 U.S. at 574.

38.    The following pertinent excerpt from the U.S. Supreme Court’s decision in Buckley v.

American Constitutional Law Foundation, Inc., 525 U.S. 182, 119 S. Ct. 636, 142 L. Ed. 2d 599

(1999) that concerns whistleblowing, government accountability, and transparency:

              “[a] public armed with information . . . is better able to detect" wrongdoing.
              See id., at 67; see also Grosjean v. American Press Co., 297 U. S. 233, 250
              (1936) (observing that an "informed public opinion is the most potent of all
              restraints upon misgovernment"). "`Publicity is justly commended as a remedy for
              social and industrial diseases. Sunlight is said to be the best of disinfectants;
              electric light the most efficient policeman.' " Buckley v. Valeo, supra, at 67, and n.
              80 (quoting L. Brandeis, Other People's Money 62 (1933)).”

39. The following are relevant excerpts from Housing Works, Inc. v. Turner, 00 Civ. 1122



                                        Page 109 of 171
      (LAK)(JCF) (S.D.N.Y. Sept. 15, 2004) that address proving retaliation and violations of

      equal protection:

         a. “A plaintiff's circumstantial evidence of retaliation could include the timing of the
            defendant's actions, such as when the alleged retaliation closely follows the plaintiff's
            speech. Morris, 196 F.3d at 110; McCullough v. Wyandanch Union Free School
            District, 187 F.3d 272, 280 (2d Cir. 1999). The plaintiff can also proffer evidence of
            unequal treatment, or an ongoing campaign of retaliation. Hampton Bays
            Connections, Inc. v. Duffy, 127 F. Supp. 2d 364, 374 (E.D.N.Y. 2001); Economic
            Opportunity Commission of Nassau County, Inc. v. County of Nassau, 106 F. Supp.
            2d 433, 437 (E.D.N.Y. 2000) (citing Gagliardi v. Village of Pawling, 18 F.3d 188,
            195 (2d Cir. 1994)).”

         b. “To prove an Olech-type equal protection claim, the plaintiff must show that there
            was "no rational basis" for the differential treatment it suffered. Wantanabe, 315 F.
            Supp. 2d at 396. The Second Circuit has not decided whether an Olech claim also
            requires a showing a illicit motive or intent on the part of the defendant.”

40.      Housing Works, Inc. v. Turner was a case that was partly about First Amendment

retaliation that senior HRA personnel allegedly committed in response to an Article 78

proceeding that was commenced against HRA and complaints that were reported against HRA.

My claims in this action are similarly about First Amendment retaliation that I experienced at the

Mayor’s 9/14/17 town hall that was partly conducted by Mr. Banks while I had ongoing

litigation against HRA that was a hybrid proceeding that was comprised of article 78 claims and

plenary claims.

41.      In its decision in Gordon v. New York City Bd. of Educ., 232 F.3d 111 (2d Cir. 2000), the

Second Circuit confirmed that a plaintiff can prevail with claims about agents who engage in

retaliation explicitly or implicitly upon the orders of a superior in response to a plaintiff’s

protected activities while such agents don’t necessarily need to know about a plaintiff’s protected

activities while subjecting a plaintiff to adverse treatment. The following relevant excerpt from

that decision clarifies and confirms this:

         “The lack of knowledge on the part of particular individual agents is admissible as some



                                             Page 110 of 171
        evidence of a lack of a causal connection, countering plaintiff's circumstantial evidence
        of proximity or disparate treatment. See Alston, 14 F.Supp.2d at 312-13. A jury, however,
        can find retaliation even if the agent denies direct knowledge of a plaintiff's protected
        activities, for example, so long as the jury finds that the circumstances evidence
        knowledge of the protected activities or the jury concludes that an agent is acting
        explicitly or implicit upon the orders of a superior who has the requisite knowledge. See
        id. at 311. This is so, moreover, regardless of whether the issue of causation arises in the
        context of plaintiff's satisfaction of her prima facie case or as part of her ultimate burden
        of proving that retaliation "played a motivating role in, or contributed to, the employer's
        decision." Renz v. Grey Advertising, Inc., 135 F.3d 217, 222 (2d Cir.1997)

        Accordingly then, to the extent that the district court charged the jury that the
        very agents of the Board who engaged in retaliatory actions against Gordon had to know
        of her protected activity, it erred.”

42.     In the relevant excerpt shown next that is from Henry v. Wyeth Pharmaceuticals, Inc.,

616 F.3d 134 (2d Cir. 2010), the Second Circuit cited Gordon v. New York City Bd. of Educ. as it

reinforced its findings. Of particular significance in Henry v. Wyeth Pharmaceuticals, Inc. is the

fact that it confirms that it’s not necessary for supervisor who has knowledge of a plaintiff's

protected activities” to have ordered an agent to impose an adverse action against a plaintiff in

response to protected activities that plaintiff engaged in. Instead, that case confirms that a causal

connection is sufficiently demonstrated if an agent who decides to impose an adverse action

against a plaintiff but is ignorant of the plaintiff's protected activity acts pursuant to

encouragement by a superior (who has knowledge of a plaintiff’s protected activities) to disfavor

the plaintiff.

        We believe the court erred in this instruction. In Gordon v. New York City Bd. of
        Educ., 232 F.3d 111, 116 (2d Cir. 2000), we stated, "Neither this nor any other circuit has
        ever held that, to satisfy the knowledge requirement, anything more is necessary than
        general corporate knowledge that the plaintiff has engaged in a protected activity." We
        then rejected the argument that in order to satisfy the causation requirement, a plaintiff
        must show that the particular individuals who carried out an adverse action knew of the
        protected activity. Id. at 117. Instead, we indicated that a jury may

            find retaliation even if the agent denies direct knowledge of a plaintiff's protected
            activities, for example, so long as the jury finds that the circumstances evidence
            knowledge of the protected activities or the jury concludes that an agent is acting



                                           Page 111 of 171
           explicitly or implicit[ly] upon the orders of a superior who has the requisite
           knowledge.

       Id. See also Gorman-Bakos v. Cornell Coop Extension of Schenectady County, 252 F.3d
       545, 554 (2d Cir.2001) (noting that a plaintiff can establish causation by showing
       protected activity was closely followed in time by adverse employment action); Kessler
       v. Westchester County Dep't of Soc. Servs., 461 F.3d 199, 210 (2d Cir.2006).

       Gordon directly addressed the situation in which a corporate agent carries out an adverse
       employment action on the orders, explicit or implicit, of a superior with knowledge that
       the plaintiff has engaged in a protected activity. However, in order to show causation in
       the sense required by McDonnell Douglas — that is, a causal connection between the
       protected activity and the adverse employment action — it is not necessary that the
       supervisor who has knowledge of the plaintiff's protected activities have ordered the
       agent to impose the adverse action. A causal connection is sufficiently demonstrated if
       the agent who decides to impose the adverse action but is ignorant of the plaintiff's
       protected activity acts pursuant to encouragement by a superior (who has knowledge) to
       disfavor the plaintiff.

43.    Hansen v. Harris, 619 F.2d 942 (2d Cir. 1980) includes the following relevant findings

about estoppel:

       “The Government may sometimes be estopped from enforcing its rules, based on the
       conduct of its agents.”

44.    Barboza v. D'Agata, 151 F. Supp. 3d 363 (S.D.N.Y. 2015) includes the following

relevant findings that confirms that people are permitted to use crude and offensive speech in the

context of complaining about government activity:

       “The Court of Appeals found this was in the scope of protected speech because
       defendant's messages were crude and offensive but made in the context of complaining
       about government action on a telephone answering machine set up for the purpose,
       among others, of receiving complaints from the public. Mangano 571. That decision is on
       all fours with this case. It dealt with offensive language used to express to government
       employees dissatisfaction with government action”

45.    Hammock v. Pierce, No. 15-CV-09052 (NSR) (S.D.N.Y. May 7, 2018) contains the

following findings that addresses proving a retaliatory motive:

       “retaliatory motive may be inferred from a number of circumstantial factors,
       including, inter alia, "(i) the temporal proximity between the protected activity and the
       alleged retaliatory act; (ii) the inmate's prior good disciplinary record; (iii) vindication at



                                          Page 112 of 171
         a hearing on the matter, and (iv) statements by the defendant concerning his
         motivation." Burton v. Lynch, 664 F. Supp. 2d 349, 367 (S.D.N.Y. 2009”

46.      According to Jovanovic v. City of New York, 04 Civ. 8437 (PAC) (S.D.N.Y. Aug. 17,

2006), "malice may be inferred from the lack of probable cause."


47.      The following is a pertinent excerpt from Frain v. Baron, 307 F. Supp. 27 (E.D.N.Y.

1969):

         “Fear of disorder, which the City cites to justify its policy, has been ruled out as a ground
         for limiting peaceful exercise of First Amendment rights. Edwards v. South Carolina, 372
         U.S. 229, 83 S.Ct. 680, 9 L.Ed.2d 697 (1963).”

48.      What follows are several relevant excerpts from Wright v. Musanti, No. 14-cv-8976

(KBF)(S.D.N.Y. Jan. 20, 2017) that confirm the following:

         a. Offensive physical contact is assault under New York State law.

         b. An initial aggressor between 2 parties is responsible for all subsequent assaults and

             batteries that occur between them. This should similarly be interpreted to also mean

             that those who committed illegal acts and omissions against me in relation to my

             efforts to lawfully exercise my constitutional rights to attend public forums that the

             Mayor conducted prior to 9/14/17 are responsible for all subsequent hostilities that

             occurred between us at the sites of public forums that the Mayor conducted as I

             lawfully attempted to attend them and engage in protected whistleblowing against

             them while doing so.

         c. Punitive damages can be calculated based upon a household’s total assets.

             •     Excerpts from Wright v. Musanti:

         a       "The purpose of punitive damages is to punish the defendant for his willful or
                 malicious conduct and to deter others from similar behavior." Memphis Cmty. Sch.
                 Dist. v. Stachura, 477 U.S. 299, 306 n.9 (1986); see also Loughry v. Lincoln First
                 Bank, N.A., 494 N.E.2d 70, 74 (N.Y. 1986) (explaining that punitive damages


                                            Page 113 of 171
"serve the societal purposes of punishing and deterring the wrongdoer, as well as
others, from similar conduct in the future.") (citation omitted). Under New York
law, "the standard for imposing punitive damages is a strict one and punitive
damages will be awarded only in exceptional cases", Marinaccio v. Town of
Clarence, 986 N.E.2d 903, 906 (N.Y. 2013), such as those "involving `gross,
wanton, or willful fraud or other morally culpable conduct'", Action S.A. v. Marc
Rich & Co., 951 F.2d 504, 509 (2d Cir. 1991) (quoting Borkowski v. Borkowski,
355 N.E.2d 287, 287 (N.Y. 1976)); see also Marinaccio, 986 N.E.2d at 906 (noting
that "the conduct justifying [a punitive damages] award must manifest `spite or
malice, or a fraudulent or evil motive on the part of the defendant, or such a
conscious and deliberate disregard of the interests of others that the conduct may
be called willful or wanton'") (quoting Dupree v. Giugliano, 982 N.E.2d 74, 76
(N.Y. 2012)); Ross v. Louise Wise Servs., Inc., 868 N.E.2d 189, 196 (N.Y.
2007) ("Punitive damages are permitted when the defendant's wrongdoing is not
simply intentional but `evince[s] a high degree of moral turpitude and
demonstrate[s] such a wanton dishonesty as to imply a criminal indifference to
civil obligations") (quoting Walker v. Sheldon, 179 N.E.2d 497, 499 (N.Y. 1961)).

Although the factfinder has discretion to determine whether to award punitive
damages and, if so, in what amount, Nardelli v. Stamberg, 377 N.E.2d 975, 977
(N.Y. 1978), punitive damages must "bear some reasonable relation to the harm
done and the flagrancy of the conduct causing it". Bi-Econ. Mkt., Inc. v.
Harleysville Ins. Co. of N.Y., 886 N.E.2d 127, 131 (N.Y. 2008) (citation omitted).
In arriving at the appropriate amount, the factfinder may consider the defendant's
financial circumstances. Brink's Inc v. City of N.Y., 717 F.2d 700, 706-07 (2d Cir.
1983)("Under New York law, evidence of a defendant's wealth is admissible on the
issue of the amount of punitive damages.") (citations omitted); see also Softel, Inc.
v. Dragon Med. & Sci. Commc'ns Ltd., 891 F. Supp. 935, 945 (S.D.N.Y.
1995); Greenbaum v. Handelsbanken, 67 F. Supp. 2d 228, 267-68 (S.D.N.Y.
1999).

Here, the Court finds that defendant's conduct reflects the sort of willful disregard
of the interests of others that justifies imposing punitive damages, see,
e.g., Marinaccio, 986 N.E.2d at 906, both as a general and specific deterrent,
see Memphis Cmty. Sch. Dist., 477 U.S. at 306 n.9. A $10,000 award is
appropriate here. In arriving at this amount, the Court considers the financial
circumstances of defendant, as it is entitled to do. See Brink's Inc., 717 F.2d at
706-07; Softel, Inc., 891 F. Supp. at 945; Greenbaum, 67 F. Supp. 2d at 267-68. At
trial, the Court specifically questioned defendant regarding her financial
circumstances for the stated purpose of identifying an appropriate amount of
punitive damages to impose, if any. (See Tr. 80:10-84:25.) The Court repeatedly
invited defendant to bring any information she thought might be relevant to the
Court's attention. (Id. 83:20-84:25.) During the course of that exchange, defendant
testified regarding her and her husband's salaries, as well as their family planning,
and primary assets and debts, as described below.




                            Page 114 of 171
       b     “Under New York law, "`[a]n `assault' is an intentional placing of another person
             in fear of imminent or offensive contact.'" Girden v. Sandals Int'l, 262 F.3d 195,
             203 (2d Cir. 2001) (quoting United Nat'l Ins. Co. v. Waterfront N.Y. Realty Corp.,
             994 F.2d 105, 108 (2d Cir. 1993)); Farash v. Cont'l Airlines, Inc., 337 F. App'x 7,
             9-10 (2d Cir. 2009) (same). "The plaintiff must show that the defendant intended
             `either to inflict personal injury or to arouse apprehension of harmful or offensive
             bodily contact.'"

       c     “Under these circumstances, defendant's kick clearly altered the tenor of the
             parties' interaction, shifting the encounter from an ordinary, nonaggressive
             interaction between two pedestrians to something more akin to a street brawl. As a
             result, defendant served as the initial aggressor at the outset of the encounter,
             rendering her liable to plaintiff for all ensuing assaults and batteries”


49.    The following is a pertinent excerpt from Jackson v. City of New York, 939 F. Supp. 2d

235 (E.D.N.Y. 2013) that confirms that people have a legal right to engage in self-defense

against members of the NYPD:

       “As discussed supra, Plaintiff successfully removed a male police officer from her back
       by means of physical force. See Pl.'s Dep. Tr. at 106:713. However, Plaintiff alleges her
       physical struggle was in self-defense and was therefore justified. See Jocks. v. Tavernier,
       316 F.3d 128, 13637 (2d Cir. 2003) (holding, on plaintiffs version of the facts, that
       plaintiff was acting in self-defense such that his actions were not criminal and could not
       create probable cause to justify his malicious prosecution); see also People v. Carneglia,
       63 A.D.2d 734, 735, 405 N.Y.S.2d 298, 299 (N.Y.App.Div. 2d Dep't 1978) (holding that
       "reasonable acts of self-defense" are justifiable in response to "an unprovoked police
       assault").”

50.    The following is a relevant excerpt from Capitol Records, Inc. v. Thomas-Rasset, 692

F.3d 899 (8th Cir. 2012) that concerns having a court issue an order that restrains acts that may

otherwise be lawful due to a propensity and proclivity to commit unlawful conduct:

       “a district court has authority to issue a broad injunction in cases where "a proclivity for
       unlawful conduct has been shown." See McComb v. Jacksonville Paper Co., 336 U.S.
       187, 192, 69 S.Ct. 497, 93 L.Ed. 599 (1949). The district court is even permitted to
       "enjoin certain otherwise lawful conduct" where "the defendant's conduct has
       demonstrated that prohibiting only unlawful conduct would not effectively protect the
       plaintiff's rights against future encroachment." Russian Media Grp., LLC v. Cable
       America, Inc., 598 F.3d 302, 307 (7th Cir.2010) (citing authorities). If a party has
       violated the governing statute, then a court may in appropriate circumstances enjoin
       conduct that allowed the prohibited actions to occur, even if that conduct "standing alone,


                                         Page 115 of 171
       would have been unassailable." EEOC v. Wilson Metal Casket Co., 24 F.3d 836, 842 (6th
       Cir.1994) (internal quotation omitted).”

51.    The excerpts that appear next are from People v. Alba, 81 A.D.2d 345, 440 N.Y.S.2d 230

(App. Div. 1981) and Dotson v. Farrugia, No. Civ. 1126 (PAE) (S.D.N.Y. Mar. 26, 2012). Both

of them confirm that an unofficial arrest occurs in violation of the Fourth Amendment when

individuals have their ability to freely move about curtailed by a show of authority without a

legal justification. This is applicable to the efforts that I undertook on 9/14/17 to lawfully attend

the Mayor’s 9/14/17 town hall.

       a. Excerpt from People v. Alba:

               “The majority finds that, although defendant was told that he was "under arrest",
               no arrest, in fact, took place. We disagree. "Whenever an individual is physically
               or constructively detained by virtue of a significant interruption of his liberty of
               movement as a result of police action, that individual has been seized within the
               meaning of the Fourth Amendment". (People v Cantor, 36 NY2d, at p 111; see
               Terry v Ohio, 392 US, at p 16.)”

       b. Excerpt from Dotson v. Farrugia:

               “"A person is seized by the police and thus entitled to challenge the government's
               action under the Fourth Amendment when the officer, by means of physical force
               or show of authority terminates or restrains his freedom of movement through
               means intentionally applied." Brendlin v. California, 551 U.S. 249, 254 (internal
               quotations marks and citations omitted) (emphasis in original); see also Terry, 392
               U.S. at 19 n.16”

52.    In DK BY LK v. Teams, No. 16-CV-3246 (PAE)(S.D.N.Y. Jul. 5, 2017), U.S. District

Judge Paul A. Engelmayer articulated the legal standard that applies to confirming personal

involvement of a defendant for 42 U.S.C. §1983 claims in the following way:

       “The personal involvement of a defendant sued in his or her individual capacity is a
       requirement for liability under § 1983; a defendant's supervisory authority is insufficient
       in itself to create liability under § 1983. Richardson v. Goord, 347 F.3d 431, 435 (2d Cir.
       2003). "To proximately cause a ... due process violation ... a defendant must be
       personally involved in the violation. A plaintiff may establish such personal involvement
       by making any one of five showings (the `Colon factors')." Warren v. Pataki, 823 F.3d
       125, 136 (2d Cir. 2016) (citing Colon v. Coughlin, 58 F.3d 865, 873 (2d Cir. 1995).



                                          Page 116 of 171
       These showings are as follows: "(1) the defendant participated directly in the alleged
       constitutional violation, (2) the defendant, after being informed of the violation *354
       through a report or appeal, failed to remedy the wrong, (3) the defendant created a policy
       or custom under which unconstitutional practices occurred, or allowed the continuance of
       such a policy or custom, (4) the defendant was grossly negligent in supervising
       subordinates who committed the wrongful acts, or (5) the defendant exhibited deliberate
       indifference to the rights of [the plaintiffs] by failing to act on information that
       unconstitutional acts were occurring." Id. (quoting Colon, 58 F.3d at 873); see also
       Patterson v. Cty. of Oneida, N.Y., 375 F.3d 206, 229 (2d Cir. 2004) (" [A] plaintiff must
       establish a given defendant's personal involvement in the claimed violation in order to
       hold that defendant liable in his [or her] individual capacity under § 1983. Personal
       involvement ... includes not only direct participation in the alleged violation but also
       gross negligence in the supervision of subordinates who committed the wrongful acts and
       failure to take action upon receiving information that constitutional violations were
       occurring.") (citations omitted)).”

53.    The following is a pertinent excerpt from Marom v. City of New York, No. 15-cv-2017

(PKC) (S.D.N.Y. Mar. 7, 2016) that addresses the legal duty that all law-enforcement personnel

that includes lawmakers have to intervene to protect constitutional rights against infringement:

       "All law enforcement officials have an affirmative duty to intervene to protect the
       constitutional rights of citizens from infringement by other law enforcement officers in
       their presence." Anderson, 17 F.3d at 557. "An officer who fails to intercede is liable for
       the preventable harm caused by the actions of the other officers where that officer
       observes or has reason to know: (1) that excessive force is being used, [] (2) that a citizen
       has been unjustifiably arrested [] or (3) that any constitutional violation has been
       committed by a law enforcement official []." Id. However, "[i]n order for liability to
       attach, there must have been a realistic opportunity to intervene to prevent the harm from
       occurring."”

54.    The following is a pertinent excerpt from Marom v. NYPD Sergeant Fior Blanco, No. 15-

cv-2017 (PKC) (S.D.N.Y. July 25, 2019) that acknowledged that the scope of personal

involvement in violating constitutional rights exceeded how it was described in Marom v. City of

New York, No. 15-cv-2017 (PKC) (S.D.N.Y. Mar. 7, 2016):

       “A defendant is also considered "personally involved" if he or she fails to intervene
       despite having a realistic opportunity to prevent the constitutional violation from
       occurring. Harris v. City of New York, No. 15-cv-8456 (CM), 2017 WL 6501912, at *3
       (S.D.N.Y. Dec. 15, 2017); see Anderson v. Branen, 17 F.3d 552, 557 (2d Cir. 1994).”

55.    The following is a pertinent excerpt from Bleiwas v. City of New York, No. 15 Civ. 10046



                                         Page 117 of 171
(ER) (S.D.N.Y. Aug. 14, 2017) that lists the elements for a claim based upon negligence:

         "To demonstrate that a defendant acted with negligence under New York law, a plaintiff
         must show `1) the existence of a duty flowing from defendant to plaintiff; 2) a breach of
         this duty; 3) a reasonably close causal connection between the contact and the resulting
         injury; and 4) actual loss, harm or damage."

56. What follows is a pertinent excerpt from US v. Basey, 816 F.2d 980 (5th Cir. 1987) about the

      guilt of those who participate in conspiracies and clearly confirms that defendants that I have

      listed in this pleading’s caption have been involved in a conspiracy to violate my

      constitutional right to attend the Mayor’s 9/14/17 town hall.

         Excerpt from US v. Basey:

         "Well settled is the principle that a party to a continuing conspiracy may be responsible
         for a substantive offense committed by a co-conspirator, even though that party does not
         participate in the substantive offense or have any knowledge of it. Pinkerton v. United
         States, 328 U.S. 640, 647, 66 S.Ct. 1180 [1184] 90 L.Ed. 1489 (1946). Once the
         conspiracy and a particular defendant's knowing participation in it has been established
         beyond a reasonable doubt, the defendant is deemed guilty of substantive acts committed
         in furtherance of the conspiracy by any of his criminal partners. United States v. Sullivan,
         578 F.2d 121, 122-23 (5th Cir.1978).”

57.      The following is a pertinent excerpt from US v. Blackmon, 839 F.2d 900 (2d Cir. 1988)

that presents a useful discussion about co-conspirators in conspiracies:

         “This court has several times observed that statements "that apprise a coconspirator of the
         progress of a conspiracy," United States v. Rahme, 813 F.2d 31, 36 (2d Cir.1987), or that
         "brief [a coconspirator] on the scheme," United States v. Mangan, 575 F.2d 32, 44 (2d
         Cir.), cert. denied, 439 U.S. 931, 99 S.Ct. 320, 58 L.Ed.2d 324 (1978), are statements
         made in furtherance of a conspiracy. See United States v. Paone, 782 F.2d 386, 391 (2d
         Cir.1986), cert. denied, ___ U.S. ___, 107 S.Ct. 3261, 97 L.Ed.2d 761 (1987). See
         also United States v. Persico, 832 F.2d 705, 716 (2d Cir.1987). The Third Circuit has
         likewise observed that statements by coconspirators that "inform each other of the current
         status of the conspiracy further the ends of the conspiracy and are admissible so long as
         the other requirements of Rule 801(d)(2)(E) are met." United States v. Ammar, 714 F.2d
         238, 252 (3d Cir.) (citations omitted), cert. denied, 464 U.S. 936, 104 S.Ct. 344, 78
         L.Ed.2d 311 (1983).”

58.      In Pangburn v. Culbertson, 200 F.3d 65 (2d Cir. 1999), the Court addressed conspiracies

to violate civil rights and a legal standard that governs whether litigants should be allowed to file



                                           Page 118 of 171
an amended pleading. In short, the excerpts from that case shown below confirm that Court ruled

that a) “conspiracies are by their very nature secretive operations" that “may have to be proven

by circumstantial, rather than direct, evidence” and b) though futility “is a valid reason for

denying a motion to amend”, that is “true only where it is "beyond doubt that the plaintiff can

prove no set of facts in support" of his amended claims.”

       a. “To prove a § 1983 conspiracy, a plaintiff must show: (1) an agreement between two
          or more state actors or between a state actor and a private entity; (2) to act in concert
          to inflict an unconstitutional injury; and (3) an overt act done in furtherance of that
          goal causing damages.”

       b. “While "conclusory allegations" of a § 1983 conspiracy are insufficient, Dwares v.
          City of New York, 985 F.2d 94, 99-100 (2nd Cir.1993) (citing cases), we have
          recognized that such "conspiracies are by their very nature secretive operations," and
          may have to be proven by circumstantial, rather than direct, evidence. Rounseville v.
          Zahl, 13 F.3d 625, 632 (2d Cir.1994).”

       c. “while "futility" is a valid reason for denying a motion to amend, John Hancock
          Mutual Life Ins. Co. v. Amerford Int'l Corp., 22 F.3d 458, 462 (2d Cir.1994), this is
          true only where it is "beyond doubt that the plaintiff can prove no set of facts in
          support" of his amended claims. Ricciuti v. N.Y.C. Transit Auth., 941 F.2d 119, 123
          (2d Cir.1991)”

59.    The following are excerpts from Vann v. City of New York, 72 F.3d 1040 (2d Cir. 1995)

that addresses municipal liability:

       a.      A § 1983 plaintiff injured by a police officer may establish the pertinent custom
               or policy by showing that the municipality, alerted to the possible use of excessive
               force by its police officers, exhibited deliberate indifference. See, e.g., Fiacco v.
               City of Rensselaer, 783 F.2d 319 (2d Cir.1986), cert. denied, 480 U.S. 922, 107
               S.Ct. 1384, 94 L.Ed.2d 698 (1987); see id. at 326-27 (municipality "should not
               take a laissez-faire attitude toward the violation by its peace officers of the very
               rights they are supposed to prevent others from violating").

       b.      To prove such deliberate indifference, the plaintiff must show that the need for
               more or better supervision to protect against constitutional violations was
               obvious. See Canton v. Harris, 489 U.S. at 390, 109 S.Ct. at 1205. An obvious
               need may be demonstrated through proof of repeated complaints of civil rights
               violations; deliberate indifference may be inferred if the complaints are followed
               by no meaningful attempt on the part of the municipality to investigate or to




                                          Page 119 of 171
               forestall further incidents. See, e.g., Ricciuti v. N.Y.C. Transit Authority, 941 F.2d
               at 123; Fiacco v. City of Rensselaer, 783 F.2d at 328

60.    The Mayor’s 9/14/17 town hall was conducted in violation of New York City Department

of Education regulations that are discussed in Bloomberg v. The New York City Department of

Education, No. 17 Civ. 3136 (PGG) (S.D.N.Y. Sept. 24, 2019). In order for the Mayor and New

York City Councilman Chaim Deutsch to have been able to lawfully conduct the Mayor’s

9/14/17 town hall within the school in which it was conducted, invitations would have needed to

have been issued to their political rivals who sought to replace them through the 2017 New York

City government elections. No valid reason exists to believe that prerequisite was met. The

following is a relevant excerpt from that court decision:

       Regulation D-130 (the "Regulation") "governs the use of school buildings by candidates,
       elected officials, and political organizations and the conduct of school employees and
       officers with respect to political campaigns and elections." (Regulation D-130 (Abstract)
       (Dkt. No. 79-3)) The Regulation's introduction provides:

       School buildings are not public forums for purposes of community or political
       expression. The following sets forth the rules which govern: (1) the use of, or access to,
       Department of Education school buildings by elected officials, candidates for elective
       office, or organizations working on behalf of such officials or candidates, both during
       school and non-school hours; (2) use of school facilities, equipment and supplies for
       political purposes by school employees, personnel, or staff members and officials; and (3)
       conduct of school employees, personnel, or staff members and officials with respect to
       political campaigns and elections.

       (Id. (Introduction) (footnote omitted)).

       Section I.B of the Regulation addresses the use of school facilities, equipment, and
       supplies, and provides that — generally — these resources "may not be used on behalf of
       any candidate, candidates, slate of candidates, or political organization/committee." (Id.
       at § I(B)) In particular,

       1. The use of any Department of Education school during school/business hours by any
       person, group, organization, committee, etc., on behalf of, or for the benefit of any
       elected official, candidate, candidates, slate of candidates or political
       organization/committee is prohibited.
       2. No rallies, forums, programs, etc., on behalf of, or for the benefit of any elected
       official, particular candidate, candidates, slate of candidates or political



                                         Page 120 of 171
        organization/committee may be held in a school building.
        3. No material supporting any candidate, candidates, slate of candidates or political
        organization/committee may be distributed, posted, or displayed in any school building....


                                    STATEMENT OF FACTS

1. I incorporate by reference the allegations set forth in all preceding paragraphs as if fully set

     forth herein.

2. The following shows an e-mail message that I received on 9/27/17 at 9:49 am from a CCRB

     investigator named Judith Lê in which she explicitly stated that the Mayor’s CAU and the

     Mayor’s staff are in charge of admittance to public town hall meetings that the Mayor

     conducted:

        From: "Le, Judith (CCRB)" <JLe@ccrb.nyc.gov>
        Subject: RE: New viewpoint discrimination by NYPD's Howard Redmond & Lt. Nieves
        at Mayor's 8/30 town hall in Brooklyn
        Date: September 27, 2017 at 9:49:27 AM EDT
        To: Towaki Komatsu <towaki_komatsu@yahoo.com>

        Hi Mr. Komatsu,

        As we previously discussed, unfortunately, admittance in and out of the Town Hall
        events falls outside the jurisdiction. Again, if you'd like, I can forward the complaint to
        Internal Affairs, or recommend that you speak to the Mayor's staff/Community Affairs
        office, as they are in charge of admittance to the Town Halls.

        Best,

        Judith Lê

        Investigator, Squad 8
        Civilian Complaint Review Board
        100 Church Street, 10th Floor
        New York, NY 10007
        (212) 912-2081

3.      The following shows the e-mail message that I sent on 9/10/17 at 9:23 pm to RSVP for

the Mayor’s 9/14/17 town hall:




                                          Page 121 of 171
       From: Towaki Komatsu <towaki_komatsu@yahoo.com>
       Subject: RSVP for 9/14/17 public Town Hall meeting with New York City's Mayor
       Date: September 10, 2017 at 9:23:48 PM EDT
       To: townhallrsvp@cityhall.nyc.gov

       My name is Towaki Komatsu

       This e-mail serves as my RSVP for the 9/14/17 public Town Hall meeting New York
       City’s Mayor will hold.

       Pursuant to New York State’s Open Meetings Law, I have a legal right to attend that
       public town hall meeting.

       Any attempt to hinder my ability to attend it will constitute a violation of both that law
       and the federal criminal statute that concerns obstruction of justice, specifically 18 U.S.C.
       1512.

       Any such attempt to hinder my ability to attend that public meeting will be severely dealt
       with from a legal standpoint.

4.     The New York City public school that hosted the Mayor’s 9/14/17 is the P.S. K811

Connie Lekas School that is controlled by the New York City Department of Education. New

York City Councilman Chaim Deutsch served as the moderator for the Mayor’s 9/14/17 town

hall. Mr. Deutsch is a staunch supporter of the NYPD in spite of how often and how brazenly its

members violate applicable laws. He is also the chairman of the New York City Council’s

Committee on Veterans who has repeatedly proven in a variety of ways that he does not support

fundamental civil rights that include the First Amendment, Fourth Amendment, Fifth

Amendment, and Fourteenth Amendment. He also pays lip-service to supporting military

veterans. In that respect, he and the Mayor are quite similar and unworthy of respect.

5.     Prior to attending the Mayor’s 9/14/17 town hall, Defendant Cruz was among people who

illegally prevented me from attending and testifying in the public hearing that the Mayor

conducted at 2 pm in the Blue Room in City Hall that was partly about proposed legislation that

concerned reforming the NYPD. I intended to engage in protected whistleblowing about that fact




                                         Page 122 of 171
as well as the sum and substance of the testimony against the NYPD that I would have otherwise

given during that 9/8/17 public hearing while attending the Mayor’s 9/14/17 town hall in the

room in which it was conducted.

6.

7. On 9/9/17 at 9:50 pm, I sent an e-mail message to the following people and others that was

     partly about the fact that Defendant Cruz illegally prevented me from attending the Mayor’s

     9/8/17 2 pm public hearing that I just discussed:

        a. Defendant Miller.

        b. Shauna Stribula and Paola Ruiz of the Mayor’s office.

        c. Lourdes Rosado while she was then the head of the civil rights division of the New

            York State Attorney General’s office.

        d. Jennifer Levy and Muhammad Khan while they were then attorneys who then worked

            for the New York City Public Advocate’s office. They now work for the New York

            State Attorney General’s office.

        e. Other attorneys.

        f. Melissa Ms. Mark-Viverito while she was then the Speaker of the City Council.

        g. Additional members of the City Council.

8. A copy of that e-mail message is shown next. I sent that e-mail message to inform those who

     received it that I was illegally prevented from attending the public hearing that the Mayor

     conducted on 9/8/17 in the Blue Room inside of City Hall that partly addressed proposed

     legislation that was about NYPD misconduct about which I had intended to testify during

     that hearing. I made it clear in that e-mail message that by having been illegally prevented

     from attending that public hearing, those who were responsible for having caused that to




                                          Page 123 of 171
occur were doing so as an ongoing illegal practice against me that was “being carried out by

the NYPD and Mayor’s office in violation of viewpoint discrimination” in light of valid

misconduct complaints that I filed against the NYPD that included Defendant Redmond.

That e-mail message also confirms that I specifically asked Ms. Rosado to arrange to have

those who had been illegally preventing me from attending public forums that the Mayor had

been conducting to be criminally prosecuted for that. I also pointed out in that e-mail

message that I intended to file a supplemented complaint with the U.S. Attorney’s office for

the Southern District of New York in response to having been illegally been prevented from

attending the Mayor’s 9/8/17 public hearing. It’s objectively reasonable to infer from the

totality of the circumstances that the illegal acts and omissions that were committed against

me that caused me to have been prevented from attending the Mayor’s 9/14/17 town hall

meeting from within the room in which it was conducted as it was conducted was in

retaliation for the clearly protected activity that I confirmed through that e-mail message that

I was then engaged in against the NYPD.

   From: Towaki Komatsu <towaki_komatsu@yahoo.com>
   Subject: Re: Flagrantly illegal exclusion from 2 pm public meeting in City Hall
   yesterday
   Date: September 9, 2017 at 9:50:28 PM EDT
   To: lourdes.rosado@ag.ny.gov
   Cc: "Ruiz, Paola" <PRuiz@cityhall.nyc.gov>, sstribula@cityhall.nyc.gov, "Miller,
   Harold" <HMiller@cityhall.nyc.gov>, rcornegy@council.nyc.gov
   Bcc: gethelp@pubadvocate.nyc.gov, mmark-viverito@council.nyc.gov,
   khan@pubadvocate.nyc.gov, jlevy@pubadvocate.nyc.gov, ulrich@council.nyc.gov,
   ecrowley@council.nyc.gov, Norman Siegel <nsiegel@stellp.com>, Aaron Foldenauer
   <aaron@aaronforcitycouncil.com>

   Dear Ms. Rosado,

   As per the voicemail message that I left for you yesterday, please ensure that the member
   of members of the Mayor’s office and/or NYPD that illegally prevented me from
   attending the public meeting at 2 pm that was held in the Blue Room in City Hall
   yesterday are prosecuted to the fullest extent of all applicable law.



                                      Page 124 of 171
       Keeping me out of public meetings has is an ongoing illegal practice being carried out by
       the NYPD and Mayor’s office in violation of viewpoint discrimination, particularly in
       light of the fact that I have valid misconduct complaints filed against the NYPD -
       including the Mayor’s head of his security detail.

       The following is a link to the video of the meeting I was denied access to yesterday:

       https://www.youtube.com/watch?v=UrGcTV3n2Jc

       One of the bills that the Mayor signed yesterday was about NYPD misconduct and he
       made it clear during that meeting that testimony from the audience would have been
       possible.

       Due to this new incident of discrimination, I will file a new Notice of Claim with the
       New York City Comptroller’s office on Monday and a supplemented complaint with the
       U.S. Attorney’s office for the Southern District.

       Regards,

       Towaki Komatsu


9.     Everything that I have discussed thus far in this complaint about whistleblowing and

litigation that I engaged in were matters about which I intended to engage in protected

whistleblowing about while attending the Mayor’s 9/14/17 town hall largely to try to engage in

word-of-mouth advertising against the Mayor’s administration and its business partners that I

hoped would spread quickly, widely, and sufficiently enough as I hoped its sum and substance

would persuade enough people to fire the Mayor in the 2017 New York City government

elections that would give New Yorkers leadership instead all that the Mayor and his

administration represent. By having New Yorkers throw out Bill de Blasio and his administration

like a disease by the power of their votes, I hoped that new management at the Mayor’s office

would clean house across New York City’s government and with its business partners to usher in

proper governance. Among other things, that would require Urban’s contract with HRA to be

cancelled.



                                        Page 125 of 171
10.    On 9/14/17, as I lawfully stood on a public sidewalk while waiting in line with other

members of the public to be issued an admission ticket for the Mayor’s town hall that would

enable me to attend it from within the room in which it was conducted, I had a brief conversation

with Defendant Atcheson as she held a tablet computer. During that conversation, she

fraudulently told me that I wasn’t on the list of people who registered to attend that town hall and

refused to issue me an admission ticket for it in violation of my Fifth Amendment rights to

property and Fourteenth Amendment due process and equal protection rights as well as the

prohibitions against discrimination and selective-enforcement. In doing so, she also violated

New York State’s Open Meetings Law and subjected me to an abuse of process. In response to

her behavior, I remained in that line while I remained intent on attending that town hall lawfully

in accordance with my constitutional rights irrespective of whether I would be issued an

admission ticket for it. While that was occurring, I recorded video recordings with my cell phone

that confirm the following members of the NYPD as well as members of the Mayor’s staff that

included Harold Miller stood within roughly 40 feet from where I was on that same sidewalk and

were aware that I was not being issued an admission ticket for that town hall as the members of

the NYPD illegally failed and otherwise refused to perform their Fourteenth Amendment

affirmative legal duty to intervene on my behalf to uphold my constitutional rights to receive an

admission ticket for it and to be treated like every other member of the public who was in that

line with respect to my efforts to attend that public forum within the room in which it would be

conducted:

       Defendants Gerola, Nieves, Mason, Cruz, NYPD Officer John Doe1 9/14/17 (shield #:
       21250), NYPD John Doe2 9/14/17, NYPD John Doe3 9/14/17, NYPD John Doe4
       9/14/17, NYPD John Doe5 9/14/17, NYPD John Doe6 9/14/17, NYPD John Doe7
       9/14/17

11.    The next screenshot shows Defendant Miller on the far-left as he wore eyeglasses and



                                         Page 126 of 171
stood next to Jane Doe2 9/14/17. She was also present on 4/27/17 in front of the entrance to the

school that hosted the Mayor’s 4/27/17 town hall as Defendant Miller worked with others to

illegally prevent me from attending that public forum after I recorded him on video then that

confirms that he then did so.




12.    That screenshot is from a video that I recorded at 6:15 pm on 9/14/17 that has the

filename of “IMG_1856.MOV” while I was lawfully conducting myself as I lawfully conducted

myself while I was then waiting in a line with other members of the public to attend the Mayor’s

9/14/17 town hall from within the room in which it was conducted.




                                        Page 127 of 171
13.    The next screenshot is from that same video and corresponds to the elapsed time of 13

seconds. Defendants Miller, NYPD John Doe4 9/14/17, Jane Doe2 9/14/17, Jane Doe1 9/14/17,

and Defendant Gerola appear from left to right in this screenshot while they then had an inherent

legal duty in accordance with the constitution oaths that they took upon beginning work for the

City of New York to intervene on my behalf to allow me to lawfully attend the Mayor’s 9/14/17

town hall from within the room in which it was conducted.




14.    The next screenshot shows Defendant Gerola on the far-left and Defendant Ridener on

the far-right as I stood near the entrance to the school that hosted the Mayor’s 4/27/17 town hall.

That screenshot is from the video recording that has the filename of “IMG_1857.MOV” that I

recorded at 6:39 pm on 9/14/17 as I lawfully conducted myself while I was then waiting in a line

with other members of the public where I was illegally coerced to wait by members of the NYPD

to be granted access to the school that hosted the Mayor’s 9/14/17 town hall to observe how that

town hall would be conducted while I would be in an overflow room that was setup for that town



                                         Page 128 of 171
hall and be able to watch how it would be conducted from TV screens in that overflow room

while being illegally deprived of my First Amendment right to communicate directly to the

government officials face-to-face who would be in attendance in the room in which that town

hall was conducted while it was conducted, shortly before it began, and shortly after it ended

within the room in which it was conducted that caused irreparable harm to my First Amendment

rights as per Elrod v. Burns, 427 U.S. 347, 96 S. Ct. 2673, 49 L. Ed. 2d 547 (1976), Kittay v.

Giuliani, 112 F. Supp. 2d 342 (S.D.N.Y. 2000), and many other relevant court decisions.




15.    At some point after 6:15 pm on 9/14/17, I was illegally coerced to leave that line by being

threatened with arrest by members of the NYPD if I didn’t comply. Defendants Nieves, Gerola,

and Mason were personally involved with NYPD Officer John Doe1 9/14/17 (shield #: 21250),

NYPD John Doe2 9/14/17, NYPD John Doe3 9/14/17, and other members of the NYPD in

issuing and otherwise condoning that illegal threat that was intimidation and First Amendment

retaliation in response to my lawful assertiveness to remain in that line while exercising my First

Amendment and Fourteenth Amendment rights of assembly, and association for the purpose of


                                         Page 129 of 171
eventually being granted access to that school in order to lawfully walk into the room in which

that town hall would be conducted and engage in legal self-defense in the event that anyone

made offensive physical contact with me as I lawfully attempted to attend that town hall in that

room.

16.     Defendants John Doe1 9/14/17 stood next to Defendant John Doe2 9/14/17 on 9/14/17 in

front of and near me on a sidewalk in an area that was near the entrance to the school that hosted

the Mayor’s 9/14/17 town hall while I was being illegally coerced to leave the line that I was in

with other members of the public to attend the Mayor’s 9/14/17 town hall from within the room

in which it would be conducted to instead wait in the line that was used to grant members of the

public access to the overflow room for that town hall. Neither Defendants John Doe1 9/14/17 nor

Defendants John Doe2 9/14/17 made an attempt to intervene on my behalf to enable me to attend

that town hall from within the room in which it was conducted and to remain in the original line

next to the school that hosted that town hall that I waited in for that purpose.

17.     As I lawfully waited in line on 9/14/17 to be granted access to the school that hosted the

Mayor’s 9/14/17 town hall, I conducted myself in an entirely lawful manner and distributed

literature to other members of the public as they waited to be granted access to the school that

hosted the Mayor’s 9/14/17 town hall that I prepared and contained protected whistleblowing

information of public concern against the Mayor’s administration and its business partners

largely to try to offset the fact that I was again being illegally discriminated against by members

of the Mayor’s NYPD security detail, members of the Mayor’s staff, and other members of the

NYPD in violation of my constitutional rights to attend the Mayor’s 9/14/17 town hall from

within the room in which it was conducted based upon the fact that I registered in advance with

the Mayor’s office to do so and arrived sufficiently early to the site of that town hall on 9/14/17




                                          Page 130 of 171
to wait on line near the front of the line to be granted access to that town hall from within that

room. In short, I correctly anticipated that I would again be subjected to illegal acts on 9/14/17 in

relation to my efforts to attend the Mayor’s 9/14/17 town hall within the room in which it was

conducted. As a result, I prepared whistleblowing literature in advance to bring with me to that

site on 9/14/17 to lawfully distribute to those who attended that town hall before it began and

while I would be in the overflow room that was setup for that town hall.

18.    The next screenshot is from the video recording that the Mayor’s office arranged to be

recorded of the Mayor’s 9/14/17 town hall while I played it back while I had the closed-

captioning feature enabled. That screenshot reflects what appears in that video at the elapsed

time of 17 minutes and 58 seconds as the Mayor was then making remarks that confirmed that

town hall was subject to New York State’s Open Meetings Law as he implicitly confirmed that a

quorum that was comprised of senior members of his administration were then present in that

room and that they would be available at the end of that meeting for the audience to walk to up to

and talk with about whatever was on their mind.




                                          Page 131 of 171
19.    The next screenshot reflects what appears in the video recording that has the filename of

“IMG_1868.mov” at the elapsed time of 1 second while Defendant Nieves and I were in

auditorium in the school that hosted the Mayor’s 9/14/17 town hall. This screenshot confirms the

fact that I brilliantly used Mr. Nieves as a backdrop while he slacked off in a chair to record the

cover page of whistleblowing literature that I distributed to members of the public during that

town hall. That auditorium was used as the overflow room for that town hall on 9/14/17.




                                          Page 132 of 171
20.    To close out this section, it is worth pointing out that the New York City 2017 general

elections were held in November of 2017 and likely heavily factored into the decisions to

commit the illegal acts and omissions against me on 9/14/17 that I have discussed in this

complaint in order to protect the Mayor’s re-election interests in violation of the Hatch Act. The

timing of those illegal acts truly matters.


                                      CAUSES OF ACTION


CLAIM #1: Violations of the First Amendment right of access to a public forum, to
          protest in a public forum, to record audio and video recordings in a public
          forum, to take photographs in a public forum, to receive information in a
          public forum, to have the opportunity to talk with journalists in a public
          forum, to distribute whistleblowing literature in a public forum, to engage in
          lawful assembly in a public forum, to engage in freedom of expression in a
          public forum, to otherwise engage in whistleblowing and criticism of
          government officials in a public forum, to engage in expressive association,
          and to petition government officials in a public forum for redress of
          grievances


                                              Page 133 of 171
  (Against Defendants City of New York, Gerola, Nieves, Mason, Cruz, Mitchell, NYPD
 Officer John Doe1 9/14/17 (shield #: 21250), NYPD John Doe2 9/14/17, NYPD John Doe3
 9/14/17, NYPD John Doe4 9/14/17, NYPD John Doe5 9/14/17, NYPD John Doe7 9/14/17,
  NYPD John Doe8 9/14/17, Atcheson, Miller, Redmond, Ramos, Carrion, Ridener, Jane
Doe1 9/14/17, Jane Doe2 9/14/17, John Doe1 9/14/17, John Doe2 9/14/17, de Blasio, O’Neill)

1. I incorporate by reference the allegations set forth in all preceding paragraphs as if fully set

   forth herein.

2. I also incorporate by reference as though fully set forth herein the decision that was issued on

   5/19/20 in Dunn v. City of Fort Valley, No. 19-cv-287(TES) (M.D. Ga. May 19, 2020) due to

   relevant findings it contains about First Amendment rights in public forums, supervisory

   liability, and other pertinent things.

3. My right to lawfully protest in a public forum in a manner that doesn’t disrupt how that

   public forum is conducted while valid time, place, and manner restrictions do not exist to

   prohibit such protest in a public forum was acknowledged the following remark that Judge

   Schofield expressed in the decision that she issued in Gonzalez v. City of New York, No. 14

   Civ. 7721 (LGS) (S.D.N.Y. Sept. 29, 2016):

       “Two branches of First Amendment claims are relevant to the present case: (a)
       interference with the right to protest in a public forum and (b) retaliation for exercising
       First Amendment rights.”

4. More importantly, my right to lawfully protest in a public forum in a manner that doesn’t

   disrupt how that public forum is conducted while valid time, place, and manner restrictions

   do not exist to prohibit such protest in a public forum was confirmed by the following

   excerpt from Occupy Nashville v. Haslam, 949 F. Supp. 2d 777 (M.D. Tenn. 2013):

       “a state may not restrict First Amendment rights, absent valid time, place, or manner
       restriction. See Dean, 354 F.3d at 551; Galvin v. Hay, 374 F.3d 739, 751 (9th Cir.2004)
       ("As speakers may generally control the presentation of their message by choosing a
       location for its importance to the meaning of their speech, speakers may
       ordinarily— absent a valid time, place and manner restriction—do so in a public



                                            Page 134 of 171
       forum."); Childs v. Dekalb Cnty., Ga., 286 Fed.Appx. 687, 693-94 (11th Cir.2008)
       (denying qualified immunity and stating that, based on Supreme Court precedent, "police
       officers have known for decades that protestors present on public property have a First
       Amendment right to peacefully express their view, in the absence of narrowly tailored
       ordinances restricting the time, place, or manner of the speech”).”

       (boldface formatting added for emphasis)

5. The following defendants were personally involved on 9/14/17 and prior to that date in

   engaging in illegal acts and omissions against me that caused and otherwise enabled me to

   have been illegally prevented from being inside of the room in which the Mayor’s 9/14/17

   town hall was conducted:

       Defendants City of New York, Gerola, Nieves, Mason, Cruz, Mitchell, NYPD Officer
       John Doe1 9/14/17 (shield #: 21250), NYPD John Doe2 9/14/17, NYPD John Doe3
       9/14/17, NYPD John Doe4 9/14/17, NYPD John Doe5 9/14/17, NYPD John Doe7
       9/14/17, NYPD John Doe8 9/14/17, Atcheson, Miller, Redmond, Ramos, Carrion,
       Ridener, Jane Doe1 9/14/17, Jane Doe2 9/14/17, John Doe1 9/14/17, John Doe2 9/14/17,
       de Blasio, and O’Neill

6. The following is entirely true, accurate, and relevant about what I just stated:

       a. Defendant City through the illegal acts and omissions of its personnel was continuing

           to maintain illegal customs, policies, and practices against me that caused me to be

           prevented from attending the Mayor’s 9/14/17 town hall.

       b. The following defendants were personally involved on 9/14/17 at the site of the

           Mayor’s 9/14/17 town hall in engaging in illegal acts and omissions that caused me to

           be prevented from attending the Mayor’s 9/14/17 town hall:

               Defendants Gerola, Nieves, Mason, Cruz, Mitchell, NYPD Officer John Doe1
               9/14/17 (shield #: 21250), NYPD John Doe2 9/14/17, NYPD John Doe3 9/14/17,
               NYPD John Doe4 9/14/17, NYPD John Doe5 9/14/17, NYPD John Doe7
               9/14/17, NYPD John Doe8 9/14/17, Atcheson, Miller, Redmond, Ridener, Jane
               Doe1 9/14/17, Jane Doe2 9/14/17, John Doe1 9/14/17, John Doe2 9/14/17

       c. The following facts apply to the defendants that I just identified:

               i. Defendants Gerola, Nieves, Mason, NYPD Officer John Doe1 9/14/17 (shield



                                         Page 135 of 171
   #: 21250), NYPD John Doe2 9/14/17, NYPD John Doe3 9/14/17, NYPD John

   Doe4 9/14/17, NYPD John Doe5 9/14/17, and NYPD John Doe7 9/14/17

   committed illegal acts and omissions that prevented me from lawfully

   exercising my First Amendment and Fourteenth Amendment right to remain

   in the original line in which I waited on 9/14/17 with other members of the

   public next to the school that hosted the Mayor’s 9/14/17 town hall to be

   granted my constitutional right by them and others to attend the Mayor’s

   9/14/17 town hall from within the room in which it was conducted as it was

   conducted by virtue of the fact that I had arrived to the site of that town hall

   on 9/14/17 sufficiently early that enabled me to be near the front of that line

   when it first formed on that date for that purpose. The primary way that I was

   illegally prevented from remaining in that line on 9/14/17 was by having been

   illegally threatened by members of the NYPD near the entrance to the school

   that hosted that town hall that I would be arrested if I didn’t comply with their

   illegal orders to me to leave that line and instead wait in a separate line near

   the entrance to that school that was used to grant people access to the

   overflow room for that town hall.

ii. Defendants Gerola, Nieves, Mason, Cruz, Mitchell, NYPD Officer John Doe1

   9/14/17 (shield #: 21250), NYPD John Doe2 9/14/17, NYPD John Doe3

   9/14/17, NYPD John Doe4 9/14/17, NYPD John Doe5 9/14/17, NYPD John

   Doe7 9/14/17, NYPD John Doe8 9/14/17, Atcheson, Miller, Redmond,

   Ridener, Jane Doe1 9/14/17, Jane Doe2 9/14/17, John Doe1 9/14/17, and John

   Doe2 9/14/17 otherwise engaged in illegal acts and omissions against me on




                          Page 136 of 171
    9/14/17 that prevented me from attending the Mayor’s 9/14/17 town hall by

    not allowing me to enter the room in which it was conducted as it was

    conducted, not issuing me an admission ticket to do so, and not intervening on

    my behalf to enable me to do so while they were aware on 9/14/17 that I was

    being prevented from attending that town hall from within that room and

    while they had a duty to intervene on my behalf to enable me to attend that

    town hall from within that room pursuant to a) their Fourteenth Amendment

    affirmative legal duty as law-enforcement officials to intervene on my behalf,

    b) the terms of the constitutional oath that they took upon becoming

    employees of the City of New York and the NYPD to an extent that required

    them to uphold the U.S. Constitution and do their jobs to the best of their

    abilities, and/or c) the fact that 42 USC §1986, NYPL §195.00, and .New

    York City Charter §1116 applied to that circumstance and required them to

    intervene on my behalf to enable me to attend that town hall from within that

    room.

iii. The following Defendants were personally involved in engaging in illegal acts

    and omissions on 9/14/17 against me prior to 7:14 pm that prevented me from

    attending the Mayor’s 9/14/17 town hall from within the room in which it was

    conducted and accessing an area in a hallway the school that hosted that town

    hall where public records were made available by personnel of the City of

    New York to members of the public who were permitted to attend that town

    hall from within the room in which it was conducted:

        Defendants Gerola, Nieves, Mason, NYPD Officer John Doe1 9/14/17
        (shield #: 21250), NYPD John Doe2 9/14/17, NYPD John Doe3 9/14/17,



                          Page 137 of 171
                      NYPD John Doe4 9/14/17, NYPD John Doe5 9/14/17, NYPD John Doe7
                      9/14/17, Atcheson, Miller, Ridener, Jane Doe1 9/14/17, Jane Doe2
                      9/14/17, John Doe1 9/14/17, and John Doe2 9/14/17

              iv. The following Defendants were personally involved in engaging in illegal acts

                  and omissions on 9/14/17 against me after 6:40 pm that prevented me from

                  attending the Mayor’s 9/14/17 town hall from within the room in which it was

                  conducted and accessing an area in a hallway the school that hosted that town

                  hall where public records were made available by personnel of the City of

                  New York to members of the public who were permitted to attend that town

                  hall from within the room in which it was conducted:

                      Defendants Gerola, Nieves, Mason, Cruz, Mitchell, NYPD John Doe8
                      9/14/17, Atcheson, and Redmond

       d. The following defendants were personally involved prior to 9/14/17 in engaging in

           illegal acts and omissions that proximately enabled me to be prevented from attending

           the Mayor’s 9/14/17 town hall party by tacitly condoning illegal acts and omissions

           that were committed against me at earlier public forums that the Mayor conducted

           since 4/27/17 that caused me to be prevented from attending them and otherwise

           illegally covering-up such illegal acts and omissions that were committed against me

           at such public forums that the Mayor conducted on and after 4/27/17:

                Defendants City of New York, Redmond, Ramos, Carrion, de Blasio, and
                O’Neill

7. Due to the facts and circumstances that I have discussed at length and with sufficient

   particularity in this pleading, I have decisively established that the Defendants identified

   above were personally involved in having willfully, callously, and wantonly illegally violated

   my First Amendment rights in relation to my efforts to have attended the Mayor’s 9/14/17




                                         Page 138 of 171
   town hall within the room in which it was conducted as it was conducted, shortly before it

   began, and shortly after it ended.

8. I have also established that the defendants that this claim concerns violated my First

   Amendment right to remain in the original line that I waited in on 9/14/17 outside of the

   school that hosted the Mayor’s 9/14/17 town hall to proceed with other members of the

   public into that school and then into the room within it that hosted that town hall instead of

   being illegally coerced to move from where I lawfully stood on a public sidewalk that is a

   traditional public forum.

9. Ms. Ramos is liable for this cause of action due to her role as co-conspirator in a conspiracy

   that existed to prevent me from attending town hall meetings that the Mayor conducted from

   within the rooms in which they were conducted as they were conducted as she illegally

   deceived Erin Durkin on 6/28/17 and 6/29/17 in e-mail messages that she sent to Ms. Durkin

   about me and the illegal acts that were committed against me on 4/27/17, 5/23/17, and 6/8/17

   in relation to efforts that I lawfully made to attend the public town hall and public resource

   fair meetings that the Mayor conducted on those dates that caused me to be illegally

   prevented from attending those public forums within the rooms in which they were

   conducted in flagrant violation of my constitutional rights and other laws. The lies and

   misleading remarks that Ms. Ramos expressed to Ms. Durkin in those e-mail messages were

   in furtherance of a fraudulent scheme to try to illegally cover-up the illegal acts and

   omissions that were committed against me on 4/27/17, 5/23/17, and 6/8/17 by members of

   the Mayor’s NYPD security detail, other members of the NYPD, members of the Mayor’s

   CAU, and New York State Court Officers in response to my lawful efforts to have attended

   the town hall and resource fair meetings that the Mayor conducted on those dates from within




                                         Page 139 of 171
   the rooms in which they were conducted as they were conducted. Relevant findings that

   support this assertion about Ms. Ramos’ liability exist in the decisions that were issued in

   Henry v. Wyeth Pharmaceuticals, Inc., 616 F.3d 134 (2d Cir. 2010), Gordon v. New York

   City Bd. of Educ., 232 F.3d 111 (2d Cir. 2000), US v. Blackmon, 839 F.2d 900 (2d Cir.

   1988), Escalera v. Samaritan Village Men's Shelter, No. 17-cv-4691 (CM) (S.D.N.Y. Sept.

   27, 2019), US v. Basey, 816 F.2d 980 (5th Cir. 1987), Vann v. City of New York, 72 F.3d

   1040 (2d Cir. 1995), Pangburn v. Culbertson, 200 F.3d 65 (2d Cir. 1999), and Dunn v. City

   of Fort Valley, No. 19-cv-287(TES) (M.D. Ga. May 19, 2020).


CLAIM #2:                     First Amendment Retaliation, Viewpoint
                             Discrimination, and Standardless Discretion
                                in Denying Access to a Public Forum

  (Against Defendants City of New York, Gerola, Nieves, Mason, Cruz, Mitchell, NYPD
 Officer John Doe1 9/14/17 (shield #: 21250), NYPD John Doe2 9/14/17, NYPD John Doe3
9/14/17, NYPD John Doe7 9/14/17, NYPD John Doe8 9/14/17, Atcheson, Miller, Redmond,
                           Ramos, Carrion, de Blasio, O’Neill)

1. I incorporate by reference the information presented in the preceding paragraphs as though

   fully set forth herein.

2. The defendants that this claim concerns are liable for it due to the information that I

   presented in this complaint.

3. The defendants that this claim concerns are also liable for it partly because I made it

   abundantly clear to them and others on 9/14/17 at the site of the Mayor’s 9/14/17 town hall

   that I objected to the fact that I was then being illegally prevented by them from a) lawfully

   attending that town hall from within the room in which it was conducted as it was conducted,

   b) remaining in the original line in which I waited to be granted access to that town hall for

   that purpose, and c) being issued an admission ticket for that town hall that was applicable to




                                           Page 140 of 171
the room in which it was conducted. Those objections were clearly protected activity and I

further sought to engage in protected activity against the defendants this action concerns

while attending that town hall from within the room in which it was conducted by making it

widely known that they had been involved in all of the following specific illegal acts against

me on 9/14/17:

   a. Preventing me from attending that town hall from within the room in which it was

       conducted.

   b. Using coercion against me by illegally threatening to arrest me without any

       justification in front of the school that hosted that town hall if I didn’t move from

       where I lawfully stood in an area on a public sidewalk that is a traditional public

       forum that is near the entrance to the school that hosted the Mayor’s 9/14/17 town

       hall while I was being illegally prevented without any valid justification whatsoever

       from entering that school to lawfully attend the Mayor’s 9/14/17 town hall from

       within the room in which it was conducted.

   c. Preventing me from remaining in the line in which I originally waited to be granted

       access to the school that hosted the Mayor’s 9/14/17 town hall.

   d. Granting other members of the public access to the school that hosted the Mayor’s

       9/14/17 town hall before me in spite of the fact that they arrived to that site after me

       on 9/14/17. That flagrantly violated my Fourteenth Amendment due process and

       equal protection rights because I was legally entitled to be granted access to that

       school before them in relation to attending the Mayor’s 9/14/17 town hall.

   e. Refusing to issue me an admission ticket for the Mayor’s 9/14/17 town hall that was

       for the room in which that town hall was conducted.




                                     Page 141 of 171
4. The defendants that this claim concerns are also liable for it because it’s objectively

   reasonable to infer that their illegal acts and omissions against me on 9/14/17 that resulted in

   the illegal acts that I just discussed that correspond to the Mayor’s 9/14/17 town hall were

   partly motivated by the desire that at least some of them had in subjecting me to illegal

   viewpoint discrimination and First Amendment retaliation by preventing me from being able

   to attend the Mayor’s 9/14/17 town hall from within the room in which it was conducted in

   which I intended to engage in additional protected whistleblowing against them and others

   for illegal acts and omissions that they and others committed against me in relation to my

   efforts to have lawfully attended the Mayor’s 9/8/17 2 pm public hearing in the Blue Room

   in City Hall, the Mayor’s 8/30/17 town hall, and earlier public forums that the Mayor

   conducted.

5. The defendants that this claim concerns are further liable for it because it’s objectively

   reasonable to infer that their illegal acts and omissions against me on 9/14/17 that resulted in

   the illegal acts that I just discussed that correspond to the Mayor’s 9/14/17 town hall were

   partly in retaliation for protected whistleblowing that I was engaged in against them, HRA,

   HRA’s business partners, the Mayor, and others by distributing literature that I prepared and

   brought with me to the site of the Mayor’s 9/14/17 town hall that contained protected

   whistleblowing information of public concern to members of the public as they a) waited in

   line on 9/14/17 to be granted access to the school that hosted the Mayor’s 9/14/17 town hall

   in relation to attending that public forum and b) were otherwise inside of the overflow room

   that was setup for that town hall.

6. The defendants that this claim concerns are further liable for it because it’s objectively

   reasonable to infer that their illegal acts and omissions against me on 9/14/17 that resulted in




                                         Page 142 of 171
   the illegal acts that I just discussed that correspond to the Mayor’s 9/14/17 town hall were

   viewpoint discrimination and First Amendment retaliation for the fact that I was pursuing

   valid legal claims against them and others in my HRA lawsuit. That lawsuit was a hybrid

   lawsuit that was multifaceted and very complex in nature in which I asserted claims against

   Defendants City of New York, Gerola, Nieves, and others that partly concerned illegal acts

   and omissions that were committed against me on 4/27/17 at the site of the Mayor’s 4/27/17

   town hall. Claims in that lawsuit also implicating wrongdoing against me by Urban and NTT.

   Additional claims that I asserted in that lawsuit included, but weren’t limited to those about

   storage expenses that HRA illegally wasn’t paying on my behalf in violation of applicable

   law, my having been viciously assaulted on 7/2/16 due to fraud and negligence by HRA and

   Urban, and HRA having shirked its legal duty to cause me to be provided pro-bono or low-

   cost legal representation or legal assistance. E-mail messages shown in the 374-page PDF file

   that I have discussed in this complaint confirm that senior members of the Mayor’s staff

   received updates about developments in my litigation against HRA a) on 4/10/17

   immediately before the Mayor’s 4/11/17 resource fair meeting and b) on 6/28/17.


CLAIM #3:                     Violations of the Fourth Amendment

(Defendants City of New York, Gerola, Nieves, Mason, Cruz, Mitchell, NYPD Officer John
Doe1 9/14/17 (shield #: 21250), NYPD John Doe2 9/14/17, NYPD John Doe3 9/14/17, NYPD
    John Doe7 9/14/17, NYPD John Doe8 9/14/17, Atcheson, Miller, Redmond, Ramos,
                                Carrion, de Blasio, O’Neill)

1. I incorporate by reference the allegations set forth in all preceding paragraphs as if fully set

   forth herein.

2. The defendants that this claim concerns are liable for it due to the information that I

   presented in this complaint.




                                          Page 143 of 171
3. By demonstrating a show of authority to me on 9/14/17 at the site of the Mayor’s 9/14/17

   town hall that illegally caused the following to occur, the defendants that this claim concerns

   flagrantly violated my Fourth Amendment rights against unlawful unofficial arrests of the

   First Amendment right to freely and peacefully move about and assemble in public forums in

   relation to that town hall:

       a. My illegally coerced departure from the original line in which I waited on 9/14/17 to

           be granted access to the school that hosted the Mayor’s 9/14/17 town hall to attend

           that town hall from within the room in which it was conducted.

       b. My illegally coerced departure from the specific area on which I lawfully exercised

           my First Amendment right of peaceful assembly on a public sidewalk that is a

           traditional public forum that was near the entrance to the school that hosted the

           Mayor’s 9/14/17 town hall.

       c. The illegal unofficial arrest of my First Amendment right to lawfully enter and attend

           the Mayor’s 9/14/17 town hall from within the room in which it was conducted as it

           was conducted.

       d. The illegal unofficial arrest of my First Amendment right to lawfully access an area in

           a hallway in the school that hosted the Mayor’s 9/14/17 town hall where personnel for

           the City of New York made public records available to members of the public who

           were permitted to attend the Mayor’s 9/14/17 town hall from within the room in

           which it was conducted.

4. Defendants Atcheson, Miller, Redmond, Ramos, Carrion, de Blasio, and O’Neill are liable

   for this claim as well as a result of their acts and omissions against me as co-conspirators that

   enabled this to occur on 9/14/17 as they acted in concert with those who personally caused




                                         Page 144 of 171
   this to occur against me on 9/14/17 at the site of the Mayor’s 9/14/17 town hall.


CLAIM #4:                      Violations of the Fifth Amendment

  (Against Defendants City of New York, Gerola, Nieves, Mason, Cruz, Mitchell, NYPD
 Officer John Doe1 9/14/17 (shield #: 21250), NYPD John Doe2 9/14/17, NYPD John Doe3
9/14/17, NYPD John Doe7 9/14/17, NYPD John Doe8 9/14/17, Atcheson, Miller, Redmond,
                           Ramos, Carrion, de Blasio, O’Neill)

1. I incorporate by reference the allegations set forth in all preceding paragraphs as if fully set

   forth herein.

2. The defendants that this claim concerns are liable for it due to the information that I

   presented in this complaint.


CLAIM #5:                  Violations of the Fourteenth Amendment
                                Substantive Due Process Rights

   (Against Defendants City of New York, Gerola, Nieves, Mason, Cruz, Mitchell, NYPD
 Officer John Doe1 9/14/17 (shield #: 21250), NYPD John Doe2 9/14/17, NYPD John Doe3
  9/14/17, NYPD John Doe4 9/14/17, NYPD John Doe5 9/14/17, NYPD John Doe6 9/14/17,
 NYPD John Doe7 9/14/17, NYPD John Doe8 9/14/17, Atcheson, Miller, Redmond, Ramos,
   Ridener, Carrion, de Blasio, O’Neill, Jane Doe1 9/14/17, Jane Doe2 9/14/17, John Doe1
                                9/14/17, John Doe2 9/14/17)

1. I incorporate by reference the allegations set forth in all preceding paragraphs as if fully set

   forth herein.

2. The defendants that this claim concerns are liable for it due to the information that I

   presented in this complaint.

3. Given the fact that the defendants that this claim concerns illegally didn’t accord me any due

   process whatsoever that they were required to accord me and otherwise cause me to be

   accorded in regards to the following, these defendants are liable for this claim:

       a. I was illegally not accorded any due process whatsoever in regards to the illegal acts

           and omissions that were committed against me on 9/14/17 in relation to my efforts to



                                          Page 145 of 171
           lawfully:

                i. Attend the Mayor’s 9/14/17 town hall from within the room in which it was

                   conducted and exercise the entire array of my rights while doing so.

               ii. Remain in the original line on 9/14/17 in which I waited outside of the school

                   that hosted the Mayor’s 9/14/17 town hall to be granted access to it and the

                   room in which the Mayor’s 9/14/17 town hall was conducted.

              iii. Be issued an admission ticket on 9/14/17 for the room in which the Mayor’s

                   9/14/17 town hall was conducted.

              iv. Access an area on 9/14/17 in a hallway within the school that hosted the

                   Mayor’s 9/14/17 town hall where public records were made available by

                   personnel of the City of New York.


CLAIM #6:                     Violations of Procedural Due Process

   (Against Defendants City of New York, Gerola, Nieves, Mason, Cruz, Mitchell, NYPD
 Officer John Doe1 9/14/17 (shield #: 21250), NYPD John Doe2 9/14/17, NYPD John Doe3
  9/14/17, NYPD John Doe4 9/14/17, NYPD John Doe5 9/14/17, NYPD John Doe6 9/14/17,
 NYPD John Doe7 9/14/17, NYPD John Doe8 9/14/17, Atcheson, Miller, Redmond, Ramos,
   Ridener, Carrion, de Blasio, O’Neill, Jane Doe1 9/14/17, Jane Doe2 9/14/17, John Doe1
                                9/14/17, John Doe2 9/14/17)

1. I incorporate by reference the allegations set forth in all preceding paragraphs as if fully set

   forth herein.

2. The defendants that this claim concerns are liable for it due to the information that I

   presented in this complaint.


CLAIM #7:                  Violations of the Fourteenth Amendment
                                   Equal Protection Rights

  (Against Defendants City of New York, Gerola, Nieves, Mason, Cruz, Mitchell, NYPD
 Officer John Doe1 9/14/17 (shield #: 21250), NYPD John Doe2 9/14/17, NYPD John Doe3



                                          Page 146 of 171
  9/14/17, NYPD John Doe4 9/14/17, NYPD John Doe5 9/14/17, NYPD John Doe6 9/14/17,
 NYPD John Doe7 9/14/17, NYPD John Doe8 9/14/17, Atcheson, Miller, Redmond, Ramos,
   Ridener, Carrion, de Blasio, O’Neill, Jane Doe1 9/14/17, Jane Doe2 9/14/17, John Doe1
                                9/14/17, John Doe2 9/14/17)

1. I incorporate by reference the allegations set forth in all preceding paragraphs as if fully set

   forth herein.

2. The defendants that this claim concerns are liable for it due to the information that I

   presented in this complaint.


CLAIM #8:                  Violations of the Fourteenth Amendment
                          Prohibitions Against Selective-Enforcement

  (Against Defendants City of New York, Gerola, Nieves, Mason, Cruz, Mitchell, NYPD
 Officer John Doe1 9/14/17 (shield #: 21250), NYPD John Doe2 9/14/17, NYPD John Doe3
 9/14/17, NYPD John Doe4 9/14/17, NYPD John Doe5 9/14/17, NYPD John Doe7 9/14/17,
   NYPD John Doe8 9/14/17, Atcheson, Miller, Redmond, Ramos, Ridener, Carrion, de
   Blasio, O’Neill, Jane Doe1 9/14/17, Jane Doe2 9/14/17, John Doe1 9/14/17, John Doe2
                                          9/14/17)

1. I incorporate by reference the allegations set forth in all preceding paragraphs as if fully set

   forth herein.

2. The defendants that this claim concerns are liable for it due to the information that I

   presented in this complaint.


CLAIM #9:                    Failure to Intervene in Violation of the
                                    Fourteenth Amendment

   (Against Defendants City of New York, Gerola, Nieves, Mason, Cruz, Mitchell, NYPD
 Officer John Doe1 9/14/17 (shield #: 21250), NYPD John Doe2 9/14/17, NYPD John Doe3
  9/14/17, NYPD John Doe4 9/14/17, NYPD John Doe5 9/14/17, NYPD John Doe6 9/14/17,
 NYPD John Doe7 9/14/17, NYPD John Doe8 9/14/17, Atcheson, Miller, Redmond, Ramos,
   Ridener, Carrion, de Blasio, O’Neill, Jane Doe1 9/14/17, Jane Doe2 9/14/17, John Doe1
                                9/14/17, John Doe2 9/14/17)

1. I incorporate by reference the allegations set forth in all preceding paragraphs as if fully set

   forth herein.



                                          Page 147 of 171
2. The defendants that this claim concerns are liable for it due to the information that I

   presented in this complaint.


CLAIM #10:                           Deliberate Indifference

   (Against Defendants City of New York, Gerola, Nieves, Mason, Cruz, Mitchell, NYPD
 Officer John Doe1 9/14/17 (shield #: 21250), NYPD John Doe2 9/14/17, NYPD John Doe3
  9/14/17, NYPD John Doe4 9/14/17, NYPD John Doe5 9/14/17, NYPD John Doe6 9/14/17,
 NYPD John Doe7 9/14/17, NYPD John Doe8 9/14/17, Atcheson, Miller, Redmond, Ramos,
   Ridener, Carrion, de Blasio, O’Neill, Jane Doe1 9/14/17, Jane Doe2 9/14/17, John Doe1
                                9/14/17, John Doe2 9/14/17)

1. I incorporate by reference the allegations set forth in all preceding paragraphs as if fully set

   forth herein.

2. The defendants that this claim concerns are liable for it due to the information that I

   presented in this complaint.


CLAIM #11:                        Failure to Train and Supervise

   (Against Defendants City of New York, Gerola, Nieves, Mason, Cruz, Mitchell, NYPD
 Officer John Doe1 9/14/17 (shield #: 21250), NYPD John Doe2 9/14/17, NYPD John Doe3
  9/14/17, NYPD John Doe4 9/14/17, NYPD John Doe5 9/14/17, NYPD John Doe6 9/14/17,
 NYPD John Doe7 9/14/17, NYPD John Doe8 9/14/17, Atcheson, Miller, Redmond, Ramos,
   Ridener, Carrion, de Blasio, O’Neill, Jane Doe1 9/14/17, Jane Doe2 9/14/17, John Doe1
                                9/14/17, John Doe2 9/14/17)

1. I incorporate by reference the allegations set forth in all preceding paragraphs as if fully set

   forth herein.

2. The defendants that this claim concerns were mutually obligated to properly train and

   supervise one another to different degrees in relation to my efforts to have lawfully attended

   the Mayor’s 9/14/17 town hall from within the room in which it was conducted and

   otherwise achieve the other things that I sought to achieve in relation to that town hall on

   9/14/17 that I have discussed in this complaint.




                                          Page 148 of 171
3. Some of the defendants that this claim concerns had sufficient prior notice from me about the

   clear need to provide such training and supervision prior to 9/14/17. Other defendants that

   this claim concerns had sufficient information available to them through their own

   observations and information that I made available on 9/14/17 at the site of the Mayor’s

   9/14/17 town hall to cause them to immediately provide proper supervision and training in

   relation to the illegal acts and omissions that were committed against me then at the site of

   that town hall. However, those defendants deliberately and impermissibly shirked their legal

   duties in that regard on 9/14/17.

4. The defendants that this claim concerns are liable for it due to the information that I

   presented in this complaint.


CLAIM #12:          Violation of the New York State’s Open Meetings Law

   (Against Defendants City of New York, Gerola, Nieves, Mason, Cruz, Mitchell, NYPD
 Officer John Doe1 9/14/17 (shield #: 21250), NYPD John Doe2 9/14/17, NYPD John Doe3
  9/14/17, NYPD John Doe4 9/14/17, NYPD John Doe5 9/14/17, NYPD John Doe6 9/14/17,
 NYPD John Doe7 9/14/17, NYPD John Doe8 9/14/17, Atcheson, Miller, Redmond, Ramos,
   Ridener, Carrion, de Blasio, O’Neill, Jane Doe1 9/14/17, Jane Doe2 9/14/17, John Doe1
                                9/14/17, John Doe2 9/14/17)

1. I incorporate by reference the allegations set forth in all preceding paragraphs as if fully set

   forth herein.

2. The defendants that this claim concerns are liable for it due to the information that I

   presented in this complaint.


CLAIM #13:                               Abuse of Process

  (Against Defendants City of New York, Gerola, Nieves, Mason, Cruz, Mitchell, NYPD
 Officer John Doe1 9/14/17 (shield #: 21250), NYPD John Doe2 9/14/17, NYPD John Doe3
 9/14/17, NYPD John Doe4 9/14/17, NYPD John Doe5 9/14/17, NYPD John Doe7 9/14/17,
   NYPD John Doe8 9/14/17, Atcheson, Miller, Redmond, Ramos, Ridener, Carrion, de
   Blasio, O’Neill, Jane Doe1 9/14/17, Jane Doe2 9/14/17, John Doe1 9/14/17, John Doe2



                                          Page 149 of 171
                                              9/14/17)

1. I incorporate by reference the allegations set forth in all preceding paragraphs as if fully set

   forth herein.

2. The defendants that this claim concerns are liable for it due to the information that I

   presented in this complaint.


CLAIM #14:         Fraudulent Misrepresentation and Fraudulent Inducement

  (Against Defendants City of New York, Gerola, Nieves, Mason, Cruz, Mitchell, NYPD
Officer John Doe1 9/14/17 (shield #: 21250), NYPD John Doe2 9/14/17, NYPD John Doe3
 9/14/17, NYPD John Doe4 9/14/17, NYPD John Doe5 9/14/17, NYPD John Doe7 9/14/17,
NYPD John Doe8 9/14/17, Atcheson, Miller, Redmond, Ramos, Carrion, de Blasio, O’Neill

1. I incorporate by reference the allegations set forth in all preceding paragraphs as if fully set

   forth herein.

2. The defendants that this claim concerns are liable for it due to the information that I

   presented in this complaint.

3. Also, hindsight confirms that the defendants who were members of the NYPD and other

   members of the City of New York made fraudulent misrepresentations that had a direct,

   material, substantial, and adverse impact on my efforts to have lawfully attended the Mayor’s

   9/14/17 town hall within the room in which it was committed and the other things that I

   sought to achieve on 9/14/17 in relation to that public forum in their constitutional oaths to

   become personnel of the City of New York and their oaths to become members of the NYPD

   in which they clearly expressed commitments that they would act in accordance with the U.S.

   Constitution in performing their jobs with the City of New York and NYPD and that they

   would perform their duties in those jobs to the best of their abilities.

4. The defendants that this claim concerns are also liable for it because they fraudulently




                                          Page 150 of 171
   induced me to try to attend the Mayor’s 9/14/17 town hall through the public notice that was

   issued for it that didn’t contain any information that indicated that illegal acts and omissions

   would be committed against me on 9/14/17 at the site of the Mayor’s 9/14/17 town hall.


CLAIM #15:          Violation of New York State General Business Law 349

  (Against Defendants City of New York, Gerola, Nieves, Mason, Cruz, Mitchell, NYPD
 Officer John Doe1 9/14/17 (shield #: 21250), NYPD John Doe2 9/14/17, NYPD John Doe3
 9/14/17, NYPD John Doe4 9/14/17, NYPD John Doe5 9/14/17, NYPD John Doe7 9/14/17,
   NYPD John Doe8 9/14/17, Atcheson, Miller, Redmond, Ramos, Ridener, Carrion, de
   Blasio, O’Neill, Jane Doe1 9/14/17, Jane Doe2 9/14/17, John Doe1 9/14/17, John Doe2
                                          9/14/17)

1. I incorporate by reference the allegations set forth in all preceding paragraphs as if fully set

   forth herein.

2. The defendants that this claim concerns are liable for it due to the information that I

   presented in this complaint.


CLAIM #16:                                  Negligence

   (Against Defendants City of New York, Gerola, Nieves, Mason, Cruz, Mitchell, NYPD
 Officer John Doe1 9/14/17 (shield #: 21250), NYPD John Doe2 9/14/17, NYPD John Doe3
  9/14/17, NYPD John Doe4 9/14/17, NYPD John Doe5 9/14/17, NYPD John Doe6 9/14/17,
 NYPD John Doe7 9/14/17, NYPD John Doe8 9/14/17, Atcheson, Miller, Redmond, Ramos,
   Ridener, Carrion, de Blasio, O’Neill, Jane Doe1 9/14/17, Jane Doe2 9/14/17, John Doe1
                                9/14/17, John Doe2 9/14/17)

1. I incorporate by reference the allegations set forth in all preceding paragraphs as if fully set

   forth herein.

2. The defendants that this claim concerns are liable for it due to the information that I

   presented in this complaint.


CLAIM #17:                             Municipal Liability

                             (Against Defendant City of New York)



                                          Page 151 of 171
1. I incorporate by reference the allegations set forth in all preceding paragraphs as if fully set

   forth herein.

2. Defendant City of New York is liable for this claim due to the information that I presented in

   this complaint.


CLAIM #18:         Intentional and Negligent Infliction of Emotional Distress

  (Against Defendants City of New York, Gerola, Nieves, Mason, Cruz, Mitchell, NYPD
 Officer John Doe1 9/14/17 (shield #: 21250), NYPD John Doe2 9/14/17, NYPD John Doe3
 9/14/17, NYPD John Doe4 9/14/17, NYPD John Doe5 9/14/17, NYPD John Doe7 9/14/17,
   NYPD John Doe8 9/14/17, Atcheson, Miller, Redmond, Ramos, Ridener, Carrion, de
   Blasio, O’Neill, Jane Doe1 9/14/17, Jane Doe2 9/14/17, John Doe1 9/14/17, John Doe2
                                          9/14/17)

1. I incorporate by reference the allegations set forth in all preceding paragraphs as if fully set

   forth herein.

2. The defendants that this claim concerns are liable for it due to the information that I

   presented in this complaint. The illegal acts and omissions that they committed against me on

   9/14/17 in relation to the Mayor’s 9/14/17 town hall and otherwise previously committed

   against me that contributed to causing the illegal acts that were committed against me on

   9/14/17 at the site of that town hall were committed intentionally to cause me harm and

   otherwise with reckless indifference as to the likelihood that would cause me harm that is

   sufficient to establish intent.


CLAIM #19:                   Conspiracy to Violate Civil Rights and
                                    Cover-Up Such Abuse

  (Against Defendants City of New York, Gerola, Nieves, Mason, Cruz, Mitchell, NYPD
 Officer John Doe1 9/14/17 (shield #: 21250), NYPD John Doe2 9/14/17, NYPD John Doe3
 9/14/17, NYPD John Doe4 9/14/17, NYPD John Doe5 9/14/17, NYPD John Doe7 9/14/17,
   NYPD John Doe8 9/14/17, Atcheson, Miller, Redmond, Ramos, Ridener, Carrion, de
   Blasio, O’Neill, Jane Doe1 9/14/17, Jane Doe2 9/14/17, John Doe1 9/14/17, John Doe2



                                          Page 152 of 171
                                              9/14/17)

1. I incorporate by reference the allegations set forth in all preceding paragraphs as if fully set

   forth herein.

2. The defendants that this claim concerns are liable for it due to the information that I

   presented in this complaint.


CLAIM #20:                              Unjust Enrichment

   (Against Defendants City of New York, Gerola, Nieves, Mason, Cruz, Mitchell, NYPD
 Officer John Doe1 9/14/17 (shield #: 21250), NYPD John Doe2 9/14/17, NYPD John Doe3
  9/14/17, NYPD John Doe4 9/14/17, NYPD John Doe5 9/14/17, NYPD John Doe6 9/14/17,
 NYPD John Doe7 9/14/17, NYPD John Doe8 9/14/17, Atcheson, Miller, Redmond, Ramos,
   Ridener, Carrion, de Blasio, O’Neill, Jane Doe1 9/14/17, Jane Doe2 9/14/17, John Doe1
                                9/14/17, John Doe2 9/14/17)

1. I incorporate by reference the allegations set forth in all preceding paragraphs as if fully set

   forth herein.

2. The defendants that this claim concerns are liable for it due to the information that I

   presented in this complaint.

3. By virtue of the fact that the defendants that this claim concerns were enriched at my expense

   for work that they performed for the City of New York while they were committing illegal

   acts and omissions against me that caused and otherwise contributed to the illegal acts and

   omissions that were committed against me on 9/14/17 at the site of the Mayor’s 9/14/17 town

   hall, the defendants that this claim concerns are liable for unjust enrichment.


CLAIM #21:                         Public and Private Nuisance

  (Against Defendants City of New York, Gerola, Nieves, Mason, Cruz, Mitchell, NYPD
 Officer John Doe1 9/14/17 (shield #: 21250), NYPD John Doe2 9/14/17, NYPD John Doe3
9/14/17, NYPD John Doe7 9/14/17, NYPD John Doe8 9/14/17, Atcheson, Miller, Redmond,
                      Ramos, Ridener, Carrion, de Blasio, O’Neill)




                                          Page 153 of 171
1. I incorporate by reference the allegations set forth in all preceding paragraphs as if fully set

   forth herein.

2. The defendants that this claim concerns are liable for it due to the information that I

   presented in this complaint.


CLAIM #22:           Violations of the Hatch Act (see 5 U.S.C. §1502(a)(1))

  (Against Defendants City of New York, Gerola, Nieves, Mason, Cruz, Mitchell, NYPD
 Officer John Doe1 9/14/17 (shield #: 21250), NYPD John Doe2 9/14/17, NYPD John Doe3
 9/14/17, NYPD John Doe4 9/14/17, NYPD John Doe5 9/14/17, NYPD John Doe7 9/14/17,
   NYPD John Doe8 9/14/17, Atcheson, Miller, Redmond, Ramos, Ridener, Carrion, de
   Blasio, O’Neill, Jane Doe1 9/14/17, Jane Doe2 9/14/17, John Doe1 9/14/17, John Doe2
                                          9/14/17)

1. I incorporate by reference the allegations set forth in all preceding paragraphs as if fully set

   forth herein.

2. The defendants that this claim concerns are liable for it due to the information that I

   presented in this complaint.

3. The illegal acts and omissions that were committed against me on 9/14/17 and prior to that

   date that caused and otherwise contributed to the illegal acts and omissions that were

   committed against me at the site of the Mayor’s 9/14/17 town hall in relation to my efforts to

   have lawfully attended that town hall from within the room in which it was conducted as it

   was conducted were committed in furtherance of an illegal scheme to engage in voter

   suppression, voter fraud, and whistleblower retaliation to steal the results of the 2017 New

   York City government elections for the mutual benefit of the Mayor and themselves largely

   to preserve their job security and opportunities to advance their careers. That was a crystal

   clear and flagrant violation of the Hatch Act by illegally marginalizing and preventing

   criticism against the Mayor, his administration, the City Council, and the NYPD from




                                          Page 154 of 171
   occurring during public forums that the Mayor conducted with others and occurred as the

   Mayor, members of the City Council, and other government personnel used the public town

   hall meetings, public resource fair meetings, and public hearings that the Mayor conducted

   with others in 2017 as campaign events to attract publicity and goodwill that would support

   the re-election aspirations of the Mayor, his administration, members of the City Council,

   and other New York City government personnel.


                               DEMAND FOR A JURY TRIAL

1. I demand a trial by jury in this action on each and every one of my damage claims.


                                    PRAYER FOR RELIEF

WHEREFORE, this Court should accept jurisdiction over this entire matter and grant me

additional relief by:

1. Causing this Court to exercise supplemental jurisdiction over my X1 lawsuit, my X2 lawsuit,

   my X3 lawsuit, and my X4 lawsuit before then consolidating them with this action that will

   result in this action controlling how all of that litigation is conducted. This request stems

   from a common nucleus of operative fact and is pursuant to FRCP Rule 42.

2. Empaneling a jury to hear and decide this case strictly on its merits.

3. Granting me the following additional relief against the defendants individually and jointly:

   a. Compensation for violations of my constitutional rights, defamation, abuse of process,

       nuisance, unjust enrichment, wire fraud, and fraudulent misrepresentations as well as

       pain, suffering, mental anguish, and humiliation that I experienced due to the illegal acts

       and omissions by the defendants.

   b. Injunctive and equitable relief by ordering Defendant City of New York to immediately




                                         Page 155 of 171
   provide me all video recordings within 48 hours in unedited and non-redacted form as an

   “.avi”, “.mp4”, or “.mov” computer file that were recorded on 2/14/20 by all video

   security cameras that it controls that were installed inside of and along the exterior of the

   school that hosted the Mayor’s 9/14/17 town hall between 5 pm and 11 pm that it was

   legally required to preserve in the wake of an entirely valid and timely complaint that I

   reported to the CCRB complaint on 9/15/17 about the fact that I was illegally prevented

   from attending the Mayor’s 9/14/17 town hall from within the room in which it was

   conducted as it was conducted.

c. Injunctive and equitable relief by ordering Defendant City of New York and those who

   have been among its personnel between 7/1/17 and the present to immediately provide

   me within one week all copies of all communications that they have had about me during

   that period in unedited and non-redacted forum. This includes all communications that

   they have engaged in by using both electronic equipment that has been made available to

   them by the City of New York and equipment that they personally own and/or lease. This

   also includes, but isn’t limited to all of the following types of communications that they

   may have had about me during that period:

         i. E-mail messages, text messages, social media postings, encrypted

            communications, faxes, database entries, telephone calls, voicemail messages,

            and other instant messages.

        ii. Audio and video recordings.

        iii. Memorandums and all other written notes and reports.

        iv. Photographs.

d. Injunctive and equitable relief by ordering Defendant City of New York to immediately




                                     Page 156 of 171
   provide me within one week a report that identifies all members of the NYPD who were

   assigned duties to perform on 9/14/17 at the site of the Mayor’s 9/14/17 town hall, where

   they stood on 9/14/17 outside of and in the immediate vicinity of the school that hosted

   that public forum between 5 pm and 10 pm, the other members of the City of New York

   personnel that they stood next to during that period. Such a report must include clear

   photographs that were taken recently of their faces in a way to reflect how they appeared

   on 9/14/17.

e. Injunctive and equitable relief by ordering Defendant City of New York to immediately

   provide me within 48 hours copies of all communications that were issued by its

   personnel that described all of the types of work assignments and duties that its personnel

   were issued to perform for the Mayor’s 9/14/17 town hall that partly includes information

   about everyone who was involved in issuing those assignments, what those assignments

   entailed, when those assignments were issued, who was responsible for providing

   supervision and training for that work, who received those assignments, and how they

   received that information.

f. Injunctive and equitable relief by ordering Defendant City of New York to immediately

   provide me within 24 hours information that provides a complete and objectively credible

   answers about precisely why Defendant Atcheson told me on 9/14/17 that my name

   wasn’t shown in the list of people who registered in advance with the New York City

   Mayor’s office to attend the Mayor’s 9/14/17 town hall that she reviewed on a computer

   tablet that she carried as she and I stood outside of the school that hosted that town hall

   on that date after I previously registered in advance with the New York City Mayor’s

   office to attend that town hall.




                                      Page 157 of 171
g. Injunctive and equitable relief by ordering Defendant City of New York to immediately

   provide me information within 24 hours that identifies a) everyone who was involved in

   causing my name to not appear among a list of people who registered to attend the

   Mayor’s 9/14/17 town hall that was stored in a computer tablet that Defendant Atcheson

   carried on 9/14/17 as she stood outside of the school that hosted the Mayors 9/14/17 town

   hall, b) precisely when such actions were committed against me that caused that to occur,

   and c) precisely how such actions were committed against me that caused that to occur.

h. Injunctive and equitable relief by ordering Defendant City of New York to immediately

   provide me within 24 hours all “Unusual Occurrence Reports” and related reports that

   members of the NYPD were required to complete in relation to their acts and omissions

   against me that caused and otherwise enabled me to have been a) prevented from

   attending the Mayor’s 9/14/17 town hall from within the room in which it was conducted

   and b) coerced to leave the original line of people in which I lawfully waited to attend the

   Mayor’s 9/14/17 town hall from within the room in which it was conducted.

i. Injunctive and equitable relief by ordering Defendant City of New York to immediately

   provide me within 72 hours unedited and non-redacted copies of all information that has

   been in its possession and that of its personnel about complaints that I reported in

   response to my having been a) prevented from attending the Mayor’s 9/14/17 town hall

   from within the room in which it was conducted, b) coerced to leave the original line in

   which I waited to attend that town hall from within the room in which it was conducted,

   and c) denied an admission ticket to attend that town hall from within the room in which

   it was conducted.

j. Declaratory, injunctive, and equitable relief through the issuance of an order that voids




                                     Page 158 of 171
   the results of the 2017 New York City government elections for the jobs of New York

   City Mayor, New York City Councilmember, Bronx District Attorney, Queens Borough

   President, New York City Comptroller, and New York City Public Advocate primarily

   because it is reasonable to believe that results of those elections were materially tainted

   by voter fraud, voter suppression, and whistleblower retaliation in violation of 5 U.S.C.

   §1502(a)(1) that occurred partly by illegally:

      i. Preventing whistleblowers from attending public forums that the Mayor conducted

         with them and were partly used as campaign events to attract various types of

         support from voters and prospective voters.

     ii. Segregating and discriminating against whistleblowers at such public forums.

k. Declaratory, injunctive, and equitable relief in accordance with findings expressed in

   Capitol Records, Inc. v. Thomas-Rasset, 692 F.3d 899 (8th Cir. 2012) through the

   issuance of an order that enjoins Defendant City’s personnel and agencies from

   continuing to commit illegal acts and omissions against me that violate my rights.

l. Further declaratory, injunctive, and equitable relief through the immediate issuance of an

   order that:

         i. Prohibits all members of the NYPD from deliberately making any physical

             contact with me while I am conducting myself in a lawful manner.

         ii. Requires all members of the Mayor’s NYPD security detail to not come within

             10 feet from me while they are on-duty as members of the Mayor’s NYPD

             security detail and I am conducting myself in a lawful manner, unless I

             explicitly grant consent for that to occur.

        iii. Requires all members of the Mayor’s CAU to not come within 10 feet from me




                                     Page 159 of 171
     while I am conducting myself in a lawful manner and they are on-duty as

     members of the Mayor’s CAU, unless I explicitly grant consent for that to

     occur.

iv. Prohibits Defendant City’s personnel from illegally interfering with my ability

     to attend public forums that the Mayor may conduct from within the room in

     which he does so as he does so.

 v. Prohibits Defendant City’s personnel from illegally interfering with the rights

     that other people have to lawfully attend public forums that the Mayor conducts

     that may allow others and I to exercise our First Amendment right to observe,

     hear, and enjoy lawful speech and other expression that such people may

     engage in to criticize the Mayor and others during them.

vi. Prohibits Defendant City’s personnel from illegally interfering with the First

     Amendment and Fifth Amendment rights that people have to a) bring literature

     and signs with them into rooms in which the Mayor conducts public forums, b)

     lawfully distribute such literature during those meetings without disrupting

     those meetings, c) distribute such literature and otherwise show it and signs in

     the rooms in which the Mayor conducts such meetings before they begin and

     after they end, and d) Keep such literature and signs with them as the Mayor

     conducts such public forums.

vii. Requires Defendant City to grant access to public forums that the Mayor

     conducts inside of buildings based on the order in which members of the public

     line up directly outside of those buildings shortly before those meetings begin to

     be granted access to the room in which the Mayor conducts such public forums




                             Page 160 of 171
     on those dates.

viii. Prohibits Defendant City from allowing its personnel to prevent members of the

     public from attending public forums that the Mayor conducts inside of buildings

     from within the rooms in which he does so while sufficient seating is available

     in those rooms.

 ix. Orders Defendant City to immediately cause all members of the NYPD who are

     present in areas where the Mayor conducts public town hall meetings, public

     resource meetings, public hearings, and press conferences that the public may

     observe to wear body-cameras that are always on and always recording both

     audio and video recordings.

  x. Orders Defendant City of New York to provide all audio and video recordings

     from such body-cameras in unedited and non-redacted form along with their

     audit trail records to allow for an independent forensic analysis within 24 hours

     of any adverse encounter that occurs between a) members of the public and b)

     the members of the NYPD wearing those body-cameras.

 xi. Orders Defendant City to immediately a) cause clear audio recordings to be

     recorded of all verbal communications that members of the NYPD have while

     they are on-duty as members of the NYPD and present in areas where the

     Mayor conducts public town hall meetings, public resource meetings, public

     hearings, and press conferences that the public may observe.

xii. Orders Defendant City of New York to provide all such audio recordings in

     unedited and non-redacted form that includes information that identifies the date

     and time when those recordings began to be recorded as well as the speakers




                             Page 161 of 171
     heard in those communications that are personnel of Defendant City within 24

     hours of any adverse encounter that occurs between a) members of the public

     and b) the members of the NYPD heard in those audio recordings while they are

     being recorded.

xiii. Orders Defendant City to immediately cause all other electronic

     communications (such as e-mail messages, cell phone text messages, and

     encrypted communications) that are engaged in by those who are part of the

     Mayor’s NYPD security detail to be recorded and preserved for possible use in

     litigation by people that they commit illegal acts and omissions against.

xiv. Orders Defendant City to provide all such electronic communications within 24

     hours in unedited and non-redacted form that includes information that

     identifies the date and time when those communications occurred and the

     identities of those who engaged in them to members of the public who have

     adverse encounters with members of the Mayor’s NYPD security detail to the

     extent that those communications concern those adverse encounters.

xv. Orders Defendant City to provide me copies of all communications that its

     personnel have had about me since 2/1/16 in unedited and non-redacted form.

     This includes, but is not limited to all of the following:

           1) All communications that have taken place by using personally-owned

               devices, personal e-mail accounts, personal encrypted messaging

               accounts, and personal cell phone plans as well as by using computers

               and other devices that are owned or leased by Defendant City and e-

               mail, cell phone, and encrypted messaging accounts that are




                              Page 162 of 171
                      administered and/or controlled by Defendant City.

m. Further declaratory, injunctive, and equitable relief through the immediate issuance of an

   order that:

         i. Orders Defendant City to immediately cause the CCRB and DOI to be provided

             all video recordings within 24 hours after a complaint is reported to them about

             illegal acts and omissions that are committed by members of the NYPD and

             other personnel of Defendant City that are recorded by video security cameras

             that Defendant City controls. This includes, but is not limited to illegal acts that

             are related to public forums that the Mayor conducts and occur on the dates and

             at the locations where the Mayor conducts them.

         ii. Further orders Defendant City to make those video recordings available within

             24 hours in unedited and non-redacted form to those who report such illegal acts

             and omissions to the CCRB and DOI.

        iii. Orders that the following Defendants are also required to be fired at the earliest

             possible instead of practical or convenient time from the jobs that they hold

             with Defendant City of New York largely pursuant to Section 1116 of the New

             York City Charter in response to the illegal acts and omissions that they

             committed against me in relation to my efforts to have lawfully attended the

             Mayor’s 9/14/17 town hall and that they are prohibited from being employed by

             Defendant City again:

                  Defendants Gerola, Nieves, Mason, Cruz, Mitchell, NYPD Officer John
                  Doe1 9/14/17 (shield #: 21250), Atcheson, Ramos, de Blasio, O’Neill,
                  NYPD John Doe2 9/14/17, NYPD John Doe3 9/14/17, NYPD John Doe4
                  9/14/17, NYPD John Doe5 9/14/17, NYPD John Doe6 9/14/17, NYPD
                  John Doe7 9/14/17, NYPD John Doe8 9/14/17




                                     Page 163 of 171
iv. Orders Defendants Gerola, Nieves, Mason, Cruz, Mitchell, NYPD Officer John

       Doe1 9/14/17 (shield #: 21250), Atcheson, Ramos, de Blasio, O’Neill, NYPD

       John Doe2 9/14/17, NYPD John Doe3 9/14/17, NYPD John Doe4 9/14/17,

       NYPD John Doe5 9/14/17, NYPD John Doe6 9/14/17, NYPD John Doe7

       9/14/17, and NYPD John Doe8 9/14/17 to immediately and fully reimburse

       those who were their employers on and after 9/14/17 with pre-judgment and

       post-judgment interest for the total value of pay and benefits that they received

       that directly correspond to the length of time during which they were involved

       in the illegal acts and omissions that were committed against me in relation to

       my efforts to have attended the Mayor’s 9/14/17 town hall.

 v. Restrains Defendant City’s personnel and agencies from continuing to commit

       illegal acts and omissions against me that violate my rights, especially in all

       areas that are public forums.

vi. Declares that the ban that the Mayor announced that prohibits large gatherings

       of people in New York City and protests from being conducted is overly broad,

       pretextual, void, and unenforceable largely because it impermissibly violates

       core First Amendment rights as well as Fifth Amendment and Fourteenth

       Amendment rights that pertain to due process, selective-enforcement, equal

       protection, and liberty.

vii.   Further declares that though it may possibly be advisable to wear a face mask

       in New York City, no one is required to do so partly because doing so impedes

       the flow of oxygen to healthy people and impermissibly infringes upon the First

       Amendment rights that people have to engage in freedom of expression, such as




                                  Page 164 of 171
             by having people see them smiling, expressing affection by kissing, being able

             to yawn without having to wear a face mask, and having other facial

             expressions that they make seen by others. Although it is potentially dangerous

             to one’s health to engage in a wide variety of other activities that include

             driving a car because of the possibility that a drunk driver may pass by and

             having a drink in a bar because there is a possibility to breathe in second-hand

             smoke, bans on driving and visiting bars have not been imposed due to such risk

             factors.

       viii. Similarly declares that the social-distancing restrictions in New York State are

             overly broad, void, and unenforceable for the same reasons just discussed and

             declares that those restrictions have been selectively-enforced by the NYPD in

             violation of the Fourteenth Amendment.

n. Declaratory relief by declaring that the Mayor’s 9/14/17 town hall was a public forum

   that was subject to New York State’s Open Meetings Law and that all actions that were

   taken as a result of that town hall having been conducted are void pursuant to Section 107

   of New York State’s Public Officer Law because that town hall was conducted in

   violation of New York State’s Open Meetings Law.

o. Injunctive and equitable relief by ordering Defendant City to immediately provide me the

   following in unedited and non-redacted form:

           i. Copies of all video recordings and photographs that were recorded and

              otherwise taken by Defendant City’s personnel inside of the building that

              hosted the Mayor’s 9/14/17 town hall between the time when a) the first

              member of the public entered that building on 9/14/17 in relation to attending




                                     Page 165 of 171
              that town hall and b) everyone who attended the Mayor’s 9/14/17 town hall

              exited that building.

          ii. Copies of all records that have been in the possession of Defendant City’s

              personnel that pertain to the deliberations, planning, coordination, execution,

              and cover-up that took place in regards to my having been illegally prevented

              from attending the Mayor’s 9/14/17 town hall.

          iii. Copies of all records that have been in the possession of Defendant City’s

              personnel that describe staff assignments that were issued for the Mayor’s

              9/14/17 town hall.

          iv. Copies of all records that have been in the possession of Defendant City’s

              personnel that consist of the names and contact information for the members

              of the public who registered to attend the Mayor’s 9/14/17 town hall as well as

              the names and contact information for the journalists who attended the

              Mayor’s 9/14/17 town hall.

p. Injunctive and equitable relief by ordering Defendant City of New York to immediately

   provide me all video recordings as an “.avi”, “.mp4”, or “.mov” computer file that were

   recorded on 2/19/20 by all video security cameras that were installed in the school and

   are controlled by DOE that hosted the town hall meeting that the Mayor conducted on

   that date between the times when the first member of the public was allowed into that

   school for the purpose of attending that town hall until everyone who attended that town

   hall exited that school.

q. Injunctive, equitable, and proactive relief by ordering Defendant City of New York to

   permanently do the following to serve as an effective deterrent against illegal acts and




                                      Page 166 of 171
omissions in violation of the U.S. Constitution, New York State’s Open Meetings Law,

and other laws that personnel of the City of New York may commit at public forums that

personnel of the City of New York conduct:

       i. Cause a laminated and easily legible 8.5 inch by 11 inch report to be

          prominently displayed directly outside of the entrance to the buildings and

          rooms in which the City of New York’s personnel conduct public town hall

          meetings, public resource fair meetings, and public hearings on the dates

          when they’re conducted throughout the entire duration of those public forums

          in addition to having that displayed for 2 hours immediately before and after

          those public forums begin and end that contains the following information in

          that report:

              1) A reminder that appears prominently shown in large type on the first

                  page in that report that serves to apprise all who attend such public

                  forums that all members of the public have a legal right to engage in

                  self-defense against any government official that includes all members

                  of the NYPD who deliberately initiate undesirable and offensive

                  physical contact with them without an objectively valid legal

                  justification.

              2) A reminder that appears prominently shown in large type on the first

                  page in that report that serves to apprise all who seek to attend such

                  public forums that all law-enforcement officials have an affirmative

                  Fourteenth Amendment legal duty to intervene on behalf of people

                  whose constitutional rights are violated in their immediate presence




                                   Page 167 of 171
   and that they otherwise receive timely information about such

   violations that provides them a realistic opportunity to intervene on

   their behalf to immediately end that abuse and prevent further such

   abuse against them.

3) A reminder that appears prominently shown in large type on the first

   page in that report that serves to apprise all who attend such public

   forums that they have a First Amendment and Fourteenth Amendment

   right to:

       a) Assassinate the character of all government officials who

           attend such public forums by harshly and publicly criticizing

           them while attending them without being retaliated against for

           doing so.

       b) Bring literature with them into those public forums and to

           distribute that literature during them without interference by

           any government official as long as that doesn’t objectively

           disrupt how those public forums are conducted.

       c) Bring signs with them into those public forums both within the

           rooms in which they’re conducted and overflow rooms without

           interference by any government official as long as those signs

           don’t objectively disrupt how those public forums are

           conducted.

4) Clear images of the faces of the City of New York’s personnel from

   photographs that were taken of them within one week prior to such




                  Page 168 of 171
                      public forums with respect to those personnel that will be limited to

                      those personnel who a) are present at the sites of public forums on the

                      dates when they’re conducted, b) perform duties there that pertain to

                      admitting members of the public access to them, denying them such

                      access, and otherwise restricting such access, and c) supervise those

                      personnel.

                  5) The full names of the personnel that I just discussed.

                  6) The names of the entities within the City of New York’s government

                      for which those personnel then work.

                  7) The names of the people who are responsible for providing them with

                      proper training and supervision for the duties that they perform in

                      relation to public forums that are conducted by City of New York

                      personnel as well as information that identifies the entities within the

                      City of New York’s government for which such supervisors then

                      work.

                  8) The names of the people who assigned them the duties that they

                      perform in relation to public forums that are conducted by City of New

                      York personnel as well as information that identifies the entities within

                      the City of New York’s government for which those other people

                      work.

r. Injunctive and equitable relief by ordering Defendant City of New York to permanently

   include the preceding information about what is to be included in a laminated report in all

   public notices as well that are issued and announce when and where its personnel will




                                    Page 169 of 171
   conduct public town hall meetings, public resource fair meetings, and public hearings.

s. Compensation for all costs and attorney fees that are related to my pursuit of this civil

   action.

t. Equitable and injunctive relief that authorizes me and others that I may ask to help me to

   paint, write, or draw any message or image of any size indefinitely throughout New York

   City without needing pre-approval from anyone on any public street, sidewalk, public

   passageway, concourse, and park indefinitely by using resources that will be provided to

   me by the City of New York for that purpose.

u. Equitable and injunctive relief that orders the City of New York to cause its NYPD to

   accord whatever messages and images that I may paint, write, or draw in public areas

   throughout New York City to receive equal law-enforcement protection that is accorded

   to Black Lives Matter signs on streets in New York City, especially the one located in

   front of Trump Tower in Manhattan.

v. An award of damages against Defendants City of New York, Gerola, Nieves, Mason,

   Cruz, Mitchell, NYPD Officer John Doe1 9/14/17 (shield #: 21250), Atcheson, Ramos,

   de Blasio, O’Neill, NYPD John Doe2 9/14/17, NYPD John Doe3 9/14/17, NYPD John

   Doe4 9/14/17, NYPD John Doe5 9/14/17, NYPD John Doe6 9/14/17, NYPD John Doe7

   9/14/17, and NYPD John Doe8 9/14/17 pursuant to 18 U.S.C. §1986 for having not

   intervened on my behalf in relation to my effort to have attended the Mayor’s 9/14/17

   town hall.

w. An award of damages against Defendants Gerola, Nieves, Mason, Cruz, Mitchell, NYPD

   Officer John Doe1 9/14/17 (shield #: 21250), O’Neill, NYPD John Doe2 9/14/17, NYPD

   John Doe3 9/14/17, NYPD John Doe4 9/14/17, NYPD John Doe5 9/14/17, NYPD John




                                     Page 170 of 171
         Doe6 9/14/17, NYPD John Doe7 9/14/17, and NYPD John Doe8 9/14/17 pursuant to

         New York State General Business Law §349 for deception in relation to my efforts to

         have attended the Mayor’s 9/14/17 town hall and how those defendants conducted

         themselves as criminal accomplices instead of the law-enforcement personnel that they

         technically were on 9/14/17.

   x. An award of punitive damages for all of my claims set forth in this pleading.

   y. An award of pre-judgment and post-judgment interest.

   z. Declares that the Mayor’s 9/14/17 town hall was illegally conducted inside of a public

         school.

   aa. Equitable and injunctive relief that orders the City of New York to remove all

         obstructions from public sidewalks, public streets, public parks, and public concourses

         within 24 hours that the NYPD has set up and to not setup such obstructions again in

         such public areas without prior approval. Such obstructions impede pedestrian and

         bicycle traffic by people who are conducting themselves lawfully and may have various

         disabilities that include blindness and physical ailments.

   bb. Such other, further, and different relief as the interests of justice and equity may require.


Dated:             New York, New York
                   October 4, 2020

                                                                      From,


                                                                      s_/Towaki Komatsu

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                                           Page 171 of 171
